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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


SIEMENS INDUSTRY, INC.,

                      Plaintiff,
                                                       C.A. No. 16-284 (LPS)
       v.

WESTINGHOUSE AIR BRAKE
TECHNOLOGIES CORPORATION
(d/b/a WABTEC CORPORATION) and
WABTEC RAILWAY ELECTRONICS, INC.,

                      Defendants.


 DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST
   AMENDED COMPLAINT AND DEFENDANTS’ AMENDED COUNTERCLAIMS

       Defendants Westinghouse Air Brake Technologies Corporation (d/b/a Wabtec

Corporation) and Wabtec Railway Electronics, Inc. (collectively “Wabtec”) hereby provide

Wabtec’s Answer to the First Amended Complaint (“Complaint”) of Plaintiff Siemens Industry,

Inc. (“Siemens”):

                                   NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 1 et seq., specifically including 35 U.S.C. § 271.

       ANSWER:         Wabtec admits that Siemens’ Complaint purports to include patent

infringement claims that arise under the patent laws of the United States set forth in Title 35 of

the United States Code.
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                                           PARTIES

       2.       Siemens Industry, Inc. (“Siemens”) is a corporation organized under the laws of

the State of Delaware, with a principal place of business at 3333 Old Milton Parkway in

Alpharetta, Georgia.

       ANSWER: Wabtec lacks knowledge or information sufficient to either admit or deny

the allegations of Paragraph 2 of the Complaint, and Wabtec therefore denies the allegations in

Paragraph 2.

       3.       Westinghouse Air Brake Technologies Corporation (“Wabtec”) is a corporation

organized under the laws of the State of Delaware, with a principal place of business at 1001 Air

Brake Avenue in Wilmerding, Pennsylvania. Wabtec does business under the name “Wabtec

Corporation.”

       ANSWER: Wabtec admits the allegations in Paragraph 3 of the Complaint.

       4.       Wabtec Railway Electronics, Inc. (“WRE”) is a corporation organized under the

laws of the State of Delaware, with a principal place of business at 21200 Dorsey Mill Road in

Germantown, Maryland.

       ANSWER: Wabtec admits the allegations in Paragraph 4 of the Complaint.

                                JURISDICTION AND VENUE

       5.       This Court has subject matter jurisdiction over this patent infringement action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       ANSWER: Wabtec admits that the Complaint purportedly makes allegations for claims

under the patent laws of the United States, but Wabtec denies that there is a claim under the

patent laws. Wabtec admits that this Court has subject matter jurisdiction under 28 U.S.C. §§

1331 and 1338(a). Wabtec denies the remaining allegations in Paragraph 5 of the Complaint.




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       6.      Defendants are each deemed to reside in this judicial district by virtue of being

incorporated in the State of Delaware. In addition, on information and belief, Defendants

regularly transact business in Delaware, including but not necessarily limited to offering to sell

and/or selling products that infringe one or more of Siemens’ asserted patents to customers

located in Delaware and/or for use in Delaware. Accordingly, this Court may properly exercise

personal jurisdiction over Defendants.

       ANSWER: Wabtec admits that it is subject to personal jurisdiction in the State of

Delaware because it is incorporated in the State of Delaware. Wabtec denies the remaining

allegations in Paragraph 6 of the Complaint.

       7.      Venue may lie in this judicial district pursuant to 28 U.S.C. §§ 1391(b), 1391(c)

and/or 1400(b) at least because Defendants are each deemed to reside in this judicial district by

virtue of being incorporated in the State of Delaware. In addition, on information and belief,

Defendants have committed acts of infringement in the State of Delaware, including but not

necessarily limited to offering to sell and/or selling products that infringe one or more of

Siemens’ asserted patents to customers located in Delaware and/or for use in Delaware.

       ANSWER: Wabtec admits that venue is proper in this district and that Wabtec is subject

to personal jurisdiction in this district because Wabtec is incorporated in the State of Delaware.

Wabtec denies the remaining allegations in Paragraph 7 of the Complaint.

       8.      Joinder of Siemens’ claims against Wabtec and WRE is permissible under 35

U.S.C. § 299 because (a) Siemens is seeking to hold Defendants jointly and severally liable for

infringement of the asserted patents, and the claims against each Defendant arise out of the same

transaction, occurrence, or series of transactions or occurrences relating to the making, using,

importing, offering for sale, or selling of the same accused products, and (b) questions of fact




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common to both Defendants will arise in this action. More particularly, on information and

belief, WRE manufactures and Wabtec sells the products accused of infringing Siemens’ patents.

       ANSWER: Wabtec admits that joinder is permissible under 35 U.S.C. § 299. Wabtec

admits that WRE manufactures and Wabtec sells the products accused of infringing Siemens’

patents. Wabtec denies the remaining allegations in Paragraph 8 of the Complaint.

                                    THE PATENTS-IN-SUIT

       9.      U.S. Patent No. 6,996,461 (“the ‘461 Patent”), titled “Method and System for

Ensuring that a Train Does Not Pass an Improperly Configured Device,” was issued by the

United States Patent and Trademark Office (“USPTO”) on February 7, 2006. Siemens is the

owner by assignment of the entire right, title and interest in and to the ‘461 Patent, including the

sole and undivided right to sue for infringement. A true and correct copy of the ‘461 Patent is

attached hereto as Exhibit A.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘461 Patent is attached

as Exhibit A to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 9 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 9 of the Complaint.

       10.     U.S. Patent No. 7,092,801 (“the ‘801 Patent”), titled “Train Control System and

Method of Controlling a Train or Trains,” was issued by the USPTO on August 15, 2006.

Siemens is the owner by assignment of the entire right, title and interest in and to the ‘801 Patent,

including the sole and undivided right to sue for infringement. A true and correct copy of the

‘801 Patent is attached hereto as Exhibit B.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘801 Patent is attached

as Exhibit B to the Complaint. Wabtec lacks knowledge or information sufficient to either admit




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or deny the remaining allegations of Paragraph 10 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 10 of the Complaint.

       11.     U.S. Patent No. 7,236,860 (“the ‘860 Patent”), titled “Method and System for

Ensuring that a Train Does Not Pass an Improperly Configured Device,” was issued by the

USPTO on June 26, 2007. Siemens is the owner by assignment of the entire right, title and

interest in and to the ‘860 Patent, including the sole and undivided right to sue for infringement.

A true and correct copy of the ‘860 Patent is attached hereto as Exhibit C.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘860 Patent is attached

as Exhibit C to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 11 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 11 of the Complaint.

       12.     U.S. Patent No. 7,467,032 (“the ‘032 Patent”), titled “Method and System for

Automatically Locating End of Train Devices,” was issued by the USPTO on December 16,

2008. Siemens is the owner by assignment of the entire right, title and interest in and to the ‘032

Patent, including the sole and undivided right to sue for infringement. A true and correct copy of

the ‘032 Patent is attached hereto as Exhibit D.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘032 Patent is attached

as Exhibit D to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 12 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 12 of the Complaint.

       13.     U.S. Patent No. 7,742,850 (“the ‘850 Patent”), titled “Method and System for

Automatically Locating End of Train Devices,” was issued by the USPTO on June 22, 2010.

Siemens is the owner by assignment of the entire right, title and interest in and to the ‘850 Patent,




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including the sole and undivided right to sue for infringement. A true and correct copy of the

‘850 Patent is attached hereto as Exhibit E.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘850 Patent is attached

as Exhibit E to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 13 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 13 of the Complaint.

       14.     U.S. Patent No. 8,714,494 (“the ‘494 Patent”), titled “Railway Train Critical

Systems Having Control System Redundancy and Asymmetric Communications Capability,”

was issued by the USPTO on May 6, 2014. Siemens is the owner by assignment of the entire

right, title and interest in and to the ‘494 Patent, including the sole and undivided right to sue for

infringement. A true and correct copy of the ‘494 Patent is attached hereto as Exhibit F.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘494 Patent is attached

as Exhibit F to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 14 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 14 of the Complaint.

       15.     U.S. Patent No. 9,233,698 (“the ‘698 Patent”), titled “Railway Safety Critical

Systems with Task Redundancy and Asymmetric Communications Capability,” was issued by

the USPTO on January 2, 2016. Siemens is the owner by assignment of the entire right, title and

interest in and to the ‘698 Patent, including the sole and undivided right to sue for infringement.

A true and correct copy of the ‘698 Patent is attached hereto as Exhibit G.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘698 Patent is attached

as Exhibit G to the Complaint. Wabtec lacks knowledge or information sufficient to either admit




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or deny the remaining allegations of Paragraph 15 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 15 of the Complaint.

       16.     U.S. Patent No. 6,978,195 (“the ‘195 Patent”), titled “Train Control System and

Method of Controlling a Train or Trains,” was issued by the USPTO on December 20, 2005.

Siemens is the owner by assignment of the entire right, title, and interest in and to the ‘195

Patent, including the sole and undivided right to sue for infringement. A true and correct copy of

the ‘195 Patent is attached hereto as Exhibit N.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘195 Patent is attached

as Exhibit N to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 16 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 16 of the Complaint.

       17.     U.S. Patent No. 7,079,926 (“the ‘926 Patent”), titled “Train Control System and

Method of Controlling a Train or Trains,” was issued by the USPTO on July 18, 2006. Siemens

is the owner by assignment of the entire right, title, and interest in and to the ‘926 Patent,

including the sole and undivided right to sue for infringement. A true and correct copy of the

‘926 Patent is attached hereto as Exhibit O.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘926 Patent is attached

as Exhibit O to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 17 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 17 of the Complaint.

       18.     U.S. Patent No. 7,200,471 (“the ‘471 Patent”), titled “Train Control System and

Method of Controlling a Train or Trains,” was issued by the USPTO on April 3, 2007. Siemens

is the owner by assignment of the entire right, title, and interest in and to the ‘471 Patent,




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including the sole and undivided right to sue for infringement. A true and correct copy of the

‘471 Patent is attached hereto as Exhibit P.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘471 Patent is attached

as Exhibit P to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 18 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 18 of the Complaint.

       19.     U.S. Patent No. 6,845,953 (“the ‘953 Patent”), titled “Method and System for

Checking Track Integrity,” was issued by the USPTO on January 25, 2005. Siemens is the owner

by assignment of the entire right, title, and interest in and to the ‘953 Patent, including the sole

and undivided right to sue for infringement. A true and correct copy of the ‘953 Patent is

attached hereto as Exhibit Q.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘953 Patent is attached

as Exhibit Q to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 19 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 19 of the Complaint.

       20.     U.S. Patent No. 7,036,774 (“the ‘774 Patent”), titled “Method and System for

Checking Track Authority,” was issued by the USPTO on May 2, 2006. Siemens is the owner by

assignment of the entire right, title, and interest in and to the ‘774 Patent, including the sole and

undivided right to sue for infringement. A true and correct copy of the ‘774 Patent is attached

hereto as Exhibit R.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘774 Patent is attached

as Exhibit R to the Complaint. Wabtec lacks knowledge or information sufficient to either admit




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or deny the remaining allegations of Paragraph 20 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 20 of the Complaint.

       21.     U.S. Patent No. 6,824,110 (“the ‘110 Patent”), titled “Method and System for

Automatically Activating a Warning Device on a Train,” was issued by the USPTO on

November 30, 2004. Siemens is the owner by assignment of the entire right, title, and interest in

and to the ‘110 Patent, including the sole and undivided right to sue for infringement. A true and

correct copy of the ‘110 Patent is attached hereto as Exhibit S.

       ANSWER: Wabtec admits that what appears to be a copy of the ‘110 Patent is attached

as Exhibit S to the Complaint. Wabtec lacks knowledge or information sufficient to either admit

or deny the remaining allegations of Paragraph 21 of the Complaint, and Wabtec therefore denies

the remaining allegations in Paragraph 21 of the Complaint.

                             BACKGROUND OF THE DISPUTE

             The Federal Mandate for Implementation of Positive Train Control

       22.     Positive Train Control, or “PTC,” is a set of advanced technologies designed to

make freight and passenger rail transportation safer by automatically stopping a train before

certain types of accidents occur. In contrast to previously existing “reactive” train control

systems, PTC is a predictive technology that detects upcoming conditions and takes control of

the train when needed.

       ANSWER:         Wabtec admits that Positive Train Control, or “PTC,” is a set of

technologies designed to make freight and passenger rail transportation safer, for example, by

automatically stopping a train before certain types of accidents occur. Wabtec admits that PTC

can be a predictive technology that detects upcoming conditions and takes control of the train

when needed. Wabtec denies the remaining allegations in Paragraph 22 of the Complaint.




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       23.     The PTC technical architecture comprises four core segments―Back Office,

Locomotive, Wayside, and Maintenance of Way (MOW)―with a combination of wireless and

wired communications linking components in the different core segments. The Back Office

segment in a typical PTC implementation comprises a computer-aided dispatch system, a back

office server, and a database storing information about tracks, train consists (i.e., the locomotives

and cars that make up a train), work zones, and speed restrictions. The Back Office issues

“movement authorities” to Locomotives based on aspect information received from PTC-enabled

Wayside signals and switches, location information received from trains, and work status from

Maintenance of Way vehicles and personnel. PTC improves upon existing in-track transponder-

based train positioning systems through the use of augmented GPS data, which provides more

accurate location information.

       ANSWER: Wabtec admits that one exemplary PTC technical architecture includes four

segments―Back Office, Locomotive, Wayside, and Maintenance of Way (MOW)―with a

combination of wireless and wired communications linking components in the different

segments. Wabtec admits that the Back Office segment in one exemplary PTC implementation

can include a computer-aided dispatch system, a back office server, and a database storing

information about tracks, train consists (i.e., the locomotives and cars that make up a train), work

zones, and speed restrictions. Wabtec denies the remaining allegations in Paragraph 23 of the

Complaint.

       24.     The diagram below provides a general overview of PTC operation:




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Positive Train Control White Paper, 8 (Joint Council on Transit Wireless Communications May

2012) (Ex. H).

       ANSWER: Wabtec admits that the diagram below Paragraph 24 appears to provide a

general overview of one exemplary PTC architecture. Wabtec denies the remaining allegations

in Paragraph 24 of the Complaint.

       25.       The Rail Safety Improvement Act of 2008 (“RSIA”), signed into law on October

16, 2008, required all Class I freight railroads (i.e., BNSF, Canadian National, Canadian Pacific,

CSX Transportation, Kansas City Southern, Norfolk Southern, and Union Pacific) and all

passenger rail operators in the United States to implement PTC-based collision avoidance

systems by December 31, 2015 (recently extended to December 31, 2018). Under the law, the

PTC technology must be installed on all main-line tracks where intercity passenger trains and

commuter trains operate, as well as on all rail lines carrying toxic-by-inhalation hazardous

materials.

       ANSWER: Wabtec admits the allegations in Paragraph 25 of the Complaint.




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       26.       Passage of the RSIA was prompted by a major train accident in Chatsworth,

California in September of 2008 involving a head-on collision between a freight train and a

commuter train that left 25 people dead and more than 130 people injured. The cause of the

accident was determined to be human error. Regulatory bodies such as the Federal Railroad

Administration (“FRA”) and the National Transportation Safety Board generally acknowledged

that a PTC-type system would have prevented the collision, as it would have automatically

stopped the trains rather than relying on an engineer to physically respond to a stop signal.

       ANSWER: Wabtec lacks knowledge or information sufficient to either admit or deny

the allegations of Paragraph 26, and Wabtec therefore denies the allegations in Paragraph 26 of

the Complaint.

       27.       According to the Association of American Railroads (“AAR”), a trade association

representing primarily the Class I railroads operating in North America, the federal PTC mandate

is the single-largest regulatory cost ever imposed on the rail industry by the FRA. An April 2010

report commissioned by the AAR estimated that installing and maintaining PTC systems would

cost Class I railroads up to $13 billion over the next 20 years. Those costs include equipping

71% of the Class I locomotive fleet (approximately 20,000 locomotives) with PTC devices,

installing PTC on 78% of the Class I mainline rail network (an estimated 73,467 route-miles),

and installing 125,000 wayside units. Additionally, the total cost of PTC for passenger rail

operators was estimated to exceed $2 billion.

       ANSWER: Wabtec lacks knowledge or information sufficient to either admit or deny

the allegations of Paragraph 27, and Wabtec therefore denies the allegations in Paragraph 27 of

the Complaint.




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       28.    In 2008, in response to the RSIA, a subset of the Class I railroads formed the

Interoperable Train Control Committee (“ITC”) to develop interoperability standards for various

aspects of PTC systems, including messaging format, braking algorithms, hardware platforms,

and wireless communications. The ITC eventually standardized on Wabtec’s “ETMS”

(Electronic Train Management System) platform, as it met the requirements of the RSIA and was

already being tested by some of the Class I railroads and other rail operators. Accordingly, the

PTC standards ultimately promulgated by the AAR are generally descriptive of the structure and

function of Defendants’ PTC products.

       ANSWER: Wabtec admits that the ITC was formed and that it adopted Wabtec’s ETMS

platform. Wabtec lacks an understanding as to what Siemens is referring to as “PTC products.”

Wabtec denies the remaining allegations of Paragraph 28 of the Complaint.

                               Defendants’ Infringing Products

       29.    On information and belief, Defendants have been selling PTC products to

customers in the United States since at least March of 2011. Generally designated “I-ETMS,” for

“Interoperable Electronic Train Management System,” Defendants’ PTC products are grouped

into four segments that generally correspond to core segments of the PTC architecture: Office

(Train Data, Authorities, Restrictions); Wayside (Signal Status, Switch Status, Radio Frequency

Communication); Communications (RF Base Stations, 802.11, Cellular); and Locomotive

(Onboard Computer & Display, GPS, RF Communication). The diagram below, taken from a

Wabtec product catalog, illustrates the general architecture of the I-ETMS System:




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Wabtec Locomotive Catalog Excerpt, 35 (downloaded from www.wabtec.com on February 2,

2016) (Ex. I) (hereinafter, “Wabtec Catalog”).

       ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec admits that it has been selling products relating to PTC to customers in the

United States since at least March of 2011. Wabtec admits that “I-ETMS” is the acronym for

“Interoperable Electronic Train Management System,” and that Wabtec’s I-ETMS product, in

some instances, can be grouped into four segments that generally correspond to segments of one

exemplary PTC architecture: Office (Train Data, Authorities, Restrictions); Wayside (Signal

Status, Switch Status, Radio Frequency Communication); Communications (RF Base Stations,

802.11, Cellular); and Locomotive (Onboard Computer & Display, GPS, RF Communication).

Wabtec admits that what appears to be a copy of the Wabtec Locomotive Catalog is attached as

Exhibit I to the Complaint. Wabtec admits that what appears to be a diagram taken from the

Wabtec product catalog, illustrates the general architecture of an exemplary I-ETMS system.

Wabtec denies the remaining allegations in Paragraph 29 of the Complaint.


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       30.        Defendants’ I-ETMS System is designed to “[p]revent[] track authority violations,

speed limit violations, unauthorized entry into work zones, and train movement through a switch

left in the wrong position, all of which reduce the potential for train accidents.” Wabtec Product

Finder, 3 (downloaded from www.wabtec.com on November 5, 2015) (Ex. J). “As the train

moves down the track, the I-ETMS® on-board computer, with the aid of an on-board geographic

database and global positioning system, continuously calculates warning and braking curves

based on all relevant train and track information, including speed, location, movement authority,

speed restrictions, work zones, and consist restrictions.” Id. The system also “communicates with

wayside devices checking for broken rails, proper switch alignment and signal aspects.” Id. “All

information is combined and analyzed in real time to provide a ‘safety net’ for improved train

operation.” Id.

       ANSWER: Wabtec admits that what appears to be a copy of the Wabtec Product Finder

page of Wabtec’s website is attached as Exhibit J to the Complaint. Wabtec admits that Exhibit J

to the Complaint states that its I-ETMS System “prevents track authority violations, speed limit

violations, unauthorized entry into work zones, and train movement through a switch left in the

wrong position, all of which reduce the potential for train accidents.” Wabtec admits that

Exhibit J to the Complaint states that “[a]s the train moves down the track, the I-ETMS® on-

board computer, with the aid of an on-board geographic database and global positioning system,

continuously calculates warning and braking curves based on all relevant train and track

information including speed, location, movement authority, speed restrictions, work zones, and

consist restrictions.” Wabtec admits that Exhibit J to the Complaint states that the system also

“communicates with wayside devices checking for broken rails, proper switch alignment and

signal aspects” and “[a]ll information is combined and analyzed in real time to provide a ‘safety




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net’ for improved train operation.” Wabtec denies the remaining allegations in Paragraph 30 of

the Complaint.

       31.       The I-ETMS System comprises a variety of different components. For the

Locomotive segment, Defendants’ PTC product offering includes a Train Management

Computer (“TMC”), an I-ETMS Display, a Commlink II Communications Manager, an Asy Cut-

Out Switch, and a Navigation Sensor Module. Wabtec Catalog at 36-37. The TMC is the “brain”

of the I-ETMS System on any given locomotive, incorporating multiple controllers (e.g., CPUs)

to implement the functionality required to comply with governmental regulations for PTC

systems. Id. at 36. For instance, the TMC is responsible for enforcing movement authorities,

speed limits, and hand throw switch alignment, meaning the system will cause a visual and/or

audio warning to be given to the train operator if a potentially dangerous situation is

encountered, and then will take control of the train, causing the brakes to be applied as

appropriate, in the event the operator does not rectify the situation. See id.

       ANSWER: Wabtec admits that pages 36 and 37 of Exhibit I to the Complaint depict a

variety of PTC components for use with an exemplary I-ETMS System including a Train

Management Computer (“TMC”), an I-ETMS Display, a Commlink II Communications

Manager, an Asy Cut-Out Switch, and a Navigation Sensor Module. Wabtec admits that page 36

of Exhibit I to the Complaint states that the TMC “Enforces Movement Authorities, Speed

Limits, Hand Throw Switch Alignment.” Wabtec denies the remaining allegations in Paragraph

31 of the Complaint.

       32.       For the Office segment of the I-ETMS System, Defendants offer a Train

Management Dispatch System (“TMDS”) and a Back Office Server (“BOS”). Id. at 38. The BOS

is the storehouse for databases containing speed restriction, track geometry and wayside




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signaling configuration data that is communicated to the TMC for use in, for example,

calculating safe braking distances. See id.

       ANSWER: To the extent it is described in Exhibit I to the Complaint as offering a Train

Management Dispatch System (“TMDS”) and a Back Office Server (“BOS”), Wabtec admits

that it offers a TMDS and a BOS. Wabtec admits that page 38 of Exhibit I to the Complaint

states that the TMDS has “[s]tandard train management functions including: Back office systems

interface,” and that the BOS “[m]aintains downloaded on-board system logs.” Wabtec denies

the remaining allegations in Paragraph 32 of the Complaint.

       33.     On information and belief, the various components of the I-ETMS System,

specifically including the TMC and BOS, are manufactured in the United States by WRE and

sold in the United States by Wabtec.

       ANSWER: Wabtec admits the allegations in Paragraph 33 of the Complaint.

       34.     On information and belief, Wabtec has sold I-ETMS Systems to at least the

following customers in the United States since 2011: Alaska Railroad Corporation, Denver

Transit Partners, Herzog Technologies (for North County Transit District in Oceanside,

California), Northeast Illinois Regional Commuter Railroad, Parsons (for MetroLink in Southern

California), Regional Rail Partners, San Diego Rail Line, and Sound Transit (in Seattle,

Washington).

       ANSWER:        Wabtec admits that it has sold I-ETMS Systems to Alaska Railroad

Corporation, Denver Transit Partners, Herzog Technologies (for North County Transit District in

Oceanside, California), Northeast Illinois Regional Commuter Railroad, Parsons (for MetroLink

in Southern California), and Sound Transit (in Seattle, Washington).       Wabtec denies the

remaining allegations in Paragraph 34 of the Complaint.




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        35.     In addition to the I-ETMS System, Defendants manufacture and sell telemetry

systems, including but not necessarily limited to TrainLink ATX and TrainLink II 4G-ATX, that

monitor essential “last car” conditions, provide rear-of-train emergency braking capability, and

provide a high-visibility marker for nighttime use. See Wabtec Catalog at 6; TrainLink ATX

Brochure (Ex. K). On information and belief, the TMC of the I-ETMS System interfaces with

these telemetry systems for enforcement of emergency braking. See Wabtec Catalog at 37

(describing Asy Cut-Out Switch). These telemetry systems are comprised of a Head of Train unit

(“HOT”) located in the locomotive, and an End of Train unit (“EOT”) located on the last car. On

information and belief, the EOT automatically transmits last car data to the HOT on a periodic

basis, including last car brake pipe pressure, motion status, marker light status, and emergency

valve status. Id. at 6.

        ANSWER: To the extent that it is described on page 6 of Exhibit I to the Complaint,

Wabtec admits it manufactures and sells “Telemetry Systems,” and that “TrainLink™ II End of

Train” is such a system.     Wabtec also admits that Exhibit K to the Complaint describes

“TrainLink™ ATX.” Wabtec also admits that page 6 of Exhibit I to the Complaint states that

“[t]he TrainLink™ II End of Train telemetry system performs three major functions: monitoring

many essential last car conditions, providing rear of train emergency braking capability, and

providing a high visibility marker for nighttime use.” Wabtec also admits that Exhibit I to the

Complaint states that “[t]he TrainLink II system is comprised of a Head of Train Unit, located in

the locomotive and an End of Train, located on the last car.” Wabtec also admits that Exhibit I

to the Complaint states that “[t]he End of Train sends the Head of Train the following

Information (via a unique RF Radio link): Last Car Brake Pipe Pressure, Motion Status, Marker




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Light Status (On or Off ), Battery Life, RF Communication Status, Emergency Valve Status.”

Wabtec denies all remaining allegations in Paragraph 35 of the Complaint.

       36.    Defendants’ TrainLink ATX and TrainLink II 4G-ATX telemetry systems also

include a GPS positioning system and a cellular modem to enable cellular tracking of EOTs.

TrainLink ATX Brochure at 2. On information and belief, Defendants maintain an access-

controlled website through which customers are able to track the location of their GPS-equipped

EOTs. See Asset Management Website Users Guide (Ex. L).

       ANSWER:        Wabtec admits that page 2 of Exhibit K to the Complaint states

“TrainLink™ ATX with GPS Tracking.” Wabtec also admits that page 2 of Exhibit K to the

Complaint states “we are introducing the option of GPS Cellular Tracking to our proven EOT

design. Although GPS logging has been an option since 2003, we have integrated GPS position

technology with the latest in digital cellular communication.” Wabtec also admits that page 7 of

Exhibit L to the Complaint states “[t]his website is designed to provide a comprehensive set of

tools that can be used to keep track of all of your devices that have GPS tracking ability. With

this website, a user can gather the data necessary to keep their GPS capable equipment operating

and helping earn revenue.” Wabtec denies all remaining allegations in Paragraph 36 of the

Complaint.

             Defendants’ Knowledge of Siemens’ PTC-Related Patent Portfolio

       37.    On information and belief, Wabtec and WRE have been aware of Siemens’ PTC-

related patent portfolio since at least November 20, 2014, when Siemens provided Wabtec with

express written notice of the ‘461 and ‘860 Patents. That same notice also identified U.S. Patent

No. 7,096,096, which is the parent of the ‘032 Patent and grandparent of the ‘850 Patent.

Siemens described the patents as being relevant to Wabtec’s business in the areas of positive

train control and end of train detection, following up on an earlier discussion in which Siemens


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indicated that it would be willing to discuss licensing its PTC patents to Wabtec. Wabtec never

responded to Siemens’ notice letter.

        ANSWER: Wabtec admits that Siemens’ November 20, 2014 letter listed two of the

asserted patents, the ‘461 and ‘860 Patents, among a total of nine patents. Wabtec also admits

that Siemens’ November 20, 2014 letter listed U.S. Patent No. 7,096,096. Wabtec admits that

Siemens’ November 20, 2014 letter states that the patents are relevant to “Wabtec’s business,

especially in the areas of positive train control and end of train detection” and that “Siemens

indicated that it would be willing to discuss the prospect of Wabtec obtaining a patent license

from Siemens.” Wabtec admits that it never agreed to take a license to Siemens’ patents.

Wabtec denies the remaining allegations in Paragraph 37 of the Complaint.

        38.     On information and belief, WRE and Wabtec were aware of several of the

Patents-in-Suit and/or patents related thereto for almost ten years prior to the filing of this

complaint. For instance, on July 28, 2006, Siemens’ predecessor-in-interest with respect to

certain of the Patents-in-Suit, Quantum Engineering, Inc. (“Quantum”) provided WRE with

express written notice of the ‘461 Patent, the ‘195 Patent, the ‘926 Patent, the ‘953 Patent, the

‘774 Patent, and the ‘110 Patent, as well as notice of the parent, grandparent, and great-

grandparent of the ‘801 Patent, the parent of the ‘860 Patent, and the grandparent of the ‘471

Patent. Later, on March 9, 2007, Quantum provided WRE with notice of the parent of the ‘032

Patent and the grandparent of the ‘850 Patent. Quantum described the patents as being relevant to

train control systems such as the ETMS system that WRE was reportedly testing at the time, and

further indicated that the patents identified in its notices were part of a substantial portfolio of

train control patents.




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         ANSWER: Wabtec admits that Quantum’s July 28, 2006 letter listed as an enclosure the

‘461 Patent, which Siemens purports to be the parent of the ‘860 Patent, the ‘195 Patent, which

Siemens purports to be the grandparent of the ‘801 Patent and the ‘471 Patent, the ‘926 Patent,

which Siemens purports to be the parent of the ‘801 Patent, the ‘953 Patent, the ‘774 Patent, the

‘110 Patent, and U.S. Patent No. 6,865,454, which Siemens purports to be the great-grandparent

of the ‘801 Patent, among a total of seventeen patents. Wabtec denies the remaining allegations

in Paragraph 38 of the Complaint.

                                   INFRINGEMENT CLAIMS

                       Count I – Infringement of U.S. Patent No. 6,996,461

         39.    Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         40.    The ‘461 Patent is generally directed to a train control system that, in accordance

with particular embodiments, includes a positioning system and consults a database to determine

when the train is approaching a configurable device such as a switch or grade crossing. The

system may interrogate the device to determine its status as the train approaches the device, and

may force an engineer to acknowledge any detected malfunction. The train may be forced to

come to a complete stop before proceeding past the device or may be slowed down to a speed

that will allow the engineer to visually determine whether it is safe to proceed past the device.

See ‘461 Patent, Abstract.

         ANSWER: Wabtec denies the allegations in Paragraph 40 of the Complaint.

         41.    On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘461 Patent, either literally or under the


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doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 41 of the Complaint.

       42.     Claim 1 of the ‘461 Patent recites as follows:

               1.     A system for controlling a train, the system comprising:

               a control unit; and

            a transceiver, the transceiver being located on the train and being in
       communication with the control unit;

               wherein the control unit is configured to perform the steps of

                      transmitting an interrogation message to a configurable device near
                      the train;

                      listening for a response from the configurable device, the response
                      including a configuration of the configurable device and an
                      identifier of the device;

                      allowing the train to continue if a response with a correct
                      configuration is received within a period of time; and

                      stopping the train otherwise;

                      wherein the control unit is further configured to perform the step of
                      confirming that the identifier received in the response corresponds
                      to the device to which the interrogation message was directed.

       ANSWER: Wabtec admits that claim 1 of the ‘461 Patent contains the language recited

in Paragraph 42 of the Complaint.

       43.     On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 1. The “control unit” limitation is

satisfied by the TMC, which contains multiple CPUs and is configured to perform, or to control

the performance of, the various steps involved in communicating with a wayside device. In

addition, the I-ETMS System includes, or interfaces with, a “transceiver” for communicating



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with wayside devices, with such communications being controlled by the TMC in combination

with the Commlink II. See Wabtec Catalog at 35-36; Wabtec Product Finder at 2-5.

       ANSWER: Wabtec denies the allegations in Paragraph 43 of the Complaint.

       44.     In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘461 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 44 of the Complaint.

       45.     Claim 14 of the ‘461 Patent recites as follows:

               14.    A method for controlling a train comprising the steps of:

              transmitting an interrogation message from the train to a configurable
       device near the train;

              listening for a response from the configurable device, the response
       including a configuration of the configurable device and an identifier of the
       configurable device;

              confirming that the identifier received in the response corresponds to the
       configurable device to which the interrogation message was directed;

              allowing the train to continue if a response with a correct configuration is
       received; and

               stopping the train otherwise.

       ANSWER: Wabtec admits that claim 14 of the ‘461 Patent contains the language recited

in Paragraph 45 of the Complaint.

       46.     On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 14. As discussed with reference to claim 1 above, the

I-ETMS System, under control of the TMC and using the Commlink II, interrogates a wayside

device and takes appropriate enforcement actions depending upon the response received. See

Wabtec Catalog at 35-36; Wabtec Product Finder at 2-5.

       ANSWER: Wabtec denies the allegations in Paragraph 46 of the Complaint.



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       47.     The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 14 of the ‘461 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘461 Patent

by Siemens and Quantum, Defendants know that the I-ETMS System is especially made or

especially adapted for use in a manner that infringes the ‘461 Patent. Accordingly, Defendants’

sale of I-ETMS Systems contributes to infringement of the ‘461 Patent by their customers in

violation of 35 U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 47 of the Complaint.

       48.     On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘461 Patent and by encouraging customers to use

the I-ETMS System in a manner that Defendants know infringes the ‘461 Patent, Defendants are

inducing infringement of the ‘461 Patent by their customers in violation of 35 U.S.C. § 271(b).

For example, Defendants’ marketing literature touts functionality of the I-ETMS System that

falls within the scope of the above-identified claims of the ‘461 Patent. See Wabtec Product

Finder at 3; Wabtec Catalog at 36-37.

       ANSWER: Wabtec denies the allegations in Paragraph 48 of the Complaint.

       49.     Defendants’ infringement of the ‘461 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

       ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 49 of the Complaint.




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         50.    On information and belief, Defendants’ infringement of the ‘461 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘461 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C. §

284.

         ANSWER: Wabtec denies the allegations in Paragraph 50 of the Complaint.

         51.    Defendants’ willful infringement of the ‘461 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees in accordance with 35 U.S.C.

§ 285.

         ANSWER: Wabtec denies the allegations in Paragraph 51 of the Complaint.

                      Count II – Infringement of U.S. Patent No. 7,092,801

         52.    Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         53.    The ‘801 Patent is generally directed to, in accordance with particular

embodiments, a computerized train control system in which a dispatcher sends track warrants

(e.g., speed restrictions) directly to a locomotive cab. In one aspect, a control module may

calculate required stopping distances based on factors such as the weight of the train and the

grade of the track on which the train will be operating. In another aspect, braking “penalties” can

be imposed when an engineer or conductor fails to apply the brakes in a manner sufficient to

comply with speed restrictions. In yet another aspect, a positioning system may be used to

provide train location information. See ‘801 Patent, Summary of the Invention.

         ANSWER: Wabtec denies the allegations in Paragraph 53 of the Complaint.


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       54.     On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘801 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 54 of the Complaint.

       55.     Claim 10 of the ‘801 Patent recites as follows:

               10.    An apparatus for controlling a train comprising:

               a positioning system;

                a receiver for recovering a wireless transmission including a speed
       restriction, the speed restriction including a maximum allowable speed;

               a brake interface configured to control a braking system on the train;

               and a processor connected to the positioning system, the receiver and the
       brake interface, the processor being configured to perform the steps of:

                      receiving a speed restriction via the receiver;

                      determining a position of the train using information obtained from
               the positioning system;

                        determining when a train is in danger of violating the speed
               restriction based at least in part on a grade of a track on which the train is
               traveling and at least in part upon a weight of the train; and
                        controlling the braking system via the brake interface such that
               violation of the speed restriction is prevented.

       ANSWER: Wabtec admits that claim 10 of the ‘801 Patent contains the language recited

in Paragraph 55 of the Complaint.

       56.     On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 10. The I-ETMS System, and particularly

the TMC, includes an on-board geographic database and a GPS system to determine the location

of the train, the GPS system being incorporated in the Navigation Sensor Module and/or the



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Commlink II. See Wabtec Catalog at 36-37. The Commlink II, which serves as the gateway for

PTC-related communications, includes a receiver for recovering wireless transmissions including

speed restrictions. Id. at 36. The TMC uses the location information and speed restriction

information, along with track and train consist information, to determine whether the train is in

danger of violating a speed restriction. If such danger exists, the TMC will enforce the speed

restriction by causing the brakes to be applied as necessary if the operator does not take

appropriate corrective action first. See Wabtec Catalog at 34-36.

       ANSWER: Wabtec denies the allegations in Paragraph 56 of the Complaint.

       57.     In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘801 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 57 of the Complaint.

       58.     Claim 1 of the ‘801 Patent recites as follows:

               1.     A method for controlling a train comprising the steps of:

            receiving a speed restriction at a train, the speed restriction including a
       maximum allowable speed;

                determining a position of the train using a positioning system;
                determining when a train is in danger of violating the speed restriction
       based at least in part on a grade of a track on which the train is traveling and at
       least in part upon a weight of the train; and

              applying a train brake such that violation of the speed restriction is
       prevented.

       ANSWER: Wabtec admits that claim 1 of the ‘801 Patent contains the language recited

in Paragraph 58 of the Complaint, except that Siemens has added “and” before the last limitation.

       59.     On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 1. As discussed with reference to claim 10 above, the

TMC uses GPS location information and speed restriction information, along with track and train



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consist information, to determine whether the train is in danger of violating a speed restriction. If

such danger exists, the TMC will enforce the speed restriction by causing the brakes to be

applied as necessary if the operator does not take appropriate corrective action first. See Wabtec

Catalog at 34-36.

       ANSWER: Wabtec denies the allegations in Paragraph 59 of the Complaint.

       60.     The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 1 of the ‘801 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, Defendants have known since at least the filing date of this

complaint, if not sooner as a result of having been put on notice of the parent, grandparent and

great-grandparent of the ‘801 Patent, that the I-ETMS System is especially made or especially

adapted for use in a manner that infringes the ‘801 Patent. Accordingly, Defendants’ sale of I-

ETMS Systems contributes to infringement of the ‘801 Patent by their customers in violation of

35 U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 60 of the Complaint.

       61.     On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘801 Patent and by encouraging customers to use

the I-ETMS System in a manner that Defendants know infringes the ‘801 Patent, Defendants

have been inducing infringement of the ‘801 Patent by their customers in violation of 35 U.S.C.

§ 271(b) at least since the filing date of this complaint. For example, Defendants’ marketing

literature touts functionality of the I-ETMS System that falls within the scope of the above-

identified claims of the ‘801 Patent. See Wabtec Product Finder at 3; Wabtec Catalog at 36-37.

       ANSWER: Wabtec denies the allegations in Paragraph 61 of the Complaint.




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         62.    Defendants’ infringement of the ‘801 Patent has directly caused substantial

monetary harm to Siemens, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

         ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 62 of the Complaint.

                      Count III – Infringement of U.S. Patent No. 7,236,860

         63.    Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         64.    The ‘860 Patent is generally directed to, in accordance with particular

embodiments, a train control system that may include a positioning system and may consult a

database to determine when the train is approaching a configurable device such as a switch or

grade crossing gate. The system may continuously interrogate the device to determine its status

as the train approaches the device. The train may be forced to come to a complete stop before

proceeding past the device or may be slowed down to a speed that will allow the engineer to

visually determine whether it is safe to proceed past the device. See ‘860 Patent, Abstract.

         ANSWER: Wabtec denies the allegations in Paragraph 64 of the Complaint.

         65.    On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘860 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

         ANSWER: Wabtec denies the allegations in Paragraph 65 of the Complaint.

         66.    Claim 1 of the ‘860 Patent recites as follows:


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              1.        A system for controlling a train, the system comprising:

              a control unit located on the train;

              a database connected to the control unit, the database including position
       information for a plurality of configurable devices, the database further including
       an identifier for each of the configurable devices;

               a positioning system connected to the control unit, the position system
       being operable to provide position information pertaining to the train to the
       control unit; and

              a transceiver connected to the control unit;

              wherein the control unit is configured to perform the steps of:

                        obtaining a position of the train from the positioning system;

                     identifying a configurable device in the database as a next
              configurable device the train will approach;

                        determining a proximity of the train to the next configurable
              device;

                        comparing the proximity to a threshold;

                     transmitting an interrogation message to the next configurable
              device when the proximity is below a threshold;

                     receiving a response to the interrogation message, the response
              including an identifier associated with a configurable device and a
              configuration of the configurable device;

                      allowing the train to pass the configurable device if the response is
              received within a first period of time, the identifier included in the
              response matches the identifier associated with the configurable device of
              interest, and the configuration included in the response is acceptable; and

                        taking corrective action otherwise.

       ANSWER: Wabtec admits that claim 1 of the ‘860 Patent contains the language recited

in Paragraph 66 of the Complaint.

       67.    On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 1. The “control unit” limitation is


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satisfied by the TMC, which contains multiple CPUs and is configured to perform, or to control

the performance of, the various steps involved in communicating with a PTC-enabled wayside

device and taking enforcement actions in view of such communications. The TMC also includes,

or interfaces with, a track database that includes information concerning the wayside devices

along the train’s route, and it is connected to a GPS system incorporated in the Navigation

Sensor Module and/or the Commlink II for determining the position of the train. See Wabtec

Catalog at 36-37. In addition, the I-ETMS System includes, or interfaces with, a “transceiver” for

communicating with wayside devices, with such communications being controlled by the TMC

in combination with the Commlink II. See Wabtec Catalog at 34-36; Wabtec Product Finder at 2-

5.

       ANSWER: Wabtec denies the allegations in Paragraph 67 of the Complaint.

       68.      In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘860 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 68 of the Complaint.

       69.      Claim 15 of the ‘860 Patent recites as follows:

                15.    A method for controlling a train, the method comprising:

                obtaining a position of the train from a positioning system located on the
       train;

              identifying a configurable device in a database located on the train as a
       next configurable device the train will approach, the database including position
       information for a plurality of configurable devices, the database further including
       an identifier for each of the configurable devices;

                determining a proximity of the train to the next configurable device;

                comparing the proximity to a threshold;

              transmitting an interrogation message to the next configurable device
       when the proximity is below a threshold;



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              receiving a response to the interrogation message, the response including
       an identifier associated with a configurable device and a configuration of the
       configurable device;

              allowing the train to pass the configurable device if the response is
       received within a first period of time, the identifier included in the response
       matches the identifier associated with the configurable device of interest, and the
       configuration included in the response is acceptable; and

               taking corrective action otherwise.

       ANSWER: Wabtec admits that claim 15 of the ‘860 Patent contains the language recited

in Paragraph 69 of the Complaint.

       70.     On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 15. As discussed with reference to claim 1 above, the

I-ETMS System, under control of the TMC and using the Commlink II, interrogates a wayside

device and takes appropriate enforcement actions depending upon the response received. See

Wabtec Catalog at 34-36; Wabtec Product Finder at 2-5.

       ANSWER: Wabtec denies the allegations in Paragraph 70 of the Complaint.

       71.     The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 15 of the ‘860 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘860 Patent

by Siemens, Defendants know that the I-ETMS System is especially made or especially adapted

for use in a manner that infringes the ‘860 Patent. Accordingly, Defendants’ sale of I-ETMS

Systems contributes to infringement of the ‘860 Patent by their customers in violation of 35

U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 71 of the Complaint.




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       72.      On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘860 Patent and by encouraging customers to use

the I-ETMS System in a manner that Defendants know infringes the ‘860 Patent, Defendants are

inducing infringement of the ‘860 Patent by their customers in violation of 35 U.S.C. § 271(b).

For example, Defendants’ marketing literature touts functionality of the I-ETMS System that

falls within the scope of the above-identified claims of the ‘801 Patent. See Wabtec Product

Finder at 3; Wabtec Catalog at 36-37.

       ANSWER: Wabtec denies the allegations in Paragraph 72 of the Complaint.

       73.      Defendants’ infringement of the ‘860 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

       ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 73 of the Complaint.

       74.      On information and belief, Defendants’ infringement of the ‘860 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘860 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C. §

284.

       ANSWER: Wabtec denies the allegations in Paragraph 74 of the Complaint.

       75.      Defendants’ willful infringement of the ‘860 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees, in accordance with 35

U.S.C. § 285.

       ANSWER: Wabtec denies the allegations in Paragraph 75 of the Complaint.




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                      Count IV – Infringement of U.S. Patent No. 7,467,032

         76.    Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         77.    The ‘032 Patent is generally directed to, in accordance with particular

embodiments, an end of train unit (EOT) that includes a positioning system such as a GPS

receiver and that is configured to transmit a message including the EOT unit’s location. The EOT

unit may communicate directly with a device located off the train. In one aspect, messages

containing EOT unit locations are collected by an EOT unit monitoring station. The EOT unit

monitoring station generates a message including the EOT location information and routes the

message to appropriate personnel responsible for tracking the EOT units. See ‘032 Patent, Brief

Summary of the Invention.

         ANSWER: Wabtec denies the allegations in Paragraph 77 of the Complaint.

         78.    On information and belief, Defendants directly infringe one or more claims of the

‘032 Patent, either literally or under the doctrine of equivalents. A non-limiting example of such

infringement is provided below, based on the limited information currently available to Siemens.

         ANSWER: Wabtec denies the allegations in Paragraph 78 of the Complaint.

         79.    Claim 1 of the ‘032 Patent recites as follows:

                1.      A communications system for a train comprising:

                a head of train device located near a front of a train;

                 an end of train (EOT) unit mounted on a rear of a train, the EOT unit
         including a transducer connectable for fluid communication with an air brake pipe
         of the train, the EOT unit further including an end-of-train marker light, the EOT
         unit further including a GPS receiver, the EOT unit being configured for wireless
         communication with the head of train device;


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               an EOT unit monitoring station located off the train, the EOT unit
       monitoring station being configured for wireless communication with the end of
       train device; and

             a central station located off the train and connected to the EOT unit
       monitoring station via a land based communication system;

              wherein the EOT unit is configured to transmit wirelessly periodic
       messages to the head of train device, the periodic messages including a brake pipe
       pressure measured by the transducer;

               wherein the EOT unit is further configured to transmit wirelessly a
       location message including a location of the EOT unit to the EOT unit monitoring
       station, the location being based on information from the GPS receiver; and

               wherein the EOT unit monitoring station is configured to transmit the
       location of the EOT unit to the central station.

       ANSWER: Wabtec admits that claim 1 of the ‘032 Patent contains the language recited

in Paragraph 79 of the Complaint.

       80.     On information and belief, Defendants’ TrainLink ATX and TrainLink II 4G-

ATX telemetry systems in combination with Defendants’ Asset Management Website satisfy

each and every limitation of claim 1. Defendants’ telemetry systems include both an HOT and an

EOT, the latter including all of the structural features required by the claim (i.e., transducer,

marker light, GPS receiver, wireless communication). On a periodic basis, the EOT transmits,

via a wireless radio link, brake pipe pressure measurements to the HOT. See Wabtec Catalog at

6. On information and belief, the EOT is configured to transmit GPS-determined location

information to one of a plurality of regional monitoring stations via cellular communication, and

the regional monitoring station in turn communicates the location information to a central

station, at least in part using a land-based communication system, for display to customers on the

Asset Management Website. See generally Asset Management Website Users Guide.

       ANSWER: Wabtec denies the allegations in Paragraph 80 of the Complaint.



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         81.     In view of the foregoing, Defendants’ manufacture, sale, and offer to sell the

TrainLink ATX and TrainLink II 4G-ATX telemetry systems for use with the Asset

Management Website directly infringes the ‘032 Patent in violation of 35 U.S.C. § 271(a).

         ANSWER: Wabtec denies the allegations in Paragraph 81 of the Complaint.

         82.     Defendants’ infringement of the ‘032 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

         ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 82 of the Complaint.

                      Count V – Infringement of U.S. Patent No. 7,742,850

         83.     Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         84.     The ‘850 Patent is generally directed to, in accordance with particular

embodiments, an EOT that includes a positioning system such as a GPS receiver and that is

configured to transmit a message including the EOT unit’s location. The EOT unit may

communicate directly with a device located off the train. In one aspect, messages containing

EOT unit locations are collected by an EOT unit monitoring station. The EOT unit monitoring

station generates a message including the EOT location information and routes the message to

appropriate personnel responsible for tracking the EOT units. See ‘850 Patent, Brief Summary of

the Invention.

         ANSWER: Wabtec denies the allegations in Paragraph 84 of the Complaint.




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       85.     On information and belief, Defendants directly infringe one or more claims of the

‘850 Patent, either literally or under the doctrine of equivalents. A non-limiting example of such

infringement is provided below, based on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 85 of the Complaint.

       86.     Claim 8 of the ‘850 Patent recites as follows:

               8.     An end of train unit comprising:

               a processor;

               an end of train marker light;

               a pressure sensor for determining an air pressure in an air brake pipe;

               a wireless transceiver connected to the processor; and

               a positioning system connected to the processor;

               wherein the processor is configured to perform the steps of

                       generating a first wireless message including a location of the end
               of train unit and an identifier that uniquely identifies the end of train unit;
               and
                       transmitting via the transceiver the first wireless message to an end
               of train unit monitoring station located off of any train;

                     generating a second wireless message, the second wireless
               message including an air pressure sensed by the pressure sensor; and

                      transmitting the second wireless message to a device located at the
               head of the train.

       ANSWER: Wabtec admits that claim 8 of the ‘850 Patent contains the language recited

in Paragraph 86 of the Complaint.

       87.     On information and belief, Defendants’ TrainLink ATX and TrainLink II 4G-

ATX telemetry systems satisfy each and every limitation of claim 8. Defendants’ telemetry

systems have an EOT that includes the required processor, marker light, pressure sensor, wireless

transceiver and positioning system. On a periodic basis, the EOT transmits, via a wireless radio


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link, brake pipe pressure measurements to the HOT component of the telemetry system. See

Wabtec Catalog at 6. In addition, the EOT is configured to transmit GPS-determined location

information to a monitoring station, via cellular communication, for display to customers on

Wabtec’s Asset Management Website. See generally Asset Management Website Users Guide.

         ANSWER: Wabtec denies the allegations in Paragraph 87 of the Complaint.

         88.    In view of the foregoing, Defendants’ manufacture, sale, and offer to sell the

TrainLink ATX and TrainLink II 4G-ATX telemetry systems for use with the Asset

Management Website directly infringes the ‘850 Patent in violation of 35 U.S.C. § 271(a).

         ANSWER: Wabtec denies the allegations in Paragraph 88 of the Complaint.

         89.    Defendants’ infringement of the ‘850 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

         ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 89 of the Complaint.

                      Count VI – Infringement of U.S. Patent No. 8,714,494

         90.    Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         91.    The ‘494 Patent is generally directed to, in accordance with particular

embodiments, a railway vital or critical application system that uses a pair of computers and

operating systems with asymmetric communications capability. Both computers receive and

verify vital systems input message data and security code integrity and separately generate

output data responsive to the input message. The first computer has sole capability to send vital


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system output messages including the output data and an output security code, but only the

second computer has the capability of generating the output security code. A failure of either

computer’s hardware, software or processing capability results in failure to transmit a vital

system output message or in transmission of an output message that cannot be verified by other

vital systems. See ‘494 Patent, Abstract.

       ANSWER: Wabtec denies the allegations in Paragraph 91 of the Complaint.

       92.     On information and belief, Defendants directly infringe one or more claims of the

‘494 Patent, either literally or under the doctrine of equivalents. A non-limiting example of such

infringement is provided below, based on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 92 of the Complaint.

       93.     Claim 1 of the ‘494 Patent recites as follows:

             1.        A control system for a railway vital application system,
       comprising:

              a first controller having an external bilateral communications interface
       capable of sending and receiving a vital systems message within a railway vital
       application system, the message including a security code and vital data;

              a second controller having an external communications interface capable
       of receiving a vital systems message, but incapable of sending a vital systems
       message that is generated within the second controller, the second controller
       having a security code generator; and

               an inter-controller communications pathway coupling the first and second
       controllers;

               wherein the first and second controllers respectively receive an input vital
       systems message including input vital systems data and an input security code,
       verify the input message integrity and generate output vital systems data, the
       second controller generates an output security code and sends it to the first
       controller, and the first controller sends an output vital systems message including
       the output vital systems data and the second controller output security code for
       use within the railway vital application system.




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       ANSWER: Wabtec admits that claim 1 of the ‘494 Patent contains the language recited

in Paragraph 93 of the Complaint.

       94.     On information and belief, material aspects of the I-ETMS System manufactured

and sold by Defendants are described in Patent Application No. US 2014/0172205 A1, published

June 19, 2014 and assigned to Wabtec Holding Corp. (hereinafter, “Wabtec ‘205 Application”).

       ANSWER: Wabtec denies the allegations in Paragraph 94 of the Complaint.

       95.     On information and belief, the I-ETMS System manufactured and sold by

Defendants, and in particular the BOS component thereof, satisfies each and every limitation of

claim 1. The BOS includes a first controller capable of receiving vital system messages (e.g.,

mandatory directives, enforceable instructions) transmitted by, for example, the TMDS

component of the I-ETMS System, and further capable of transmitting such vital system

messages to, for example, the TMC on a locomotive. The BOS also includes a second controller

capable of receiving such vital system messages but incapable of sending a vital system message,

with the second controller being configured to generate a security code (e.g., a cyclic redundancy

check, or “CRC”). The two controllers in the BOS are coupled by a communications pathway. In

operation, vital system messages are sent by the TMDS to both controllers within the BOS, each

of which independently verifies the integrity of the vital systems message. The second controller

generates a CRC, comprising or associated with output vital systems data, and provides it to the

first controller. The first controller also generates output vital systems data, including a

normalized version of the received vital system message, and transmits the output vital systems

data and the CRC received from the second controller to the TMC. See, e.g., Wabtec ‘205

Application at ¶¶ 53-59.

       ANSWER: Wabtec denies the allegations in Paragraph 95 of the Complaint.




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        96.     In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems, particularly including but not necessarily limited to the BOS component thereof,

directly infringes the ‘494 Patent in violation of 35 U.S.C. § 271(a).

        ANSWER: Wabtec denies the allegations in Paragraph 96 of the Complaint.

        97.     Defendants’ infringement of the ‘494 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

        ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 97 of the Complaint.

                     Count VII – Infringement of U.S. Patent No. 9,233,698

        98.     Siemens incorporates by reference the allegations in Paragraphs 1 through 38 and

94 above.

        ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 and 94 as if fully set forth herein.

        99.     The ‘698 Patent is generally directed to, in accordance with particular

embodiments, a railway safety critical application system that uses a pair of tasks with

asymmetric communications capability. Both tasks receive and verify vital systems input

message data and security code integrity and separately generate output data responsive to the

input message. The first task has sole capability to send vital system output messages including

the output data and an output security code, but only the second task has the capability of

generating the output security code. A failure of any systems hardware, software or processing

capability results in failure to transmit a safety critical system output message or in transmission

of an output message that cannot be verified by other safety critical systems. See ‘698 Patent,

Abstract.


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       ANSWER: Wabtec denies the allegations in Paragraph 99 of the Complaint.

       100.    On information and belief, Defendants directly infringe one or more claims of the

‘698 Patent, either literally or under the doctrine of equivalents. A non-limiting example of such

infringement is provided below, based on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 100 of the Complaint.

       101.    Claim 1 of the ‘698 Patent recites as follows:

             1.       A control system for a railway safety critical application system,
       comprising:

               at least one controller executing first and second tasks;

              the first task having an external bilateral communications interface
       capable of sending and receiving a safety critical systems message within a
       railway safety critical application system, the message including a security code
       and safety critical data;

                the second task having an external communications interface capable of
       receiving a safety critical systems message, but incapable of sending a safety
       critical systems message that is generated with the second task, the second task
       having a security code generator; and

               an inter-task communications pathway coupling the first and second tasks;

                wherein the first and second tasks respectively receive an input safety
       critical systems message including input safety critical systems data and an input
       security code, verify the input message integrity and generate output safety
       critical systems data, the second task generates an output security code and sends
       it to the first task, and the first task sends an output safety critical systems
       message including the output safety critical systems data and the second task
       output security code for use within the railway safety critical application system.

       ANSWER: Wabtec admits that claim 1 of the ‘698 Patent contains the language recited

in Paragraph 101 of the Complaint.

       102.    On information and belief, the I-ETMS System manufactured and sold by

Defendants, and in particular the BOS component thereof, satisfies each and every limitation of

claim 1. The BOS includes a first task capable of receiving safety critical system messages (e.g.,



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mandatory directives, enforceable instructions) transmitted by, for example, the TMDS

component of the I-ETMS System, and further capable of transmitting such safety critical system

messages to, for example, the TMC on a locomotive. The BOS also includes a second task

capable of receiving such safety critical system messages but incapable of sending a safety

critical system message, with the second task being configured to generate a security code (e.g.,

a CRC). These two tasks in the BOS are coupled by a communications pathway. In operation,

safety critical system messages are sent by the TMDS to both tasks within the BOS, each of

which independently verifies the integrity of the safety critical systems message. The second task

generates a CRC, comprising or associated with output safety critical systems data, and provides

it to the first task. The first task also generates output safety critical systems data, including a

normalized version of the received safety critical system message, and transmits the output safety

critical systems data and the CRC received from the second task to the TMC. See, e.g., Wabtec

‘205 Application at ¶¶ 53-59.

       ANSWER: Wabtec denies the allegations in Paragraph 102 of the Complaint.

       103.    In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems, particularly including but not necessarily limited to the BOS component thereof,

directly infringes the ‘698 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 103 of the Complaint.

       104.    Defendants’ infringement of the ‘698 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

       ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 104 of the Complaint.




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                     Count VIII – Infringement of U.S. Patent No. 6,978,195

         105.   Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         106.   The ‘195 Patent is generally directed to a train control system that, in accordance

with particular embodiments, includes positioning systems at the end of the train and at the front

of the train, allowing the conductor or engineer to unambiguously determine that no cars of the

train have become detached. The positioning system at the end of the train is also used to verify

that the entire train has cleared a block. This information can be relayed to a dispatcher, thereby

eliminating the need for trackside sensing equipment. A control unit prevents the train from

moving without an authorization that includes the train’s current position. See ‘195 Patent,

Abstract.

         ANSWER: Wabtec denies the allegations in Paragraph 106 of the Complaint.

         107.   On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘195 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

         ANSWER: Wabtec denies the allegations in Paragraph 107 of the Complaint.

         108.   Claim 1 of the ‘195 Patent recites as follows:

                 1.     A method for controlling the movement of a train from a section of track
         not on a main line to a section of main line track comprising the steps of:

                receiving a track warrant to move a train within a block of main line track;

                 receiving a circulation authority to move from a section of track not on the main
         line on which the train is located to the block; and



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               preventing the train from being moved until both the track warrant and the
       circulation authority have been received.

       ANSWER: Wabtec admits that claim 1 of the ‘195 Patent contains the language recited

in Paragraph 108 of the Complaint.

       109.    On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 1. The I-ETMS System, under control of the TMC, is

configured to perform, or to control the performance of, the various steps involved in receiving

and enforcing track warrants and circulation authorities. See, e.g., WABTEC-DEL-00001331;

WABTEC-DEL-00001357; WABTEC-DEL-00001387; WABTEC-DEL-00001429-30; Wabtec

Catalog at 34-36.

       ANSWER: Wabtec denies the allegations in Paragraph 109 of the Complaint.

       110.    The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 1 of the ‘195 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘195 Patent

by Siemens and Quantum, Defendants know that the I-ETMS System is especially made or

especially adapted for use in a manner that infringes the ‘195 Patent. Accordingly, Defendants’

sale of I-ETMS Systems contributes to infringement of the ‘195 Patent by their customers in

violation of 35 U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 110 of the Complaint.

       111.    On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘195 Patent and by encouraging customers to use

the I-ETMS System in a manner that Defendants know infringes the ‘195 Patent, Defendants are

inducing infringement of the ‘195 Patent by their customers in violation of 35 U.S.C. § 271(b).



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         ANSWER: Wabtec denies the allegations in Paragraph 111 of the Complaint.

         112.   Defendants’ infringement of the ‘195 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

         ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 112 of the Complaint.

         113.   On information and belief, Defendants’ infringement of the ‘195 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘195 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C.

         ANSWER: Wabtec denies the allegations in Paragraph 113 of the Complaint.

         114.   Defendants’ willful infringement of the ‘195 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees in accordance with 35 U.S.C.

§ 285.

         ANSWER: Wabtec denies the allegations in Paragraph 114 of the Complaint.

                      Count IX – Infringement of U.S. Patent No. 7,079,926

         115.   Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         116.   The ‘926 Patent is generally directed to a train control system that, in accordance

with particular embodiments, includes positioning systems at the end of the train and at the front

of the train, allowing the conductor or engineer to unambiguously determine that no cars of the

train have become detached. The positioning system at the end of the train is also used to verify


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that the entire train has cleared a block. This information can be relayed to a dispatcher, thereby

eliminating the need for trackside sensing equipment. A control unit prevents the train from

moving without an authorization that includes the train’s current position. See ‘926 Patent,

Abstract.

       ANSWER: Wabtec denies the allegations in Paragraph 116 of the Complaint.

       117.    On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘926 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 117 of the Complaint.

       118.    Claim 1 of the ‘926 Patent recites as follows:

               A system for controlling a train, the system comprising:

               a control unit;

               a first positioning system connected to the control unit; and

               a communications module connected to the control unit;

               wherein the control unit is configured to perform the steps of

                       accepting at least one authorization from a dispatcher, the authorization
                       defining a boundary within which a train is authorized to move;

                       preventing the train from moving from a current location if the current
                       location is not within a boundary for an accepted authorization;

                       monitoring a position of the train reported by the positioning system; and

                       stopping the train before the train moves outside the boundary unless
                       authorization to move outside the boundary is received.

       ANSWER: Wabtec admits that claim 1 of the ‘926 Patent contains the language recited

in Paragraph 118 of the Complaint.




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       119.    On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 1. The “control unit” limitation is

satisfied by the TMC, which contains multiple CPUs and is configured to perform, or to control

the performance of, the various steps involved in accepting and enforcing movement

authorizations received from a dispatcher and monitoring a position of the train reported by the

positioning   system.     See,   e.g.,   WABTEC-DEL-00001780;          WABTEC-DEL-00001785;

WABTEC-DEL-00001331;              WABTEC-DEL-00001357;              WABTEC-DEL-00001387-88;

WABTEC-DEL-00001429-30; Wabtec Catalog at 34-36. In addition, the I-ETMS System, and

particularly the TMC, includes a GPS system incorporated in the Navigation Sensor Module

and/or the Commlink II. See Wabtec Catalog at 36-37. The I-ETMS System also includes, or

interfaces with, a “communications module” connected to the TMC. See Wabtec Catalog at 35¬

36; Wabtec Product Finder at 2-5.

       ANSWER: Wabtec denies the allegations in Paragraph 119 of the Complaint.

       120.    In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘926 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 120 of the Complaint.

       121.    Claim 20 of the ‘926 Patent recites as follows:

               20.      A method for controlling a train comprising the steps of:

             accepting at least one authorization from a dispatcher, the authorization defining a
       boundary within which a train is authorized to move;

              preventing the train from moving from a current location if the current location is
       not within a boundary for an accepted authorization;

               monitoring a position of the train reported by the positioning system; and

              stopping the train before the train moves outside the boundary unless
       authorization to move outside the boundary is received.




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       ANSWER: Wabtec admits that claim 20 of the ‘926 Patent contains the language recited

in Paragraph 121 of the Complaint.

       122.    On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 20. As discussed with reference to claim 1 above, the

I-ETMS System, under control of the TMC, is configured to perform, or to control the

performance of, the various steps involved in accepting and enforcing movement authorizations

received from a dispatcher and monitoring a position of the train reported by the positioning

system. See, e.g., WABTEC-DEL-00001780; WABTEC-DEL-00001785; WABTEC-DEL-

00001331;     WABTEC-DEL-00001357;           WABTEC-DEL-00001387-88;            WABTEC-DEL-

00001429-30; Wabtec Catalog at 34-36.

       ANSWER: Wabtec denies the allegations in Paragraph 122 of the Complaint.

       123.    The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 20 of the ‘926 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘926 Patent

by Siemens and Quantum, Defendants know that the I-ETMS System is especially made or

especially adapted for use in a manner that infringes the ‘926 Patent. Accordingly, Defendants’

sale of I-ETMS Systems contributes to infringement of the ‘926 Patent by their customers in

violation of 35 U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 123 of the Complaint.

       124.    On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘926 Patent and by encouraging customers to use




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the I-ETMS System in a manner that Defendants know infringes the ‘926 Patent, Defendants are

inducing infringement of the ‘926 Patent by their customers in violation of 35 U.S.C. § 271(b).

         ANSWER: Wabtec denies the allegations in Paragraph 124 of the Complaint.

         125.   Defendants’ infringement of the ‘926 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

         ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 125 of the Complaint.

         126.   On information and belief, Defendants’ infringement of the ‘926 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘926 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C.

         ANSWER: Wabtec denies the allegations in Paragraph 126 of the Complaint.

         127.   Defendants’ willful infringement of the ‘926 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees in accordance with 35 U.S.C.

§ 285.

         ANSWER: Wabtec denies the allegations in Paragraph 127 of the Complaint.

                      Count X – Infringement of U.S. Patent No. 7,200,471

         128.   Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         129.   The ‘471 Patent is generally directed to a train control system that, in accordance

with particular embodiments, ensures that a train cannot be moved from a section of track not on


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a main line to a section of track on the main line until both a movement authority for the section

of main line track and a circulation authority for the section of track not on the main line are

received. See ‘471 Patent, Abstract.

       ANSWER: Wabtec denies the allegations in Paragraph 129 of the Complaint.

       130.    On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘471 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 130 of the Complaint.

       131.    Claim 1 of the ‘471 Patent recites as follows:

               1.     A system for controlling the movement of a train from a section of track
       not on a main line to a section of main line track, the system comprising:

               a control module;

               a positioning system connected to the control module; and

               a receiver connected to the control module;

               wherein the control module is configured to perform the steps of:

                      preventing the train from being moved until a circulation authority to
                      move within the section of track not on the main line has been received,
                      the section of track not on the main line being a section of track in which
                      the train is located;

                      allowing the train to move within the section of track not on the main line
                      provided that the circulation authority has been received;

                      preventing the train from entering the section of main line track until a
                      movement authority to move a train within the section of main line track
                      has been received; and

                      allowing the train to move from the section of track not on the main line to
                      the section of main line track provided that the movement authority has
                      been received.




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       ANSWER: Wabtec admits that claim 1 of the ‘471 Patent contains the language recited

in Paragraph 131 of the Complaint.

       132.    On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 1. The “control module” limitation is

satisfied by the TMC, which contains multiple CPUs and is configured to perform, or to control

the performance of, the various steps involved in receiving and enforcing movement and

circulation authorizations. See, e.g., WABTEC-DEL-00001780; WABTEC-DEL-00001785;

WABTEC-DEL-00001331; WABTEC-DEL-00001357; WABTEC-DEL-00001387-88;

WABTEC-DEL-00001429-30; Wabtec Catalog at 34-36. In addition, the I-ETMS System, and

particularly the TMC, includes a GPS system incorporated in the Navigation Sensor Module

and/or the Commlink II. See Wabtec Catalog at 36-37. The I-ETMS System also includes, or

interfaces with, a “receiver” connected to the TMC. See Wabtec Catalog at 35-36; Wabtec

Product Finder at 2-5.

       ANSWER: Wabtec denies the allegations in Paragraph 132 of the Complaint.

       133.    In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘471 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 133 of the Complaint.

       134.    Claim 6 of the ‘471 Patent recites as follows:

               6.     A method for controlling the movement of a train from a section of track
       not on a main line to a section of main line track, the method comprising:

               preventing the train from being moved until a circulation authority to move within
       the section of track not on the main line has been received, the section of track not on the
       main line being a section of track in which the train is located;

              allowing the train to move within the section of track not on the main line
       provided that the circulation authority has been received;




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               preventing the train from entering the section of main line track until a movement
       authority to move a train within the section of main line track has been received; and

               allowing the train to move from the section of track not on the main line to the
       section of main line track provided that the movement authority has been received.

       ANSWER: Wabtec admits that claim 6 of the ‘471 Patent contains the language recited

in Paragraph 134 of the Complaint.

       135.   On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 6. As discussed with reference to claim 1 above, the

I-ETMS System, under control of the TMC, is configured to perform, or to control the

performance of, the various steps involved in receiving and enforcing movement and circulation

authorizations. See, e.g., WABTEC-DEL-00001780; WABTEC-DEL-00001785; WABTEC-

DEL-00001331; WABTEC-DEL-00001357; WABTEC-DEL-00001387-88; WABTEC-DEL-

00001429-30; Wabtec Catalog at 34-36.

       ANSWER: Wabtec denies the allegations in Paragraph 135 of the Complaint.

       136.   The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 6 of the ‘471 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘471 Patent

by Siemens and Quantum, including but not necessarily limited to by disclosing a closely related

patent, Defendants know that the I-ETMS System is especially made or especially adapted for

use in a manner that infringes the ‘471 Patent. Accordingly, Defendants’ sale of I-ETMS

Systems contributes to infringement of the ‘471 Patent by their customers in violation of 35

U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 136 of the Complaint.




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         137.   On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘471 Patent and by encouraging customers to use

the I-ETMS System in a manner that Defendants know infringes the ‘471 Patent, Defendants are

inducing infringement of the ‘471 Patent by their customers in violation of 35 U.S.C. § 271(b).

         ANSWER: Wabtec denies the allegations in Paragraph 137 of the Complaint.

         138.   Defendants’ infringement of the ‘471 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

         ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 138 of the Complaint.

         139.   On information and belief, Defendants’ infringement of the ‘471 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘471 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C. §

284.

         ANSWER: Wabtec denies the allegations in Paragraph 139 of the Complaint.

         140.   Defendants’ willful infringement of the ‘471 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees in accordance with 35 U.S.C.

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         ANSWER: Wabtec denies the allegations in Paragraph 140 of the Complaint.

                     Count XI – Infringement of U.S. Patent No. 6,845,953

         141.   Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.




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        ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

        142.    The ‘953 Patent is generally directed to a train control system that, in accordance

with particular embodiments, includes a control module that determines a position of a train

using a positioning system and consults a database to determine when the train is approaching a

portion of track monitored by a track circuit. When the train is near a track circuit, but while the

train is still far enough away from the track circuit such that the train can be stopped before

reaching the portion of track monitored by the track circuit, the train transmits an interrogation

message to a transceiver associated with the track circuit. When the track circuit receives the

interrogation message, a test is initiated. The test results are transmitted back to the train. The

train takes corrective action if the track circuit fails to respond or indicates a problem. See ‘953

Patent, Abstract.

        ANSWER: Wabtec denies the allegations in Paragraph 142 of the Complaint.

        143.    On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘953 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

        ANSWER: Wabtec denies the allegations in Paragraph 143 of the Complaint.

        144.    Claim 1 of the ‘953 Patent recites as follows:

                1.      A system for controlling a train, the system comprising:

                a control unit;

                a warning device in communication with the control unit;

                a brake interface unit, the brake interface unit being in communication with the
        control unit and a train brake, the brake interface unit being operable to activate the train
        brake under control of the control unit; and



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            a transceiver, the transceiver being located on the train and being in
       communication with the control unit;

              wherein the control unit is configured to perform the steps of

                      transmitting an interrogation message to a track circuit transceiver
                      associated with a track circuit;

                      listening for a response from the track circuit transceiver, the response
                      including an indication as to a condition of a section of track monitored by
                      the track circuit;

                      allowing the train to continue if a response with an indication that it is safe
                      for the train to proceed is received; and

                      activating the warning device if the response indicates that it is not safe for
                      the train to proceed.

       ANSWER: Wabtec admits that claim 1 of the ‘953 Patent contains the language recited

in Paragraph 144 of the Complaint.

       145.   On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 1. The “control unit” limitation is

satisfied by the TMC, which contains multiple CPUs and is configured to perform, or to control

the performance of, the various steps involved in communicating with a track circuit transceiver

associated with a track circuit and taking appropriate enforcement actions depending upon the

response received. See, e.g., Wabtec Catalog at 35-36; Wabtec Product Finder at 2-5; WABTEC-

DEL-00000343-44; WABTEC-DEL-00001375-77; WABTEC-DEL-00000854-62. In addition,

the I-ETMS System includes, or interfaces with, a “transceiver” for communicating with track

circuit transceivers associated with track circuits, with such communications being controlled by

the TMC in combination with the Commlink II. See Wabtec Catalog at 35-36; Wabtec Product

Finder at 2-5. The I-ETMS System also includes a warning device in communication with the

TMC, in the form the I-ETMS Display. See Wabtec Catalog at 34-35. A brake interface unit is




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also included in the I-ETMS System, allowing the TMC to activate the train brakes as necessary

for enforcement actions. See Wabtec Catalog at 34-36; WABTEC-DEL-00001230.

       ANSWER: Wabtec denies the allegations in Paragraph 145 of the Complaint.

       146.    In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘953 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 146 of the Complaint.

       147.    Claim 20 of the ‘953 Patent recites as follows:

               20.    A method for controlling a train comprising the steps of:

               transmitting an interrogation message to a track circuit transceiver associated with
       a track circuit near the train;

               listening for a response from the track circuit transceiver, the response including
       an indication as to a condition of a section of track monitored by the track circuit; and

               reporting the response to a person operating the train.

       ANSWER: Wabtec admits that claim 20 of the ‘953 Patent contains the language recited

in Paragraph 147 of the Complaint.

       148.    On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 20. As discussed with reference to claim 1 above, the

I-ETMS System, under control of the TMC, is configured to perform, or to control the

performance of, the various steps involved in communicating with a track circuit transceiver

associated with a track circuit and reporting the response to a person operating the train. See,

e.g., Wabtec Catalog at 35-36; Wabtec Product Finder at 2-5; WABTEC-DEL-00000343-44;

WABTEC-DEL-00001375-77; WABTEC-DEL-00000854-62.

       ANSWER: Wabtec denies the allegations in Paragraph 148 of the Complaint.

       149.    The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 20 of the ‘953 Patent, being programmed to cause each of the method steps to be



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performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘953 Patent

by Siemens and Quantum, Defendants know that the I-ETMS System is especially made or

especially adapted for use in a manner that infringes the ‘953 Patent. Accordingly, Defendants’

sale of I-ETMS Systems contributes to infringement of the ‘953 Patent by their customers in

violation of 35 U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 149 of the Complaint.

       150.    On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘953 Patent and by encouraging customers to use

the I-ETMS System in a manner that Defendants know infringes the ‘953 Patent, Defendants are

inducing infringement of the ‘953 Patent by their customers in violation of 35 U.S.C. § 271(b).

       ANSWER: Wabtec denies the allegations in Paragraph 150 of the Complaint.

       151.    Defendants’ infringement of the ‘953 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

       ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 151 of the Complaint.

       152.    On information and belief, Defendants’ infringement of the ‘953 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘953 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C. §

284.

       ANSWER: Wabtec denies the allegations in Paragraph 152 of the Complaint.




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         153.   Defendants’ willful infringement of the ‘953 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees in accordance with 35 U.S.C.

§ 285.

         ANSWER: Wabtec denies the allegations in Paragraph 153 of the Complaint.

                     Count XII – Infringement of U.S. Patent No. 7,036,774

         154.   Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.

         155.   The ‘774 Patent is generally directed to a train control system that, in accordance

with particular embodiments, includes a control module that determines a position of a train

using a positioning system and consults a database to determine when the train is approaching a

portion of track monitored by a track circuit. When the train is near a track circuit, but while the

train is still far enough away from the track circuit such that the train can be stopped before

reaching the portion of track monitored by the track circuit, the train transmits an interrogation

message to a transceiver associated with the track circuit. When the track circuit receives the

interrogation message, a test is initiated. The test results are transmitted back to the train. The

train takes corrective action if the track circuit fails to respond or indicates a problem. See ‘774

Patent, Abstract.

         ANSWER: Wabtec denies the allegations in Paragraph 155 of the Complaint.

         156.   On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘774 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.


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       ANSWER: Wabtec denies the allegations in Paragraph 156 of the Complaint.

       157.   Claim 1 of the ‘774 Patent recites as follows:

              1.      A system for controlling a train, the system comprising:

              a control unit;

              a warning device in communication with the control unit;

               a brake interface unit, the brake interface unit being in communication with the
       control unit and a train brake, the brake interface unit being operable to activate the train
       brake under control of the control unit; and

            a transceiver, the transceiver being located on the train and being in
       communication with the control unit;

              wherein the control unit is configured to perform the steps of

                      transmitting an interrogation message to a track circuit transceiver
                      associated with a track circuit;

                      listening for a response from the track circuit transceiver, the response
                      including an indication as to a condition of a section of track monitored by
                      the track circuit;

                      activating the warning device to provide a warning to the operator if the
                      response indicates that it is not safe for the train to proceed; and

                      activating the train’s brake via the brake interface unit if an operator of the
                      train fails to acknowledge the warning or fails to reduce the speed of the
                      train to a safe speed within a period of time after the warning.

       ANSWER: Wabtec admits that claim 1 of the ‘774 Patent contains the language recited

in Paragraph 157 of the Complaint.

       158.   On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 1. The “control unit” limitation is

satisfied by the TMC, which contains multiple CPUs and is configured to perform, or to control

the performance of, the various steps involved in communicating with a track circuit transceiver

associated with a track circuit and taking appropriate enforcement actions depending upon the

response received and the operator’s response to warnings activated by the TMC. See, e.g.,


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Wabtec Catalog at 35-36; Wabtec Product Finder at 2-5; WABTEC-DEL-00000343-44;

WABTEC-DEL-00001375-77; WABTEC-DEL-00001369; WABTEC-DEL-00000854-62. In

addition, the I-ETMS System includes, or interfaces with, a “transceiver” for communicating

with track circuit transceivers associated with track circuits, with such communications being

controlled by the TMC in combination with the Commlink II. See Wabtec Catalog at 35-36;

Wabtec Product Finder at 2-5. The I-ETMS System also includes a warning device in

communication with the TMC, in the form the I-ETMS Display. See Wabtec Catalog at 34-35. A

brake interface unit is also included in the I-ETMS System, allowing the TMC to activate the

train brakes as necessary for enforcement actions. See Wabtec Catalog at 34-36; WABTEC-

DEL-00001230.

       ANSWER: Wabtec denies the allegations in Paragraph 158 of the Complaint.

       159.    In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘774 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 159 of the Complaint.

       160.    Claim 19 of the ‘774 Patent recites as follows:

               19.    A method for controlling a train comprising the steps of:

               transmitting an interrogation message to a track circuit transceiver associated with
       a track circuit near the train;

               listening for a response from the track circuit transceiver, the response including
       an indication as to a condition of a section of track monitored by the track circuit;

               activating a warning device to provide a warning to the operator if the response
       indicates that it is not safe to proceed or no response is received; and

              activating the train’s brake to stop the train if an operator of the train fails to
       acknowledge the warning or fails to reduce the speed of the train to a safe speed within a
       time period.




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       ANSWER: Wabtec admits that claim 19 of the ‘774 Patent contains the language recited

in Paragraph 160 of the Complaint.

       161.    On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 19. As discussed with reference to claim 1 above, the

I-ETMS System, under control of the TMC, is configured to perform, or to control the

performance of, the various steps involved in communicating with a track circuit transceiver

associated with a track circuit and taking appropriate enforcement actions depending upon the

response received and the operator’s response to warnings activated by the TMC. See, e.g.,

Wabtec Catalog at 35-36; Wabtec Product Finder at 2-5; WABTEC-DEL-00000343-44;

WABTEC-DEL-00001369; WABTEC-DEL-00001375-77; WABTEC-DEL-00000854-62.

       ANSWER: Wabtec denies the allegations in Paragraph 161 of the Complaint.

       162.    The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 19 of the ‘774 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘774 Patent

by Siemens and Quantum, Defendants know that the I-ETMS System is especially made or

especially adapted for use in a manner that infringes the ‘774 Patent. Accordingly, Defendants’

sale of I-ETMS Systems contributes to infringement of the ‘774 Patent by their customers in

violation of 35 U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 162 of the Complaint.

       163.    On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘774 Patent and by encouraging customers to use




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the I-ETMS System in a manner that Defendants know infringes the ‘774 Patent, Defendants are

inducing infringement of the ‘774 Patent by their customers in violation of 35 U.S.C. § 271(b).

         ANSWER: Wabtec denies the allegations in Paragraph 163 of the Complaint.

         164.   Defendants’ infringement of the ‘774 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

         ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 164 of the Complaint.

         165.   On information and belief, Defendants’ infringement of the ‘774 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘774 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C. §

284.

         ANSWER: Wabtec denies the allegations in Paragraph 165 of the Complaint.

         166.   Defendants’ willful infringement of the ‘774 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees in accordance with 35 U.S.C.

§ 285.

         ANSWER: Wabtec denies the allegations in Paragraph 166 of the Complaint.

                     Count XIII – Infringement of U.S. Patent No. 6,824,110

         167.   Siemens incorporates by reference the allegations in Paragraphs 1 through 38

above.

         ANSWER: Wabtec incorporates by reference all of its answers to Paragraphs 1 through

38 as if fully set forth herein.




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       168.    The ‘110 Patent is generally directed to a train control system that, in accordance

with particular embodiments, automatically activates a train warning device that uses a

positioning system such as a global positioning system (GPS) receiver or an inertial navigation

system (INS) to determine the train’s position. The system further includes a database containing

locations of grade crossings and other locations at which a train is required to give a warning

signal and what regulations govern activation of the warning device at such locations. See ‘110

Patent, Abstract.

       ANSWER: Wabtec denies the allegations in Paragraph 168 of the Complaint.

       169.    On information and belief, Defendants directly infringe, induce others to infringe,

and/or contributorily infringe one or more claims of the ‘110 Patent, either literally or under the

doctrine of equivalents. Non-limiting examples of such infringement are provided below, based

on the limited information currently available to Siemens.

       ANSWER: Wabtec denies the allegations in Paragraph 169 of the Complaint.

       170.    Claim 11 of the ‘110 Patent recites as follows:

               11.     A system for automatically activating a warning device on a train at a
       location, the system comprising:

               a control unit connected to the warning device;

              a storage device connected to the control unit, the storage device having stored
       therein a database of locations at which the warning device must be activated and
       corresponding regulations concerning activation of the warning device;

              a positioning system in communication with the control unit, the positioning
       system being configured to supply a position of the train to the control unit; and

               wherein the control unit is configured to perform the steps of

                      selecting a next upcoming location from among the locations in the
                      database;

                      determining a point at which to activate the warning device in compliance
                      with a regulation corresponding to the next upcoming location; and



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                      activating the warning device at the point.

       ANSWER: Wabtec admits that claim 11 of the ‘110 Patent contains the language recited

in Paragraph 170 of the Complaint.

       171.    On information and belief, the I-ETMS System manufactured and sold by

Defendants satisfies each and every limitation of claim 11. The “control unit” limitation is

satisfied by the TMC, which contains multiple CPUs and includes, or interfaces with, a track

database stored on a storage device containing information concerning locations at which a

warning device is to be activated. The TMC is configured to perform, or to control the

performance of, the various steps involved in determining when a warning device is to be

activated and activating that device accordingly. See, e.g., Wabtec Catalog at 35-36; Wabtec

Product Finder at 2-5; WABTEC-DEL-0001447; WABTEC-DEL-00001230. In addition, the I-

ETMS System, and particularly the TMC, includes a GPS system incorporated in the Navigation

Sensor Module and/or the Commlink II. See Wabtec Catalog at 36-37.

       ANSWER: Wabtec denies the allegations in Paragraph 171 of the Complaint.

       172.    In view of the foregoing, Defendants’ manufacture, sale, and offer to sell I-ETMS

Systems directly infringes the ‘110 Patent in violation of 35 U.S.C. § 271(a).

       ANSWER: Wabtec denies the allegations in Paragraph 172 of the Complaint.

       173.    Claim 1 of the ‘110 Patent recites as follows:

               1.    A computerized method for activating a warning device on a train at a
       location comprising the steps of:

              maintaining a database of locations at which the warning device must be activated
       and corresponding regulations concerning activation of the warning device;

               obtaining a position of the train from a positioning system;

              selecting a next upcoming location from among the locations in the database
       based at least in part on the position;




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               determining a point at which to activate the warning device in compliance with a
       regulation corresponding to the next upcoming location; and

               activating the warning device at the point.

       ANSWER: Wabtec admits that claim 1 of the ‘110 Patent contains the language recited

in Paragraph 173 of the Complaint.

       174.    On information and belief, use of the I-ETMS System by Defendants’ customers

satisfies each and every limitation of claim 1. As discussed with reference to claim 11 above, the

I-ETMS System, under control of the TMC, is configured to perform, or to control the

performance of, the various steps involved in determining when a warning device is to be

activated and activating that device accordingly. See, e.g., Wabtec Catalog at 35-36; Wabtec

Product Finder at 2-5; WABTEC-DEL-0001447; WABTEC-DEL-00001230.

       ANSWER: Wabtec denies the allegations in Paragraph 174 of the Complaint.

       175.    The I-ETMS System sold by Defendants constitutes a material part of the method

recited in claim 1 of the ‘110 Patent, being programmed to cause each of the method steps to be

performed, and it is not a staple article or commodity of commerce suitable for substantial

noninfringing use. Moreover, at least as a result of having been put on notice of the ‘110 Patent

by Siemens and Quantum, Defendants know that the I-ETMS System is especially made or

especially adapted for use in a manner that infringes the ‘110 Patent. Accordingly, Defendants’

sale of I-ETMS Systems contributes to infringement of the ‘110 Patent by their customers in

violation of 35 U.S.C. § 271(c).

       ANSWER: Wabtec denies the allegations in Paragraph 175 of the Complaint.

       176.    On information and belief, both by configuring the I-ETMS System to operate in

a manner that Defendants know infringes the ‘110 Patent and by encouraging customers to use




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the I-ETMS System in a manner that Defendants know infringes the ‘110 Patent, Defendants are

inducing infringement of the ‘110 Patent by their customers in violation of 35 U.S.C. § 271(b).

          ANSWER: Wabtec denies the allegations in Paragraph 176 of the Complaint.

          177.   Defendants’ infringement of the ‘110 Patent has caused Siemens to suffer

substantial monetary harm, including lost profits and price erosion relating to Siemens’ sale of

competing PTC products.

          ANSWER: Wabtec lacks an understanding as to what Siemens is referring to as “PTC

products.” Wabtec denies the allegations in Paragraph 177 of the Complaint.

          178.   On information and belief, Defendants’ infringement of the ‘110 Patent has been

willful, done deliberately and with full knowledge that the manufacture, sale, offer for sale, and

use of I-ETMS Systems infringes the ‘110 Patent, justifying an increase in the damages to be

awarded Siemens up to three times the amount found or assessed, in accordance with 35 U.S.C. §

284.

          ANSWER: Wabtec denies the allegations in Paragraph 178 of the Complaint.

          179.   Defendants’ willful infringement of the ‘110 Patent renders this an exceptional

case, justifying an award to Siemens of its reasonable attorney fees in accordance with 35 U.S.C.

§ 285.

          ANSWER: Wabtec denies the allegations in Paragraph 179 of the Complaint.

                       ANSWER TO SIEMENS’ PRAYER FOR RELIEF

          As to all Prayers for relief set forth in the Complaint, Wabtec denies that Siemens is

entitled to any relief, as alleged or otherwise.

          All other allegations in the Complaint not specifically admitted or denied are hereby

denied.




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                                           JURY DEMAND

       Wabtec admits that Siemens has demanded a trial by jury on all triable issues.

                   WABTEC’S AFFIRMATIVE AND OTHER DEFENSES

       Without admitting or acknowledging that it bears the burden of proof as to any of them,

Wabtec’s affirmative and other defenses are listed below. Wabtec reserves the right to amend its

Answer to add additional defenses consistent with the facts discovered in the case.

                                           FIRST DEFENSE

       The Complaint, and each purported claim asserted, fails to state a cause of action for

which relief can be granted and/or fails to plead the allegations with sufficient particularity.

                                       SECOND DEFENSE

       Wabtec does not infringe, and has not infringed under any theory (including jointly,

directly, willfully, contributorily, or by inducement), any valid claim of the ‘461 Patent, the ‘801

Patent, the ‘860 Patent, the ‘032 Patent, the ‘850 Patent, the ‘494 Patent, the ‘698 Patent, the

‘195 Patent, the ‘926 Patent, the ‘471 Patent, the ‘953 Patent, the ‘774 Patent, and/or the ‘110

Patent (hereinafter, “Patents-in-Suit”).

                                           THIRD DEFENSE

       One or more claims of the Patents-in-Suit are invalid, as discussed in Wabtec’s

Counterclaims below, which are incorporated herein by reference, for failing to comply with the

conditions for patentability set forth in Title 35, United States Code § 101, et seq. including, but

not limited to, 35 U.S.C. §§ 101, 102, 103, and/or 112 and the rules, regulations, and laws

pertaining thereto.




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                                      FOURTH DEFENSE

       Under 35 U.S.C. § 287, Wabtec is not liable to Siemens for any alleged damages that

allegedly occurred before Siemens provided actual notice of infringement of the Patents-in-Suit

to Wabtec.

                                        FIFTH DEFENSE

       Siemens’ attempted enforcement of the Patents-in-Suit against Wabtec is barred in whole

or in part by the equitable doctrines of estoppel, laches, waiver, acquiescence, and/or other

equitable doctrines.

                                        SIXTH DEFENSE

       Siemens’ attempted enforcement of the Patents-in-Suit against Wabtec is barred in whole

or in part by a license to Wabtec’s customers for the Patents-in-Suit.

                                      SEVENTH DEFENSE

       As a result of the proceedings before the United States Patent and Trademark Office

during the prosecution of the applications leading to the Patents-in-Suit, and/or related patent

applications, including the admissions, representations, and amendments made on behalf of the

applicant, Siemens is estopped from asserting any construction of the claims of the Patents-in-

Suit to cover any activity engaged in or product used or sold by Wabtec.

                                       EIGHTH DEFENSE

       Siemens is estopped from applying the doctrine of equivalents to the claims of the

Patents-in-Suit in light of arguments and amendments that were made to the United States Patent

and Trademark Office during the prosecution of the Patents-in-Suit.

                                        NINTH DEFENSE

       Wabtec’s methods, systems, products, or services have substantial non-infringing uses so

they do not contributorily infringe the Patents-in-Suit.



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                                      TENTH DEFENSE

       Wabtec has engaged in all relevant activities in good faith, thereby precluding Siemens,

even if it prevails, from recovering its reasonable attorneys’ fees and/or costs under 35 U.S.C. §

285.

                                   ELEVENTH DEFENSE

       Siemens’ claims for damages are limited by 35 U.S.C. § 286, which prohibits recovery

for any infringement committed more than six years before the filing of the Complaint.




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                                AMENDED COUNTERCLAIMS

       Defendants Westinghouse Air Brake Technologies Corporation (d/b/a Wabtec

Corporation) (“Wabtec Corp.”) and Wabtec Railway Electronics, Inc. (“WRE”) (Wabtec Corp.

and WRE are collectively referred to hereinafter as “Wabtec”), bring the following Amended

Counterclaims against Plaintiff Siemens Industry, Inc. (“Siemens”):

                        THE PARTIES, JURISDICTION AND VENUE

       1.      Wabtec Corp. is a corporation organized under the laws of the State of Delaware,

with a principal place of business at 1001 Air Brake Avenue in Wilmerding, Pennsylvania.

WRE is a corporation organized under the laws of the State of Delaware, with a principal place

of business at 21200 Dorsey Mill Road in Germantown, Maryland.

       2.      Upon information and belief, Siemens is a corporation organized under the laws

of the State of Delaware, with a principal place of business at 3333 Old Milton Parkway in

Alpharetta, Georgia.

       3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a) because the counterclaims arise under the patent laws of the United States, 35 U.S.C. § 1

et seq., including 35 U.S.C. § 271.

       4.      This Court has personal jurisdiction over Siemens because, among other things,

Siemens has asserted the ‘461 Patent, the ‘801 Patent, the ‘860 Patent, the ‘032 Patent, the ‘850

Patent, the ‘494 Patent, the ‘698 Patent, the ‘195 Patent, the ‘926 Patent, the ‘471 Patent, the

‘953 Patent, the ‘774 Patent, and the ‘110 Patent (hereinafter, the “Siemens Patents-in-Suit”)

against Wabtec in its Complaint in this jurisdiction.

       5.      Venue is proper in this district under 28 U.S.C. § 1391 and because Siemens has

consented to venue in this Court by filing the instant action in this jurisdiction.




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       6.      In this action, Siemens has asserted the Siemens Patents-in-Suit against Wabtec,

and has alleged that Wabtec has directly and indirectly infringed said patents.

       7.      Wabtec Corp. brings this counterclaim in Counts XXVII through XXIX for patent

infringement alleging Siemens infringes U.S. Patent Nos. 7,398,140 (“‘140 Patent”), 8,175,764

(“‘764 Patent”), and 8,478,463 (“‘463 Patent”) (collectively the “Wabtec Corp. Patents-in-Suit”).

                          THE WABTEC CORP. PATENTS-IN-SUIT

       8.      U.S. Patent No. 7,398,140 (“‘140 Patent”), titled “Operator warning system and

method for improving locomotive operator vigilance,” was issued by the United States Patent

and Trademark Office (“USPTO”) on July 8, 2008. Wabtec Corp. is the lawful owner by

assignment of all rights, title and interest in the ‘140 Patent, including the right to sue for patent

infringement and damages, including past damages. A true and correct copy of the ‘140 Patent is

attached hereto as Exhibit Q.

       9.      U.S. Patent No. 8,175,764 (“‘764 Patent”), titled “System and method for

identifying an upcoming feature in a track network,” was issued by the USPTO on May 8, 2012.

Wabtec Corp. is the lawful owner by assignment of all rights, title and interest in the ‘764 Patent,

including the right to sue for patent infringement and damages, including past damages. A true

and correct copy of the ‘764 Patent is attached hereto as Exhibit R.

       10.     U.S. Patent No. 8,478,463 (“‘463 Patent”), titled “Train control method and

system,” was issued by the USPTO on July 2, 2013. Wabtec Corp. is the lawful owner by

assignment of all rights, title and interest in the ‘463 Patent, including the right to sue for patent

infringement and damages, including past damages. A true and correct copy of the ‘463 Patent is

attached hereto as Exhibit S.




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                            BACKGROUND OF THE DISPUTE

                                       Pulse Electronics

       11.    Pulse Electronics was started in 1977 by Emilio Fernandez and Angel Bezos.

       12.    Pulse Electronics was “a leading manufacturer of advanced electronic systems for

trains.” (Ex. A, Pulse Electronics Prepares for Move to Germantown, News Gazette (Jan. 11,

1997), http://www.gazette.net/gazette_archive/1997/199724/aspenhill/news/a57574-1.html).

       13.    Exhibit A was publically available on January 11, 1997.

       14.    Pulse Electronics developed data recorders for trains.

       15.    Mark Kane, the first named inventor of the ‘461 Patent, the ‘801 Patent, the ‘860

Patent, the ‘032 Patent, and the ‘850 Patent, was the marketing director of Pulse Electronics in

1985. (Ex. B, T.R. Reid, Caboose May Be Nearing End of Line, Wash. Post, Feb. 17, 1985

(“Caboose Article”)).

       16.    Exhibit B was publically available on February 17, 1985.

       17.    Mark Kane left Pulse Electronics and founded Quantum Engineering, Inc. prior to

January 19, 1990.

       18.    Specifically, Mark Kane and James Shockley, inventors of certain of the Siemens

Patents-in-Suit, founded Quantum Engineering, Inc. in October, 1988.

       19.    Pulse Electronics was acquired by Westinghouse Air Brake Company

(“WABCO”) in 1995.

       20.    Pulse Electronics is now known as WRE.

                                    Rockwell Collins, Inc.

       21.    Rockwell Collins, Inc. (“Rockwell Collins”), initially called Collins Radio

Company, was founded by Arthur Collins in Cedar Rapids, Iowa in 1933.




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         22.   Rockwell Collins initially designed and produced short wave radio equipment.

(Ex. C, Rockwell Collins History, https://www.rockwellcollins.com/Our_Company/History.aspx

(downloaded June 9, 2016) (“Rockwell Collins History”) at 1).

         23.   Exhibit C was publically available on June 9, 2016.

         24.   In 1973, Rockwell International, a high-technology company, acquired Collins

Radio Company. (Id.).

         25.   Since 1985, Rockwell Collins has been a systems engineering contractor for the

rail industry in the development of Positive Train Control (“PTC”) technology and related rail

systems-integration     solutions.    (Ex.    D,    Positive    Train   Control,   Arinc   Rail,

https://www.rockwellcollins.com/Services_and_Support/Information_Management/ARINC_Rail

/Control_Systems/Positive_Train_Control.aspx (downloaded June 9, 2016) (“Arinc Rail PTC”)

at 1).

         26.   Exhibit D was publically available on June 9, 2016.

         27.   In August 1998, Rockwell Collins sold its Railroad Electronics business to

WABCO. (Ex. E, Press Release, Westinghouse Air Brake Company, Westinghouse Air Brake

Company Announces Agreement to Purchase Rail Elec. Div. of Rockwell Int’l (Aug. 18, 1998)).

         28.   Exhibit E was publically available on August 18, 1998.

         29.   Acquiring this division of Rockwell International allowed WABCO to augment

its train and brake communications product lines.

         30.   In 2001, Rockwell Collins, Inc. was spun-off from Rockwell International. (Ex.

D, Arinc Rail PTC at 1).

                       Westinghouse Air Brake Technologies Corporation

         31.   Wabtec Corp. was formed by the merger of WABCO and MotivePower Industries

Corporation in 1999.


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       32.     Wabtec Corp. has been a leading innovator in the development and success of

PTC since its predecessor, Rockwell Collins, opened the door to improving safety in the rail

sector in the early 1980’s. (See Ex. F, Railroad Safety Advisory Committee, Report (Sept. 8,

1999) (“RSAC Report”) at 22).

       33.     Exhibit F was publically available on September 8, 1999.

       34.     Another one of Wabtec Corp.’s predecessors, Pulse Electronics, pioneered the

revolutionary communications system, TrainGuardTM, as early as 1993. (Id. at 28).

                           Wabtec and the History of Train Control

       35.     Since the early 1980s, the railroad industry has acknowledged the potential

advantages of using data radio communications, emerging microprocessor-based systems, and

other contemporary technologies to enhance train control performance. (Id. at 1).

       36.     Throughout the past 25 or so years, the railroad industry experimented with

various iterations of advanced train control.       (See Ex. G, William C. Vantuono, PTC: Is

Everyone         on        Board?,        Railway         Age        (Apr.      28,      2010),

http://www.railwayage.com/index.php/ptc/ptc-is-everyone-on-board.html        (“Railway     Age

Article”)).

       37.     Exhibit G was publically available on April 28, 2010.

       38.     Advanced Train Control Systems (“ATCS”) were developed in the mid-1980s

after the enactment of the Staggers Rail Act of 1980. (Ex. F, RSAC Report at vi).

       39.     The primary goal was to create a comparable or even safer train control system

that would cost less than prior conventional systems. (Id. at 17).

       40.     At least 12 projects were already in progress by 1999 to develop communications-

based control systems, now sometimes referred to as PTC. (Id. at 18).




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        41.       In late 1983, the Canadian National, British Columbia, Canadian Pacific,

Burlington Northern, Norfolk Southern, Seaboard System, Union Pacific and Southern Pacific

railroads, together commenced a project to establish operating requirements for a

communications-based train control system. (Id.).

        42.       The control system being developed in late 1983 by Canadian National, British

Columbia, Canadian Pacific, Burlington Northern, Norfolk Southern, Seaboard System, Union

Pacific and Southern Pacific railroads would later be known as ATCS. (Id.).

        43.       In 1983, the Burlington Northern Railroad (“BN”) and the Collins Air Transport

Division of Rockwell International devised the Advanced Railroad Electronic System (“ARES”).

(Id. at 22).

        44.       In 1984, BN tested data radios and GPS on two locomotives near Minneapolis-St.

Paul. (Id.).

        45.       In 1985, BN contracted with Rockwell to develop and test ARES in revenue

service operations. (Id.).

        46.       ARES was composed of three major segments: (1) the Control Segment; (2) the

Data Segment; and (3) the Vehicle Segment. (Id.).

        47.       ARES was developed according to specifications advanced by BN and Rockwell

Collins. (Id.).

        48.       Rockwell Collins and Pulse Electronics, among few other railroad equipment

suppliers, supplied the necessary components. (Id.).

        49.       Among other features, ARES allowed for communications between onboard

computers and wayside devices via wayside interface units (“WIUs”). (Ex. H, Rockwell Int’l,




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Operators Manual for Advanced R.R. Elecs. Sys. For Burlington Northern R.R., (June 1, 1987)

at vi (“ARES Operators Manual”)).

         50.   Exhibit H was publically available on June 1, 1987.

         51.   The following figure is a Functional Diagram illustrating the architecture of the

ARES system:




(Id.).

         52.   The ARES system could receive “OVER SWITCH CLEAR MESSAGE[S]

FROM WAYSIDE TRACK INDICATOR[S].” (Id. at 25).

         53.   An over switch clear message indicates that an upcoming switch is in the

expected position.



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        54.       Such a switch is a configurable device.

        55.       According to ARES, the over-the-switch clear message is received from a

wayside track indicator, which is in communication with a switch to which the message pertains.

        56.       ARES also displayed one or more signals in its TRACK PLAN view. (Id. at 32-

33).

        57.       Specifically,   ARES      illustrated     SIGNAL      LOCATIONS,   WAYSIDE

DETECTORS, GRADE CROSSINGS, and TRACK CROSSINGS in its TRACK PLAN view.

(Id. at 38-39).

        58.       On information and belief, ARES obtained information from configurable devices

along the wayside when the onboard computer requested such information by sending messages

to one or more WIUs.

        59.       As discussed in the Federal Railroad Administration (“FRA”) Railroad

Communications and Train Control Report to Congress, dated July 1994, PTC systems were

already being tested as of July 8, 1994. (Ex. I, Federal Railroad Administration, Report to

Congress (July 1994) at 3 (“FRA Report”)).

        60.       Exhibit I was publically available in July of 1994.

        61.       In 1997 and 1998, Conrail, CSX Transportation (“CSXT”) and Norfolk Southern

(“NS”) railroads received a grant from the FRA to develop, test, and demonstrate an on-board

PTC platform. (Ex. F, RSAC Report at 27).

        62.       WABCO finalized the design specifications and along with GE-Harris, worked to

build prototypes to implement the PTC platform described in Paragraph 47. (Id. at 28).

        63.       In early 1993, a BN labor and management safety committee devised

TrainGuardTM, a system that would improve communications between surrounding trains. (Id.).




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        64.     TrainGuardTM, was intended to “make train crew members aware of other trains

in their vicinity in non-signaled territory.” (Id.).

        65.     When BN and Santa Fe railroads merged, the development of this system fell

upon BNSF’s Technical Research and Development staff. (Id.).

        66.     Shortly thereafter, the BNSF retained Pulse Electronics (now WRE) to design and

develop a system. (Id.).

        67.     In the late 1990’s, CSXT began testing a PTC platform known as

Communications-Based Train Management System (“CBTM”). (Id. at 29).

        68.     CSXT retained WRE to develop and test CBTM using the object oriented design

concept and the CR/CSXT/NS joint platform design. (Id.).

        69.     In 2008, Congress enacted the Rail Safety Improvement Act (“RSIA”) which

required all Class I railroads and passenger rail operators to implement a mandatory PTC

collision avoidance system by December 31, 2015.

        70.     Prior to the RSIA in 2008 there had been multiple train control initiatives based

on various technologies and systems from different vendors. (Dkt. 1, Ex. H, PTC White Paper,

May 2012 at 10).

        71.     By early 2009 there were no less than eleven different PTC projects involving

nine different railroads in sixteen states, covering 4,000 track miles. (Id.).

        72.     Four individual PTC platforms were developed to implement advanced train

control.

        73.     The individual PTC platforms comprise Vital Train Management System (UP),

Optimized Train Control (NS), Communications-Based Train Management (CSXT), and

Electronic Train Management System (BNSF).




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       74.     Interoperability between such systems presented a challenge.

       75.     To tackle interoperability, the “Big Four”—UP, NS, CSXT, and BNSF—have

come together under the auspices of the Association of American Railroads and formed the

Interoperable Train Control (“ITC”) Working Committee. (See Ex. G, Railway Age Article).

       76.     The ITC implemented interoperability by selecting the ETMS platform offered by

US-based WRE as it met all the RSIA PTC requirements and was already in trials by many of

the Class 1s and other rail operators.

       77.     As a result of its acceptance by the ITC, Wabtec’s I-ETMS solution became the

main technical architecture for PTC in North America.

       78.     Since acquiring Pulse and Rockwell Collins, Wabtec Corp. has continuously

expanded the scope of its long developed and innovative advancements in PTC.

       79.     Wabtec Corp. continues to be the most significant vendor in the PTC space. (Dkt.

1, Ex. H, PTC White Paper, May 2012 at 13).

       80.     WRE, a wholly owned subsidiary of Wabtec Corp., “has a diverse product

portfolio including electronic air brakes, digital event and video recorders, and its ETMS

solution upon which the Class 1s have standardized for PTC architecture.” (Id.).

       81.     “Wabtec designs and manufactures components for Office, Locomotive and

Wayside segments.” (Id.).

                   Wabtec and the History of End of Train (“EOT”) Device

       82.     The caboose, or final car coupled at the end of a train, was once an integral

component to the overall function of the railway system.

       83.     The caboose historically “housed crew members who would observe the cars

ahead for defects, process the train’s paperwork, operate track switches, monitor the air-brake

system to see if it was functioning throughout the train, observe if the train was moving or


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stopped as intended by the engineer, and apply the brakes in an emergency.” (Ex. J, Robert C.

McGonigal,         End-of-Train      Devices,        Trains    Mag.       (May       1,     2006),

http://trn.trains.com/railroads/abcs-of-railroading/2006/05/end-of-traindevices (“EOT Devices”)

at 1).

         84.    Exhibit J was publically available on May 1, 2006.

         85.    Cabooses carried marker lights to warn following trains of the presence of the last

car. (Id.).

         86.    In 1969, Florida East Coast Railway pioneered the use of end-of-train (“EOT”)

devices in place of a caboose.

         87.    By the mid-1980’s most other railroads followed suit.

         88.    Early EOT devices included a brake line connection/termination, a battery, and a

flashing tail light.

         89.    As the use of EOT devices became more widespread, the EOT devices were

equipped with radio telemetry transmitters to send brake pressure data to a receiver in the

locomotive.

         90.    A two-way telemetry system allows the EOT device to apply the train brakes on

radio command from the engine crew, sometimes necessary in emergencies. (Id.).

         91.    To reduce the cost of battery replacements, ambient light sensors were added so

the flashing light on the EOT would illuminate only during dusk and after dark.

         92.    Later models had a small turbine-powered electrical generator using air pressure

from the brake line to power the EOT’s radio and sensors.

         93.    As EOT devices gained popularity, cabooses became obsolete.




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       94.     In 1997, the FRA issued a requirement that all trains exceeding 30 miles per hour

which operate on heavy grades be equipped with two-way EOT telemetry devices.

       95.     In the early 1980’s Pulse Electronics revolutionized the EOT devices by

designing its TrainlinkTM EOT device.

       96.     In 1985, Pulse Electronics was the largest US supplier of EOT devices. (Ex. B,

Caboose Article).

       97.     Wabtec continues to offer TrainlinkTM telemetry systems.

       98.     TrainlinkTM provides a critical link to last car information such as brake pipe

pressure, motion status, battery condition, and marker light status.

                         Wabtec’s Development of its IC3 Technology

       99.     Prior to April 20, 2012, the Joint Railroad Safety Team (“JRST”) identified a

potential hazard in Wabtec’s Back Office Segment (“BOS”) regarding the integrity of mandatory

directives transmitted to customer locomotives.

       100.    Specifically, the JRST identified a hazard whereby if the BOS fails to properly

associate a mandatory directive to a proper locomotive, the discrepancy would potentially never

be detected by the then-existing system.

       101.    Under this hazard, JRST noted that it was possible that the mandatory directive

received on the locomotive may not equal the data sent by a customer’s Computer Aided

Dispatch (“CAD”) system.

       102.    On or around April 20, 2012, JRST formally published its identified hazard in the

BOS to Wabtec.

       103.    On or around April 20, 2012, JRST formally published its identified hazard in the

BOS to non-Wabtec companies.




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       104.    On information and belief, Siemens was aware of the JRST’s published hazard

prior to September 10, 2012.

       105.    Between April 20, 2012, and July 13, 2012, Wabtec personnel Kristofer Richland,

Karen Shaw, and Jim Fenske (hereinafter “Wabtec inventors”) worked to address JRST’s

identified hazard.

       106.    At least by July 13, 2012, the Wabtec inventors had conceived of a solution to the

JRST’s identified hazard.

       107.    At least by July 13, 2012, the Wabtec inventors conceived of a solution whereby

four different Cyclic Redundancy Checks (“CRCs”) are calculated and provided to the

locomotive for validating that the data received by the locomotive is the data sent by the CAD.

       108.    At least by August 28, 2012, the Wabtec inventors had continued developing their

solution to the JRST’s published hazard.

       109.    At least by August 28, 2012, the Wabtec inventors had conceived of the

component called the Individual and Composite CRC Calculator (“IC3”).

       110.    At least by August 28, 2012, the Wabtec inventors had conceived of a solution

whereby an independent process is used to verify BOS normalization and train association of

mandatory directive data.

       111.    At least by August 28, 2012, the Wabtec inventors had conceived of a solution

whereby the IC3 independently creates two types of CRCs used by the locomotive: individual

mandatory directive CRCs and the IC3 Composite CRC.

       112.    At least by August 28, 2012, the Wabtec inventors had conceived of a proposed

hazard mitigation schematically illustrated below:




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       113.    The IC3-based solution conceived by August 28, 2012 relied on a unidirectional

communication link between the IC3 and an external CAD and between the IC3 and the BOS,

and on a bidirectional communication link between the CAD and the BOS.

       114.    Prior to September 11, 2012, Wabtec asked third parties, including Union Pacific,

Norfolk Southern, and CSXT to review a white paper describing the Wabtec inventors’ solutions

to the JRST-identified hazard.

       115.    Between August 28, 2012 and September 20, 2012, the Wabtec inventors worked

with outside patent counsel to prepare a provisional patent application describing their IC3-based

solution to the JRST-identified hazard.

       116.    On September 20, 2012, the Wabtec inventors filed U.S. Provisional Application

No. 61/703,531 directed to the IC3-based solution to JRST’s identified hazard.

       117.    The filing of U.S. Provisional Application No. 61/703,531 indicates that the

Wabtec inventors did not abandon, suppress, or conceal the solution to JRST’s identified hazard.




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        118.   The Wabtec inventors filed U.S. Non-Provisional Application No. 14/032,710

directed to the solution to JRST’s identified hazard on September 20, 2013.

        119.   U.S. Non-Provisional Application No. 14/032,710, which describes aspects of the

IC3 (as well as embodiments not practiced in the IC3) published on June 19, 2014 as U.S. Patent

Publication No. 2014/0172205 (“‘205 Publication”).

                                   Siemens’ Infringing Products

        120.   On information and belief, Siemens has been marketing products relating to PTC

to customers in the United States since at least September of 2012. Among Siemens products

relating to PTC is the Trainguard PTC System (“Trainguard PTC”).

        121.   Siemens Trainguard PTC includes the Trainguard PTC Onboard Unit (“OBU”),

Locomotive Messaging Server (“LMS”), Wheel Speed Sensor WIG 16P, and Dual GPS

Receivers.          (Ex.      T,       Trainguard     PTC       Flyer     (downloaded       from

https://w3.usa.siemens.com/mobility/us/en/rail-solutions/rail-automation/train-control-

system/Documents/Tainguard%20PTC%20Flyer.pdf) at 1).

        122.   Exhibit T describes aspects of Siemens’ Trainguard PTC system as of April 1,

2014.

        123.   Trainguard PTC is designed to “prevent train accidents caused by human errors

such as overspeed conditions or overrunning red signals.”         (Ex. U, “Siemens debuts PTC

system,” Railway Age, Sept. 24, 2012, at 1).

        124.   Exhibit U describes aspects of Siemens’ Trainguard PTC system as of September

24, 2012.

        125.   The Trainguard PTC OBU, which is the Locomotive Segment of Siemens’

products relating to PTC, “dynamically calculates the precise braking distance to the next signal

or speed restriction with the aid of [a] speed sensor and GPS location determination systems[,]


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thereby preventing train-to-train collisions, over speed derailments, unauthorized entry into work

zones, and train movement through a switch in improper position.” (Ex. T, Trainguard PTC

Flyer at 1).

        126.    The Trainguard PTC OBU performs “vital location determination” by “safely

distinguish[ing] broken cables from locomotive standstill” using a speed sensor, “rul[ing] out

systemic failure” through the use of “diverse GPS signal sources,” and “calculat[ing] a safe and

precise train position” using “sensor fusion algorithms.” (Ex. V, PTC Brochure (downloaded

from        https://w3.usa.siemens.com/mobility/us/en/rail-solutions/rail-automation/train-control-

system/Documents/PTC_Brochure.pdf) at 2).

        127.    Exhibit V describes aspects of Siemens’ Trainguard PTC system as of September

19, 2012.

        128.    The Trainguard PTC OBU calculates braking distances using braking algorithms

that have been “specifically optimized for heavy freight trains and commuter rail operations.”

(Id.). “Based on a comprehensive physical model of the train and its environment, the OBU

dynamically calculates the precise braking distance to the next signal or speed restriction.” (Id.).

        129.    The Trainguard PTC OBU is comprised of a vital and a non-vital computer, and

the “computer platforms provide sufficient reserves to run additional applications such as

automatic train control.” (Id.). The Trainguard PTC OBU performs location “determination

with a combination of speed sensor and dual GPS receivers.” (Ex. T, Trainguard PTC Flyer at

1).

        130.    Serving the communication function of Siemens’ Trainguard PTC, Trainguard

LMS “[r]uns the Meteorcomm ITCM protocol stack” and “[c]onnects the OBU to the locomotive

data radio.” (Id. at 2). Trainguard PTC integrates with a variety of communication systems and




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“all kinds of trackside beacons,” allowing it to communicate with any type of Wayside Interface

Units (“WIU”) regardless of operating environment. (Ex. V, PTC Brochure at 2).

       131.    On information and belief, the various components of Trainguard PTC,

specifically including the Trainguard PTC OBU, are manufactured in the United States by

Siemens.

       132.    On information and belief, the various components of Trainguard PTC,

specifically including the Trainguard PTC OBU, are used in the United States by Siemens and its

customers.

       133.    On information and belief, the various components of Trainguard PTC,

specifically including the Trainguard PTC OBU, are offered for sale in the United States by

Siemens.

       134.    On information and belief, the various components of Trainguard PTC,

specifically including the Trainguard PTC OBU, are sold in the United States by Siemens.

       135.    On information and belief, the various components of Trainguard PTC,

specifically including the Trainguard PTC OBU, are imported into the United States by Siemens.

       136.    On information and belief, Siemens has sold Trainguard PTC in the United States

to at least CSX Transportation.

               Siemens’ Knowledge of Wabtec’s PTC-Related Patent Portfolio

       137.    On information and belief, Siemens had knowledge of the ‘140 Patent prior to the

filing of these counterclaims.

       138.    On information and belief, Siemens had knowledge of the ‘764 Patent prior to the

filing of these counterclaims.

       139.    On information and belief, Siemens had knowledge of the ‘463 Patent prior to the

filing of these counterclaims.


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       140.    On information and belief, Siemens is aware of the ‘140 Patent, the ‘764 Patent,

and the ‘463 Patent because of Wabtec’s marking of these patents on the I-ETMS computer

display welcome screen.

                                            COUNT I

   DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘461 PATENT

       141.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

       142.    Siemens has alleged in its Complaint that Wabtec has directly and indirectly

infringed the ‘461 Patent, that the alleged infringement is willful, and that Wabtec will continue

to engage in these acts.

       143.    Wabtec has not directly and contributorily infringed and has not induced the

infringement of the ‘461 Patent, and Wabtec thus is not continuing to directly and contributorily

infringe and induce the infringement of the ‘461 Patent. Wabtec thus also has not willfully

infringed the ‘461 Patent.

       144.    There is an actual, substantial, and continuing justiciable controversy between

Siemens and Wabtec regarding the alleged infringement of the ‘461 Patent.

       145.    Wabtec is entitled to a judicial declaration that it does not infringe, directly or

indirectly, any valid and enforceable claim of the ‘461 Patent.

       146.    Siemens knows or should know that Wabtec has not and is not in any way

infringing the ‘461 Patent. This is thus an exceptional case entitling Wabtec to an award of its

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                           COUNT II

        DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘461 PATENT

       147.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.




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       148.    Wabtec maintains that the ‘461 Patent and each of its claims are invalid under one

or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

       149.    There is an actual, substantial, and continuing justiciable controversy between

Siemens and Wabtec regarding the alleged invalidity of the ‘461 Patent.

       150.    Systems that relied on on-board computers for controlling trains were known

before the earliest priority date of the ‘461 Patent.

       151.    For example, the ARES system was a known system for controlling trains using

an on-board computer prior to the earliest priority date of the ‘461 Patent.

       152.    Known systems, including the ARES system, included a control unit and a

transceiver on the train to communicate with devices off the train.

       153.    In the ARES system, the control unit on the train could transmit a message to a

WIU near the train.

       154.    In response to some such messages, in the ARES system, the control unit received

information indicating a configuration of a configurable device (e.g., a switch) connected to the

WIU.

       155.    It was known, in prior art systems such as ARES, to provide positive train control

to avoid potentially dangerous conditions.

       156.    For example, in the ARES system, if an unexpected switch configuration was

determined by the onboard computer, the system applied the train’s brakes to prevent the train

from passing the configurable device.

       157.    Also in the ARES system, part of the checks performed by the onboard computer

involved verifying that the WIU and configurable device whose status information was received

were the correct, expected WIU, and configurable device.




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        158.    This technique of verifying configurable device configuration and identity and

stopping a train if an anomaly is detected is also described in the patent literature, such as U.S.

Patent No. 5,092,544 to Petit (“Petit”).

        159.    For example, Petit discloses that an onboard computer communicates with

configurable devices such as crossing equipment. (Petit at 4:32-38).

        160.    Petit also discloses that if an error in a component of the system (e.g., a trackside

configurable device) is detected, the “train may then be stopped or allowed to proceed at a

restricted speed until the failure is corrected.” (Id. at 6:5-7).

        161.    Petit discloses that this stopping may be achieved by an “output to set the brakes. .

.” (Id. at 6:4-5).

        162.    Petit claims “safety checks in said communications link at said train and at said

crossing equipment, and stopping said train or operating said equipment to its second state when

said vital checks indicate an error in said messages.” (Id. at claim 11).

        163.    Petit also claims “means for stopping said train and operating said equipment to

its second state when said vital checks indicate an error in said messages.” (Id. at claim 25).

        164.    Petit thus discloses that signals indicating the state of trackside equipment can

result in the on-board computer causing the train to stop by applying the brakes.

        165.    The technique of verifying configurable device configuration and identity and

stopping a train if an anomaly is detected is also described in U.S. Patent No. 5,950,966 to

Hungate (“Hungate”).

        166.    Hungate discloses that embodiments of its disclosed invention “can be

implemented to accommodate monitored manual switches or remote powered switches.”

(Hungate at 2:22-27).




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       167.    Hungate discloses the use of an on-board computer (OBC) 31 with an interface to

the train’s brakes via brake interface 38. (Id. at 4:40-50, Fig. 4).

       168.    Hungate discloses that the brake interface 38 can “automatically appl[y] train

brakes prior to violation of” an authority on the train. (Id. at 5:40-44).

       169.    Hungate discloses that “block signal aspect” is one condition that can be used to

cause brake interface 38 to automatically apply brakes. (Id. at 6:35-37).

       170.    Hungate also discloses that certain circuitry can “confirm the absence of

conflicting switch settings.” (Id. at claim 8).

       171.    A person of skill in the art would have understood that conflicting switch settings

could be used by the on-board computer 31 of Hungate to cause brake interface 38 to

automatically apply brakes.

       172.    Hungate thus discloses that signals indicating the state of trackside equipment can

result in the onboard computer causing the train to stop by applying the brakes.

       173.    Those of skill in the art would have been motivated to read prior art regarding

ARES in combination with the prior art Petit and Hungate patents because all three are directed

to positive train control systems and methods.

       174.    Those of skill in the art would have had a reasonable expectation of success in

combining the ARES system with Petit and/or Hungate.

       175.    When the art is combined as discussed above, claim 1 of the ‘461 Patent is invalid

as obvious under 35 U.S.C. § 103.

       176.    When the art is combined as discussed above, claim 14 of the ‘461 Patent is

invalid as obvious under 35 U.S.C. § 103.




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       177.    Wabtec is entitled to a judicial declaration that the ‘461 Patent and each of its

claims are invalid.

                                           COUNT III

   DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘801 PATENT

       178.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

       179.    Siemens has alleged in its Complaint that Wabtec has directly and indirectly

infringed the ‘801 Patent and that Wabtec will continue to engage in these acts.

       180.    Wabtec has not directly and contributorily infringed and has not induced the

infringement of the ‘801 Patent, and Wabtec thus is not continuing to directly and contributorily

infringe and induce the infringement of the ‘801 Patent.

       181.    There is an actual, substantial, and continuing justiciable controversy between

Siemens and Wabtec regarding the alleged infringement of the ‘801 Patent.

       182.    Wabtec is entitled to a judicial declaration that it does not infringe, directly or

indirectly, any valid and enforceable claim of the ‘801 Patent.

       183.    Siemens knows or should know that Wabtec has not and is not in any way

infringing the ‘801 Patent. This is thus an exceptional case entitling Wabtec to an award of its

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                           COUNT IV

        DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘801 PATENT

       184.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

       185.    Wabtec maintains that the ‘801 Patent and each of its claims are invalid under one

or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

       186.    The ‘801 Patent claims priority to the ‘926 Patent and the ‘195 Patent.




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        187.    PTC systems for controlling a train and “enforc[ing] movement and speed limits

by stopping the train before a violation occurs” have been known and described in printed

publications at least as early as August 1999. (Ex. F, RSAC Report, Appendix C at C-1).

        188.    An example of a known prior art PTC system including train on board equipment

is illustrated below:




(Id. at C-2).

        189.    Indeed, the ‘801 Patent includes Applicant admissions in the Background that

several prior art systems existed that would “automatically apply the [train] brakes if a track

warrant is about to be exceeded.” (‘801 Patent at 2:44-62).

        190.    The Applicants further admitted that prior art systems existed that “used on-board

receivers” and “anticipated signaling and [would] stop or slow the train automatically without

operator input.” (Id. at 3:1-13).

        191.    Wabtec was a pioneer in the development of this technology.




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        192.    Over two years before July 2, 2002 (the earliest claimed priority date of the ‘801

Patent), Wabtec owned at least one issued patent describing a system for “controlling train

movement” including a “brake interface [that] automatically applies train brakes prior to

violation of the incremental authority including speed restrictions.” (Hungate at Abstract, 5:40-

44).

        193.    Hungate described applying these brakes using braking algorithms based on

several train dynamics including train weight. (Id. at 5:45-6:10).

        194.    At least as early as August 1999, PTC systems were described as including “on-

board equipment” that would receive “[a]uthority and speed limits” and subsequently “enforce[]

[these] authority and speed limits.” (Ex. F, RSAC Report, Appendix C at C-2).

        195.    Patents published over a year before July 2, 2002, described a train control system

configured to “receive and activate a variety of commands received from the central traffic

control center.” (U.S. Patent No. 6,144,901 to Nickles et al. (“Nickles”) at 8:22-23).

        196.    Patents published over a year before July 2, 2002, described that “[t]his received

information would include impeding slow orders, speed limit changes, aspects of approaching

signals, etc.” (Id. at 8:23-25).

        197.    Over a year before July 2, 2002, train control systems and methods were publicly

known that included a receiver for recovering wireless transmissions including a speed

restriction (e.g., a speed limit or maximum allowable speed) and a processor to perform the step

of receiving a speed restriction via the receiver.

        198.    The ‘801 Patent includes statements that a positioning system may include a

“GPS receiver” and “[o]ther types of positioning systems such as inertial navigation systems

(INSs) and Loran systems.” (‘801 Patent at 5:41-45).




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       199.    The Applicants of the ‘801 Patent admitted that “[s]uch positioning systems are

well known in the art and will not be discussed in further detail herein.”

       200.    The August 1999 RSAC report discussed above describes multiple PTC systems

that use a positioning system (e.g., a GPS receiver) to determine the location of the train in order

to make appropriate train control decisions including the enforcement of speed restrictions.

       201.    Specifically, the RSAC report describes that “[t]he OBC carries a track profile

database containing GPS coordinates and all relevant targets, which the train must respond to,

including all fixed and temporary speed restrictions.” (Ex. F, RSAC Report, Appendix C at C-4).

       202.    “Using GPS receivers and axle tachometers to track its location, the OBC

continually calculates its position relative to each target and determines if a speed reduction will

be required.” (Id.).

       203.    Publicly known prior art PTC systems used a train positioning system that

determined a position of the train using information obtained from the positioning system.

       204.    At least as early as November 7, 2000, issued patents were available that

described an on-board train system that determined a risk of violating a speed and “compute[d] a

braking force” based on “the average grade (G) over the ensuing distance to be traveled” and

“based on train weight (W).” (Nickles at Fig. 10).

       205.    On-board train control modules were publicly described and/or available prior to

July 2, 2002, that calculated required stopping distances based on factors such as the weight of

the train and the grade of the track on which the train will be operating.

       206.    As discussed above, the August 1999 RSAC Report describes prior art PTC

systems for “enforc[ing] movement and speed limits by stopping the train before a violation

occurs.” (Ex. F, RSAC Report, Appendix C at C-1).




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       207.    Prior to July 2, 2002, it was known that automatic braking “penalties” can be

imposed when an engineer or conductor fails to apply the brakes in a manner sufficient to

comply with speed restrictions.

       208.    There is an actual, substantial, and continuing justiciable controversy between

Siemens and Wabtec regarding the alleged invalidity of the ‘801 Patent.

       209.    When the art discussed above is combined, claim 1 of the ‘860 Patent is invalid as

obvious under 35 U.S.C. § 103.

       210.    When the art discussed above is combined, claim 10 of the ‘860 Patent is invalid

as obvious under 35 U.S.C. § 103.

       211.    Wabtec is entitled to a judicial declaration that the ‘801 Patent and each of its

claims are invalid.

                                          COUNT V

   DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘860 PATENT

       212.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

       213.    Siemens has alleged in its Complaint that Wabtec has directly and indirectly

infringed the ‘860 Patent, that the alleged infringement is willful and that Wabtec will continue

to engage in these acts.

       214.    Wabtec has not directly and contributorily infringed and has not induced the

infringement of the ‘860 Patent, and Wabtec thus is not continuing to directly and contributorily

infringe and induce the infringement of the ‘860 Patent. Wabtec thus also has not willfully

infringed the ‘860 Patent.

       215.    There is an actual, substantial, and continuing justiciable controversy between

Siemens and Wabtec regarding the alleged infringement of the ‘860 Patent.




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       216.    Wabtec is entitled to a judicial declaration that it does not infringe, directly or

indirectly, any valid and enforceable claim of the ‘860 Patent.

       217.    Siemens knows or should know that Wabtec has not and is not in any way

infringing the ‘860 Patent. This is thus an exceptional case entitling Wabtec to an award of its

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                             COUNT VI

         DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘860 PATENT

       218.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above and

Paragraphs 113 through 142 above.

       219.    Wabtec maintains that the ‘860 Patent and each of its claims are invalid under one

or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

       220.    There is an actual, substantial, and continuing justiciable controversy between

Siemens and Wabtec regarding the alleged invalidity of the ‘860 Patent.

       221.    The ‘860 Patent claims priority to the ‘461 Patent.

       222.    Systems that relied on on-board computers for controlling trains were known

before the earliest priority date of the ‘860 Patent.

       223.    For example, the ARES system was a known system for controlling trains using

an on-board computer prior to the earliest priority date of the ‘860 Patent.

       224.    Known systems, including the ARES system, included a control unit and a

transceiver on the train to communicate with devices off the train.

       225.    In the ARES system, the control unit on the train could transmit a message to a

WIU near the train.




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        226.    In response to some such messages, in the ARES system, the control unit received

information indicating a configuration of a configurable device (e.g., a switch) connected to the

WIU.

        227.    It was known, in prior art systems such as ARES, to provide positive train control

to avoid potentially dangerous conditions.

        228.    For example, in the ARES system, a Satellite Based Location System was used to

allow a locomotive to determine its geographic position. (Ex. H, ARES Operators Manual at 1).

        229.    The ARES system also relies on a database listing configurable devices to allow

those devices to be displayed to the train operator.

        230.    In the ARES system, if an unexpected switch configuration was determined by

the onboard computer, the system applied the train’s brakes to prevent the train from passing the

configurable device.

        231.    Also in the ARES system, part of the checks performed by the onboard computer

involved verifying that the WIU and configurable device whose status information was received

were the correct, expected WIU and configurable device.

        232.    This technique of verifying configurable device configuration and identity and

stopping a train if an anomaly is detected is also described in the patent literature, such as Petit.

        233.    For example, Petit discloses that an onboard computer communicates with

configurable devices such as crossing equipment. (Petit at 4:32-38).

        234.    Petit also discloses that if an error in a component of the system (e.g., a trackside

configurable device) is detected, the “train may then be stopped or allowed to proceed at a

restricted speed until the failure is corrected.” (Id. at 6:5-7).




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       235.    Petit discloses that this stopping may be achieved by an “output to set the

brakes…” (Id. at 6:4-5).

       236.    Petit claims “safety checks in said communications link at said train and at said

crossing equipment, and stopping said train or operating said equipment to its second state when

said vital checks indicate an error in said messages.” (Id. at claim 11).

       237.    Petit also claims “means for stopping said train and operating said equipment to

its second state when said vital checks indicate an error in said messages.” (Id. at claim 25).

       238.    Petit thus discloses that signals indicating the state of trackside equipment can

result in the on-board computer causing the train to stop by applying the brakes.

       239.    The technique of verifying configurable device configuration and identity and

stopping a train if an anomaly is detected is also described in Hungate.

       240.    Hungate discloses that embodiments of its disclosed invention “can be

implemented to accommodate monitored manual switches or remote powered switches.”

(Hungate at 2:22-27).

       241.    Hungate discloses the use of an on-board computer (OBC) 31 with an interface to

the train’s brakes via brake interface 38. (Id. at 4:40-50, Fig. 4).

       242.    Hungate discloses that the brake interface 38 can “automatically appl[y] train

brakes prior to violation of” an authority on the train. (Id. at 5:40-44).

       243.    Hungate discloses that “block signal aspect” is one condition that can be used to

cause brake interface 38 to automatically apply brakes. (Id. at 6:35-37).

       244.    Hungate also discloses that certain circuitry can “confirm the absence of

conflicting switch settings.” (Id. at claim 8).




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        245.    A person of skill in the art would have understood that conflicting switch settings

 could be used by the on-board computer 31 of Hungate to cause brake interface 38 to

 automatically apply brakes.

        246.    Hungate thus discloses that signals indicating the state of trackside equipment can

 result in the on-board computer causing the train to stop by applying the brakes.

        247.    Those of skill in the art would have been motivated to read prior art regarding

 ARES in combination with the prior art Petit and Hungate patents because all three are directed

 to positive train control systems and methods.

        248.    Those of skill in the art would have had a reasonable expectation of success in

 combining the ARES system with Petit and/or Hungate.

        249.    When the art is combined as discussed above, claim 1 of the ‘860 Patent is invalid

 as obvious under 35 U.S.C. § 103.

        250.    When the art is combined as discussed above, claim 15 of the ’860 Patent is

 invalid as obvious under 35 U.S.C. § 103.

        251.    Wabtec is entitled to a judicial declaration that the ‘860 Patent and each of its

 claims are invalid.

                                             COUNT VII

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘032 PATENT

        252.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        253.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘032

 Patent and that Wabtec will continue to engage in these acts.

        254.    Wabtec has not directly infringed the ‘032 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘032 Patent.




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         255.   There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘032 Patent.

         256.   Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘032 Patent.

         257.   Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘032 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                           COUNT VIII

          DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘032 PATENT

         258.   Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

         259.   Wabtec maintains that the ‘032 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

         260.   The ‘032 Patent is directed to a train communication system including an end of

 train unit.

         261.   End of train units were developed as a replacement for cabooses at least as early

 as 1985. (See Ex. B, Caboose Article).

         262.   More than one year before July 2, 2003, known end of train units allowed for the

 monitoring of brake pressure and sending radio reports forward to the engineer in the

 locomotive.

         263.   Pulse Electronics developed “Trainlink” at least as early as 1985. (See id.).

         264.   Trainlink featured sensors that monitored the train’s airbrake pressure and the

 motion of the rear car. (See id.).

         265.   TrainGuard was a Wabtec technology introduced at least by 1999. (Ex. F, RSAC

 Report, Appendix C at C-9).


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        266.    TrainGuard used the end of train radio to broadcast the train’s location, including

 both the end of train and the locomotive, to off-train locations.

        267.    TrainGuard used GPS to determine the train’s location.

        268.    Using GPS to determine the location of an end of train unit was known at least as

 early as February 23, 1998. (See U.S. Patent No. 6,081,769 to Curtis (“Curtis”) at 3:61-63).

        269.    Systems that included onboard computer systems, monitoring sensors on freight

 cars, and satellite transmission of the location of individual cars were known at least as early as

 2000. (Ex. K, Linda Rosencrance, Railroads Hot for Satellite Monitoring, Computerworld (April

 3,   2000),    http://www.computerworld.com/article/2594370/it-management/railroads-hot-for-

 satellite-monitoring.html).

        270.    Exhibit K was publically available on April 3, 2000.

        271.    Head of train units that were in wireless communication with end of train units

 were known in the art at least as early as February 23, 1998. (Curtis at 4:5-9).

        272.    End of train units that included brake pipe pressure gauges, marker lights, GPS

 receivers and transceivers for communicating with the head of train were known at least as early

 as February 23, 1998. (Id. at 1:34-42).

        273.    End of train units that monitored air brake pressure, included marker lights,

 included a GPS receiver and were configured to communicate wirelessly with a head of train

 device were known in the art more than a year before July 2, 2003.

        274.    Wayside stations for monitoring the location of end of train units were known in

 the art at least as early as April 6, 2001. (U.S. Patent No. 6,505,104 to Collins (“Collins”) at

 5:42-45).




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        275.    End of train unit monitoring stations located off the train were known in the art at

 more than a year before July 2, 2003.

        276.    Central computing units that included processing units and memory and that were

 connected via a communication link, such as a telephone connection, to wayside stations were

 known in the art at least as early as April 6, 2001. (Id. at 6:46-60, 7:40-60).

        277.    Central stations located off the train and connected to the end of train unit

 monitoring stations were known in the art more than a year before July 2, 2003.

        278.    End of train units have been configured for periodic transmission to a head of

 train device at least as early as February 23, 1998. (Id. at 7:30-33).

        279.    End of train units that periodically communicated with head of train devices about

 the status of the air brake pressure were known in the art more than a year before July 2, 2003.

        280.    End of train units that were configured to transmit a location message to a

 monitoring station off the train were known at least as early as August 1999. (Ex. F, RSAC

 Report, Appendix C at C-10).

        281.    End of train units that were configured to transmit wirelessly a location message

 including a location of the end of train unit to an end of train unit monitoring station, the location

 being based on information from the GPS receiver, were known in the art more than a year

 before July 2, 2003.

        282.    End of train unit monitoring stations that were communicably coupled to and

 configured to transmit location messages were known in the art at least as early as April 6, 2001.

 (Collins at 3:55-4:30).

        283.    End of train unit monitoring stations that transmitted end of train unit locations to

 a central station were known in the art more than a year before July 2, 2003.




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        284.    Each element of each claim of the ‘032 Patent was known in the prior art

 described above more than a year before July 2, 2003.

        285.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘032 Patent.

        286.    When the art discussed above is combined, claim 1 of the ‘032 Patent is invalid as

 obvious under 35 U.S.C. § 103.

        287.    Wabtec is entitled to a judicial declaration that the ‘032 Patent and each of its

 claims are invalid.

                                            COUNT IX

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘850 PATENT

        288.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        289.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘850

 Patent and that Wabtec will continue to engage in these acts.

        290.    Wabtec has not directly infringed the ‘850 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘850 Patent.

        291.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘850 Patent.

        292.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘850 Patent.

        293.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘850 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.




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                                              COUNT X

          DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘850 PATENT

         294.    Wabtec repeats and incorporates herein Paragraphs 1 through 105 and Paragraphs

 223 through 250 above.

         295.    Wabtec maintains that the ‘850 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

         296.    The ‘850 Patent claims priority to the ‘032 Patent.

         297.    The ‘850 Patent is directed towards a method for end of train unit operation and

 an end of train unit.

         298.    Each and every element of representative independent claim 1 was known in the

 prior art more than a year before the priority date of the ‘850 Patent, July 2, 2003.

         299.    End of train units that were configured to transmit a location message to a

 monitoring station off the train were known at least as early as August 1999. (Ex. F, RSAC

 Report, Appendix C at C-9).

         300.    Wireless messages that included location and end of train unit identifiers were

 known in the art at least as early as April 6, 2001. (Collins at 1:53–59).

         301.    Transmitting a first wireless message, including location and a unique identifier,

 from an end of train unit to an end of train monitoring station was known in the art more than a

 year before July 2, 2003.

         302.    End of train units that included brake pipe pressure gauges, marker lights, GPS

 receivers and transceivers for communicating with the head of train were known at least as early

 as February 23, 1998. (Curtis at 1:34–42).




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        303.    End of train units that included an end of train marker light and a pressure sensor

 configured to determine air pressure in an air brake pipe were well known in the art more than a

 year before July 2, 2003.

        304.    Wayside stations configured to receive communications from end of train units

 were known in the art at least as early as April 6, 2001. (Collins at 5:42–45).

        305.    End of train units monitoring stations that were communicably coupled to and

 configured to transmit location messages were known in the art at least as early as April 6, 2001.

 (Id. at 3:55–4:30).

        306.    End of train unit monitoring stations that transmitted end of train unit locations to

 a central station were known in the art more than a year before July 2, 2003.

        307.    Transmitting, from the central location, the location message to a user interface

 accessible by railway personnel was known in the art at least as early as April 6, 2001. (Id. at

 7:54–61).

        308.    Transmitting the location of the end of train unit from the central authority to a

 fourth device was known in the art more than a year before July 2, 2003.

        309.    Displaying the location of the end of train unit on a map image was known in the

 art as early as February 23, 1998. (Curtis at 5:15–18).

        310.    Receiving the location of the end of train unit at the fourth device and displaying

 a location of the end of train unit on a map image on a display connected to the fourth device was

 known in the art more than a year before July 2, 2003.

        311.    Transmitting a wireless message about brake pipe pressure from the end of train

 unit to the head of train unit was known in the art as early as February 23, 1998. (Id. at 1:46–50,

 7:30–33).




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         312.   Transmitting a second wireless message to a fifth device located at the head of the

 train, the second wireless message including an air pressure sensed by the pressure sensor was

 known in the art more than a year before July 2, 2003.

         313.   Each and every element of representative independent claim 8 was known in the

 prior art more than a year before the priority date of the ‘850 patent, July 2, 2003.

         314.   End of train units that included processors, marker lights, pressure sensors for

 determining air pressure in an air brake pipe, wireless transceivers and GPS receivers were

 known in the art as early as February 23, 1998. (Id. at 1:34–42).

         315.   An end of train unit that comprises a processor, an end of train marker light, a

 pressure sensor for determining an air pressure in an air brake pipe, a wireless transceiver

 connected to the processor and a positioning system connected to the processor was known in the

 art more than a year before July 2, 2003.

         316.   Wireless messages that included end of train location and end of train unit

 identifiers were known in the art at least as early as April 6, 2001. (Collins at 7:40–60).

         317.   Generating, by a processor, a first wireless message that includes a location of the

 end of train unit and an identifier that uniquely identifies the end of train unit was known in the

 art more than a year before July 2, 2003.

         318.   Wayside stations configured to receive communications from end of train units

 were known in the art at least as early as April 6, 2001. (Id. at 5:42–45).

         319.   Transmitting a first wireless message to an end of train unit monitoring station

 located off of any train via the transceiver was known in the art more than a year before July 2,

 2003.




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        320.     Transmitting a wireless message about brake pipe pressure from the end of train

 unit to the head of train unit was known in the art as early as February 23, 1998. (Curtis at 1:35–

 47).

        321.     Transmitting a generated wireless message that includes an air pressure sensed by

 the pressure sensor to a device located at the head of train was known more than a year before

 July 2, 2003.

        322.     There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘850 Patent.

        323.     When the art discussed above is combined, claim 1 of the ‘850 Patent is invalid as

 obvious under 35 U.S.C. § 103.

        324.     When the art discussed above is combined, claim 8 of the ‘850 Patent is invalid as

 obvious under 35 U.S.C. § 103.

        325.     Wabtec is entitled to a judicial declaration that the ‘850 Patent and each of its

 claims are invalid.

                                            COUNT XI

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘494 PATENT

        326.     Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        327.     Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘494

 Patent and that Wabtec will continue to engage in these acts.

        328.     Wabtec has not directly infringed the ‘494 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘494 Patent.

        329.     There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘494 Patent.




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        330.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘494 Patent.

        331.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘494 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                            COUNT XII

         DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘494 PATENT

        332.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        333.    The ‘494 Patent and each of its claims are invalid under one or more of the

 conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

        334.    The ‘494 Patent is generally directed to “Railway Train Critical Systems Having

 Control System Redundancy and Asymmetric Communications Capability.”

        335.    Use of fault-tolerant computing systems to meet the stringent safety and

 dependability requirements of automatic train control systems is well known in the prior art.

 (See Ex. L, D. Essamé et al., PADRE: A Protocol for Asymmetric Duplex Redundancy,

 (“PADRE Article”) at Introduction).

        336.    Exhibit L was publically available in January of 1999.

        337.    Also, it is well known in the prior art that safety and availability are issues of

 major importance in many critical systems. (Id. at Abstract).

        338.    Relying on redundant components for increasing the overall system availability

 with respect to physical component failures is known in the prior art. (Id. at Introduction).

        339.    The control systems of the ‘494 Patent are known in the prior art. (See U.S.

 Patent No. 7,721,149 Essame et al. (“Essame”) at Abstract).




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         340.    Employing the control system of the ‘494 Patent in the railroad industry is also

 known. (See id. at 3:47-49 (“The processing system is described as being included in a railway

 vehicle as it is an application that meets the required level of safety.”)).

         341.    Like the ‘494 Patent, the processing system of Essame each includes first and

 second controllers. (See id. at 3:53-54).

         342.    As early as 1999, the prior art disclosed a protocol for duplex redundancy

 management in critical systems to increase the system availability without jeopardizing its safety

 and an application of the same in a fully-automated train control system. (Ex. L, PADRE Article

 at Abstract).

         343.    “A distributed real-time system for critical applications with networked

 controllers made up of two fail-safe units” was considered by an inventor of Essame. (See id. at

 Section 3, System Model).

         344.    The diagram below, taken from the PADRE Article, illustrates units that

 communicate with each other and with remote units by messages sent over a network. (See id. at

 Section 3, System Model, Fig. 3).




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        345.    The first and second computers of Essame each include an external

 communications interface. (Essame at 3:57-62 (“Each computer has a plurality of local inputs, a

 plurality of remote inputs, a plurality of remote outputs, a plurality of secure outputs,

 synchronization inputs/outputs, duplex inputs/outputs and command inputs. Each computer also

 has a processor, a memory and a means of securization.”)).

        346.    Asymmetric Duplex Redundancy is known as a mechanism in the prior art to

 achieve more reliable computing systems.

        347.    Asymmetric Duplex Redundancy is known in the prior art in connection with the

 railroad industry.

        348.    Essame discloses one example of Asymmetric Duplex Redundancy.

        349.    Specifically, Essame discloses that the external communications interface of the

 first computer is bilateral and sends remote outputs, and the external communications interface


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 of the second computer is unilateral and does not send remote outputs. (See id. at 3:62-63 (“As a

 general rule, only one unit (master), for example the first computer, generates remote outputs.”);

 see also id. at 6:57-59 (“The only operating difference between a master and a slave concerns the

 remote outputs, which are neutralized by the slave computer.”)).

        350.    Other prior art, described in Essame, also discloses Asymmetric Duplex

 Redundancy. (See id. at 1:44-52 (“A redundant processing system is described in the article by

 D. Essamé, J. Arlat and D. Powell titled ‘PADRE: a Protocol for Asymmetric Duplex

 Redundancy’ published in Dependable Computing for Critical Applications (DCCA-7), C. B.

 Weinstock and J. Rushby, Eds., and Dependable Computing and Fault-Tolerant Systems 12, pp.

 229-248, IEEE Computer Society Press, 1999 (Proc. IFIP 7th Working Conf. held in San Jose,

 Calif., USA, January 1999).”); see also id. at 1:52-54 (“This article describes . . . an

 asynchronous system for managing duplex redundancy in the basis of intrinsically safe

 processing units.”)).

        351.    The diagram below, taken from the PADRE Article, illustrates an implementation

 of PADRE using two protocol entities. (See Ex. L, PADRE Article at Section 5, Fig. 6).




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         352.    The PADRE Article also discloses asymmetric coordination of replicated units

 that consists of letting one unit, called the Primary, have a dominating role with respect to the

 other unit. (Id. at Section 4).

         353.    The integrity of messages exchanged between the units is ensured by error-

 detecting codes. (Id. at Section 3).

         354.    The first and second controllers of Essame are coupled via an inter-controller

 communications pathway. (See Essame at 4:62-65 (“The duplex synchronization links for the

 computers [] are linked together to ensure the synchronization of the two computers.”)).

         355.    The units of the PADRE Article can also communicate with each other. (See Ex.

 L, PADRE Article at Figs. 3 and 6).

         356.    Positive Train Control techniques often find their roots in avionics.

         357.    Periodic error checking of data is well known in avionics applications.




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        358.    For example, U.S. Patent No. 6,003,146 to Beutler (“Beutler”) discloses “[a]

 method [] of providing an error free error detection of critical aircraft data transmitted

 periodically from a sending unit over a data bus to a receiving unit.” (See Beutler at 2:13-16; see

 also id. at 1:6-6; see also id. at 2:34-35 (“A method is disclosed to provide CRC integrity for

 ARINC 429 periodic data.”)).

        359.    Figure 3 of Beutler, reproduced below, “shows the structure required to perform

 this method.” (Id. at 2:34-35).




        360.    The same principle architecture for message transmission that is disclosed in

 Beutler is relied upon by the ‘494 Patent.

        361.    Specifically, the diagram below, reproduced from Figures 3 and 4 of the ‘494

 Patent, shows that the principle architecture of message transmission of Beutler is also employed

 by the ‘494 Patent.




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         362.   Beutler indicates that its transmission units, which are analogous to the control

 systems of the ‘494 Patent, “are well known in this area of technology and any [] transmission

 unit which transmits aircraft data can be used.” (Id. at 2:37-40).

         363.   Units 4 and 6 of Beutler respectively receive input messages. (See id. at Fig. 3).

         364.   Unit 6 of Beutler comprises an external bilateral communications interface and

 sends a remote output. (See id. at Fig. 3).

         365.   Unit 4 of Beutler comprises a unilateral external communications interface that

 receives but does not send a remote output. (See id. at Fig. 3; 2:41-42 (“The message is sent to a

 means for determining the CRC.”)).

         366.   An inter-controller pathway is depicted between units 4 and 6 of Beutler. (See id.

 at Fig. 3).

         367.   The security code generated by the second controller of the ‘494 Patent can be

 any “known security code generated by known CHECK-SUM, HASH, etc. protocols.” (‘494

 Patent at 6:54-55).




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         368.   Unit 4 of Beutler generates a security code and sends the security code to unit 6

 through the inter-controller pathway. (See Beutler at 2:40-42 (“The message is sent to a means

 for determining the CRC 4. Once the CRC is determined for the message, it is sent to a

 formatting and transmitting means 6 . . .”); see also id. at Fig. 3).

         369.   Unit 6 of Beutler adds the security code to data. (See id. at 2:42-47, 1:25-27).

         370.   The technique of generating a security code by a second controller and

 transmitting the security code to a first controller that adds the security code to data is disclosed

 by at least the prior art Beutler reference. (See id. at 1:22-23 (“CRCs are well known in the data

 communications area of technology.”); see also id. at 1:25-27 (“Usually, the CRC is added at the

 end of the data when it is transmitted.”)).

         371.   At least based on the disclosures of these prior art references, the claims of the

 ‘494 Patent are invalid under 35 U.S.C. §§ 102 and/or 103.

         372.   The claims of the ‘494 Patent are invalid based on Wabtec’s prior invention of the

 accused subject matter in the United States without abandoning, suppressing, or concealing,

 which constitutes prior art under 35 U.S.C. § 102(g)(2).

         373.   Prior to the earliest possible priority date of the ‘494 Patent, the Wabtec inventors

 invented the subject matter of the ‘494 Patent in this country and did not abandon, suppress, or

 conceal it.

         374.   Siemens believes that Wabtec’s ‘205 Publication discloses each limitation of each

 claim of the ‘494 Patent.

         375.   Under Siemens’ interpretation of the ‘494 Patent, if the ‘205 Publication

 constituted prior art to the ‘494 Patent, it would invalidate the ‘494 Patent under 35 U.S.C. §§

 102 and/or 103.




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        376.    The activities by the Wabtec inventors to develop what became the IC3 as a

 solution to the JRST-identified hazard, beginning in April 2012, constitutes an invention of that

 subject matter before the filing of the ‘494 Patent, in this country by another inventor.

        377.    The Wabtec inventors did not abandon, suppress, or conceal their invention, as

 evidenced by their research and implementation work in consumer products such as the IC3.

        378.    The Wabtec inventors did not abandon, suppress, or conceal their invention, as

 evidenced by the filing of the U.S. Provisional Application No. 61/703,531 and the eventual

 filing of U.S. Application No. 14/032,710 and publication of the ‘205 Publication.

        379.    Upon information and belief, the subject matter of the ‘494 Patent was derived

 from Wabtec’s work in developing the IC3.

        380.    To the extent the claims of the claims of the ‘494 Patent cover the IC3/BOS as

 presently implemented, those claims are invalid under 35 U.S.C. §§ 102(g)(2) and/or 103 based

 on Wabtec’s prior invention of that subject matter in the United States without abandonment,

 suppression, or concealment of the invention.

        381.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘494 Patent.

        382.    Wabtec is entitled to a judicial declaration that the ‘494 Patent and each of its

 claims are invalid.

                                            COUNT XIII

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘698 PATENT

        383.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        384.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘698

 Patent and that Wabtec will continue to engage in these acts.




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        385.    Wabtec has not directly infringed the ‘698 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘698 Patent.

        386.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘698 Patent.

        387.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘698 Patent.

        388.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘698 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                            COUNT XIV

         DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘698 PATENT

        389.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above and

 Paragraphs 294 through 342 above.

        390.    Wabtec maintains that the ‘698 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112

 under the same grounds of invalidity presented herein in Paragraphs 294 through 342 above

 regarding the ‘494 Patent.

        391.    The ‘698 Patent was filed on April 16, 2014 and claims priority to the ‘494

 Patent, which was filed September 12, 2012.

        392.    The ‘698 Patent is a continuation-in-part of the ‘494 Patent.

        393.    The ‘698 Patent includes new matter not disclosed in the ‘494 Patent.

        394.    For example, the specification of the ‘698 Patent replaced the term “vital”

 throughout the specification of the ‘494 Patent with “safety critical.”

        395.    The ‘698 Patent claims recite “safety critical systems.”


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        396.    The term “vital” with respect to railway systems does not mean the same thing as

 “safety critical” with respect to railway systems.

        397.    The phrase “safety critical” in the ‘698 Patent constitutes new matter not

 disclosed in the ‘494 Patent.

        398.    The claims of the ‘698 Patent, which recite “safety critical,” are not supported by

 the ‘494 Patent.

        399.    The specification of the ‘698 Patent replaced the phrase “vital systems message”

 throughout the specification of the ‘494 Patent with “safety critical systems message.”

        400.    The ‘698 Patent claims recite “safety critical systems message.”

        401.    The phrase “vital systems message” does not mean the same thing as “safety

 critical systems message” with respect to railway systems.

        402.    The phrase “safety critical systems message” in the claims of the ‘698 Patent

 constitutes new matter not disclosed in the ‘494 Patent.

        403.    The specification of the ‘698 Patent replaced “[t]he control system has a first

 controller having an external bilateral communications interface capable of sending and

 receiving a vital systems message that is generated within a railway vital application system” in

 the specification of the ‘494 Patent with “[t]he control system has at least one controller

 executing first and second tasks.      The first task has an external bilateral communications

 interface capable of sending and receiving a safety critical systems message that is generated

 within a railway safety critical application system.”

        404.    Claim 10 of the ‘698 Patent recites “at least one controller executing first and

 second tasks; the first task having an external bilateral communications interface capable of




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 sending and receiving a safety critical systems message that is generated within the railway

 system.”

        405.    The phrase “[t]he control system has at least one controller executing first and

 second tasks. The first task has an external bilateral communications interface capable of

 sending and receiving a safety critical systems message that is generated within a railway safety

 critical application system” in the ‘698 Patent has a different meaning from the phrase “[t]he

 control system has a first controller having an external bilateral communications interface

 capable of sending and receiving a vital systems message that is generated within a railway vital

 application system” in the ‘494 Patent with respect to railway systems.

        406.    The phrase “at least one controller executing first and second tasks; the first task

 having an external bilateral communications interface capable of sending and receiving a safety

 critical systems message that is generated within the railway system” in claims 10 of the ‘698

 Patent constitutes new matter not disclosed in the ‘494 Patent.

        407.    The specification of the ‘698 Patent replaced “[t]he control system also has a

 second controller with an external communications interface capable of receiving but incapable

 of sending a vital systems message that is generated within the second controller” in the ‘494

 Patent with “[t]he second task has an external communications interface capable of receiving but

 incapable of sending a safety critical systems message that is generated within the second task.”

        408.    Claim 10 of the ‘698 Patent recites “the second task having an external

 communications interface capable of receiving a safety critical systems message, but incapable

 of sending a safety critical systems message that is generated within the second task, the second

 task having a security code generator.”




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           409.   The phrase “[t]he second task has an external communications interface capable

 of receiving but incapable of sending a safety critical systems message that is generated within

 the second task” in the ‘698 Patent has a different meaning from the phrase “[t]he control system

 also has a second controller with an external communications interface capable of receiving but

 incapable of sending a vital systems message that is generated within the second controller” in

 the ‘494 Patent.

           410.   The phrase “the second task having an external communications interface capable

 of receiving a safety critical systems message, but incapable of sending a safety critical systems

 message that is generated within the second task, the second task having a security code

 generator” in the ‘698 Patent constitutes new matter and the claims are not supported by the prior

 specification of the ‘494 Patent.

           411.   The specification of the ‘698 Patent replaced “[t]he control system has an inter-

 controller communications pathway coupling the first and second controllers” in the

 specification of the ‘494 Patent with “[t]he control system has an inter-task communications

 pathway coupling the first and second task.”

           412.   Claims 1 and 10 of the ‘698 Patent recite “an inter-task communications

 pathway.”

           413.   The phrase “an inter-task communications pathway” in the ‘698 Patent has a

 different meaning from the phrase “an inter-controller communications pathway” in the ‘494

 Patent.

           414.   The phrase “an inter-task communications pathway” recited in claims 1 and 10 of

 the ‘698 Patent constitutes new matter and the claims are not supported by the prior specification

 of the ‘494 Patent.




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           415.   For the reasons described above in paragraphs 351 to 374, the ‘698 Patent

 contains at least one claim that is supported only by the additional disclosure.

           416.   None of the claims of the ‘698 Patent are entitled to the filing date of the ‘494

 Patent.

           417.   To the extent the accused functionality satisfies the claims of the ‘698 Patent, the

 claims of the ‘698 Patent are invalid under 35 U.S.C. §§ 102(e) and/or 103 in view of the ‘205

 Publication.

           418.   To the extent the claims of the ‘698 Patent are supported by the specification of

 the ‘494 Patent, the claims of the ‘698 Patent are invalid based on Wabtec’s prior invention of

 the accused subject matter in the United States without abandoning, suppressing, or concealing,

 which constitutes prior art under 35 U.S.C. § 102(g)(2).

           419.   Prior to the earliest possible priority date of the ‘698 Patent, the Wabtec inventors

 invented the subject matter of the ‘698 Patent in this country and did not abandon, suppress, or

 conceal it.

           420.   Siemens believes that Wabtec’s ‘205 Publication discloses each limitation of each

 claim of the ‘698 Patent.

           421.   Under Siemens’ interpretation of the ‘698 Patent, if the ‘205 Publication

 constituted prior art to the ‘698 Patent, it would invalidate the ‘698 Patent under 35 U.S.C. §§

 102 and/or 103.

           422.   The activities by the Wabtec inventors to develop what became the IC3 as a

 solution to the JRST-identified hazard, beginning in April 2012, constitute an invention of that

 subject matter before the earliest priority date of the ‘698 Patent, in this country by another

 inventor.




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        423.    The Wabtec inventors did not abandon, suppress, or conceal their invention, as

 evidenced by their research and implementation work in consumer products such as the IC3.

        424.    The Wabtec inventors did not abandon, suppress, or conceal their invention, as

 evidenced by the filing of the U.S. Provisional Application No. 61/703,531 and the eventual

 filing of U.S. Application No. 14/032,710 and publication of the ‘205 Publication.

        425.    Upon information and belief, the subject matter of the ‘698 Patent was derived

 from Wabtec’s work in developing the IC3.

        426.    To the extent the claims of the ‘698 Patent cover the IC3/BOS as presently

 implemented, those claims are invalid under 35 U.S.C. §§ 102(g)(2) and/or 103 based on

 Wabtec’s prior invention of that subject matter in the United States without abandonment,

 suppression, or concealment of the invention.

        427.    In addition, the claims of the ‘698 Patent, which can be satisfied by two

 controllers, are invalid under 35 U.S.C. § 101 because of statutory “same invention” type double

 patenting based on the ‘494 Patent.

        428.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘698 Patent.

        429.    Wabtec is entitled to a judicial declaration that the ‘698 Patent and each of its

 claims are invalid.

                                           COUNT XV

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘195 PATENT

        430.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        431.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘195

 Patent and that Wabtec will continue to engage in these acts.




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         432.    Wabtec has not directly infringed the ‘195 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘195 Patent.

         433.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘195 Patent.

         434.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘195 Patent.

         435.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘195 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                            COUNT XVI

          DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘195 PATENT

         436.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

         437.    Wabtec maintains that the ‘195 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

         438.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘195 Patent.

         439.    The ‘195 Patent is generally directed to a “[t]rain control system and method of

 controlling a train or trains.”

         440.    Each and every element of independent claim 1 was known in the art more than a

 year before July 2, 2002 (the earliest claimed priority date of the ‘195 Patent).

         441.    Train control and dispatch systems for directing the movement of trains from

 sections of track not on the main line to sections of main line track were well known in the art

 before July 2, 2002. (See Ex. M, Burns et al., Safety and Productivity Improvement of Railroad

 Operations by Advanced Train Control Systems, (“Burns”) at 33).


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        442.    Exhibit M was publically available in April of 1989.

        443.    Train control systems that transmitted movement authorities such as track

 warrants to a train so that the train could move along a block of main line track were well known

 in the art more than a year before July 2, 2002.

        444.    At least as early as April 1989, train dispatch systems were known that generated

 movement authorities that were approved by dispatchers and transmitted to the train control

 systems of affected locomotives. (Id. at 37).

        445.    For example, Burns states that “[m]ovement authorities separate[d] and

 protect[ed] trains in unsignaled portions of the railroad, by commanding movements between

 designated points over particular track segments [and] into and out of sidings.” (Id.).

        446.    Burns describes a train control system in which movement authorities were

 generated by dispatch computers, approved by dispatchers, and sent to train control computers

 inside affected locomotives. (Id.).

        447.    Transmitting movement authorities such as circulation authorities to a train so that

 the train could move from a section of track not on the main line to the block of main line track

 was known in the art more than a year before July 2, 2002. (Ex. N, Monfalcone et al., Safety

 Modeling of a Direct Traffic Control (DTC) Traffic Control System Using the Axiomatic Safety-

 Critical Assessment Process, (“Monfalcone”) at 354).

        448.    Exhibit N was publically available in 2001.

        449.    At least as early as January 2001, train dispatch systems were known that

 prevented trains from leaving the yard without authority. (Id. at 354).




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         450.   For example, Monfalcone describes a system in which train crews requested

 permission to leave the yard where the train was located, and authority was granted and sent by

 the dispatcher only if traffic conditions allowed it. (Id. at 355).

         451.   Preventing trains from moving until movement authorities were received by the

 train was known in the art more than a year before July 2, 2002.

         452.   At least as early as January 2001, train dispatch centers that did not allow trains to

 leave the yard unless they had been granted authority to do so were known in the art. (Id. at

 354).

         453.   The system described in Monfalcone also conditioned movement through defined

 boundaries on the receipt of dispatcher-generated movement authorities. (Id.).

         454.   A person of skill in the art would understand that conditioning train movement

 through subsequent track segments on receiving movement authorities from the dispatcher would

 prevent movement into the segment if the movement authority had not been received.

         455.   Those of skill in the art would have been motivated to read Burns in combination

 with Monfalcone because both were directed to train operations involving movement authorities.

         456.   Those of skill in the art would have had a reasonable expectation of success in

 combining Burns and Monfalcone.

         457.   When the art is combined as discussed above, claim 1 of the ‘195 Patent is invalid

 as obvious under 35 U.S.C. § 103.

         458.   Wabtec is entitled to a judicial declaration that the ‘195 Patent and each of its

 claims are invalid.

                                            COUNT XVII

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘926 PATENT

         459.   Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.


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         460.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘926

 Patent and that Wabtec will continue to engage in these acts.

         461.    Wabtec has not directly infringed the ‘926 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘926 Patent.

         462.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘926 Patent.

         463.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘926 Patent.

         464.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘926 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                           COUNT XVIII

          DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘926 PATENT

         465.    Wabtec repeats and incorporates herein Paragraphs 1 through 105 and Paragraphs

 399 to 414 above.

         466.    Wabtec maintains that the ‘926 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

         467.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘926 Patent.

         468.    The ‘926 Patent claims priority to the ‘195 Patent.

         469.    The ‘926 Patent is generally directed to a “[t]rain control system and method of

 controlling a train or trains.”

         470.    Each and every element of representative independent claim 1 was known in the

 art more than a year before July 2, 2002 (the earliest claimed priority date of the ‘926 Patent).


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         471.     Train control and dispatch systems for directing the movement of trains from

 sections of track not on the main line to sections of main line track were well known in the art

 before July 2, 2002. (Ex. M, Burns at 33).

         472.     At least as early as April 1989, train control systems were known that directed

 functions such as yard operations. (Id.).

         473.     Burns describes a train control system that “collect[ed], processe[d], and

 distribute[d] information to other railroad functions, including yard operations . . .” (Id.).

         474.     The use of control units in train control systems was well known in the art more

 than a year before July 2, 2002.

         475.     At least as early as April 1989, train control computers were well known in the

 art. (Id. 34).

         476.     For example, Burns describes “an on-board computer, designated the Train

 Control Computer (TCC),” which “enforce[d] movement and speed authority limits by applying

 train brakes when it predict[ed] the train would otherwise exceed its authorized limits.” (Id.).

         477.     The use of positioning systems in conjunction with train control systems was well

 known in the art before July 2, 2002.

         478.     At least as early as April 1989, connecting GPS receivers to train control

 computers was a known practice in the art. (Id.).

         479.     For example, Burns describes “a Global Positioning System (GPS) receiver [that]

 permit[ed] the locomotive to determine its absolute position and velocity anywhere on earth” and

 whose signals were interpreted by the TCC. (Id.).

         480.     Train control systems that included communications modules were known in the

 art prior to July 2, 2002.




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          481.   At least as early as April 1989, the use of data networks for communication

 between components of train control systems, as well as between train control systems and train

 dispatch centers, was known in the art. (Id. at 34-35).

          482.   For example, Burns describes a “Data Network [that] communicate[d] commands,

 status, and data between [the Rail Operations Control System (ROCS)] and the wayside and

 locomotive equipment,” such as the TCC. (Id. at 35).

          483.   Burns also discloses a “Data Management Unit (DMU) [that] handle[d] all data

 communications between the locomotive and other ATCS equipment, including other

 locomotives in a train.” (Id. at 34).

          484.   Transmitting movement authorities to train control computers so that the train

 could move within a defined boundary was a known practice in the art more than a year before

 July 2, 2002.

          485.   At least as early as April 1989, train dispatch systems were known in that art that

 generated movement authorities that were approved by dispatchers and transmitted to affected

 locomotives. (Id. at 37).

          486.   For example, Burns states that “[m]ovement authorities separate[d] and

 protect[ed] trains in unsignaled portions of the railroad, by commanding movements between

 designated points over particular track segments [and] into and out of sidings.” (Id.).

          487.   At least as early as April 1989, movement authorities that were approved and sent

 by dispatchers to the train control computers of affected locomotives were known in the art.

 (Id.).




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        488.    Preventing the train from moving from its current location if the current location

 was not within the boundary for an accepted authorization was a well known practice in the art

 before July 2, 2002.

        489.    At least as early as January 2001, preventing movement of trains from a yard

 prior to receiving authorization was known in the art. (Ex. N, Monfalcone at 354).

        490.    For example, Monfalcone states that “[t]rains [were] allowed to leave the yard

 [where it was located] only when the dispatcher grant[ed] authority.” (Id.).

        491.    The system described in Monfalcone also conditioned movement through defined

 boundaries on the receipt of dispatcher-generated movement authorities. (Id.).

        492.    A person of skill in the art would understand that conditioning train movement

 through subsequent track segments on receiving movement authorities from the dispatcher would

 prevent movement into the segment if the movement authority had not been received.

        493.    Systems that monitored the position of the train reported by the positioning

 system were known in the art more than a year before July 2, 2002.

        494.    At least as early as April 1989, train control computers were known that

 determined and/or displayed the position of a train on a track. (Ex. M, Burns at 34).

        495.    For example, Burns discloses that the TCC “determine[d] the train’s position on

 the track by interpreting GPS or transponder signals and dead reckoner position data and

 comparing it to the track data base.” (Id.).

        496.    Burns also states that “ROCS monitor[ed] and display[ed] the position, speed,

 status, and schedule performance of all trains.” (Id. at 37).

        497.    Train systems that stopped the train before it moved outside the boundary unless

 it had authorization to do so were known in the art before July 2, 2002.




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        498.    At least as early as April 1989, train control computers were known that

 monitored movement authority limits and applied the brakes of the train if the train was about to

 exceed its authority. (Id.).

        499.    At least as early as January 2001, traffic control systems were known that

 conditioned movement through subsequent boundaries on the receipt of dispatcher-provided

 authorities. (Ex. N, Monfalcone at 354).

        500.    A person of skill in the art would understand that conditioning train movement

 through subsequent track segments on the receipt of dispatcher-generated movement authorities

 would result in stopping the train before it enters the next track segment if it had not received the

 necessary authority to continue.

        501.    Those of skill in the art would have been motivated to read Burns in combination

 with Monfalcone because both were directed to train control systems that enforced movement

 authorities sent by a dispatcher.

        502.    Those of skill in the art would have had a reasonable expectation of success in

 combing Burns and Monfalcone.

        503.    When the art is combined as discussed above, claim 1 of the ‘926 Patent is invalid

 as obvious under 35 U.S.C. § 103.

        504.    When the art is combined as discussed above, claim 20 of the ‘926 Patent is

 invalid as obvious under 35 U.S.C. § 103.

        505.    Wabtec is entitled to a judicial declaration that the ‘926 Patent and each of its

 claims are invalid.

                                            COUNT XIX

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘471 PATENT

        506.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.


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         507.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘471

 Patent and that Wabtec will continue to engage in these acts.

         508.    Wabtec has not directly infringed the ‘471 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘471 Patent.

         509.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘471 Patent.

         510.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘471 Patent.

         511.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘471 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                            COUNT XX

          DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘471 PATENT

         512.    Wabtec repeats and incorporates herein Paragraphs 1 through 105, Paragraphs

 399 to 414, and Paragraphs 424 to 460 above.

         513.    Wabtec maintains that the ‘471 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

         514.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘471 Patent.

         515.    The ‘471 Patent claims priority to the ‘926 Patent and the ‘195 Patent.

         516.    The ‘471 Patent is generally directed to a “[t]rain control system and method of

 controlling a train or trains.”




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         517.    Each and every element of representative independent claim 1 was known in the

 prior art more than a year before July 2, 2002 (the earliest claimed priority date of the ‘471

 Patent).

         518.    Train control and dispatch systems for directing the movement of trains from

 sections of track not on the main line to sections of main line track were well known in the art

 before July 2, 2002. (Ex. M, Burns at 33).

         519.    At least as early as April 1989, train control systems were known that directed

 functions such as yard operations. (Id.).

         520.    For example, Burns describes a train control system that “collect[ed], processe[d],

 and distribute[d] information to other railroad functions, including yard operations . . .” (Id.).

         521.    Train control systems that included control modules were well known in the art

 more than a year before July 2, 2002.

         522.    At least as early as April 1989, the use of train control computers was well known

 in the art. (Id. 34).

         523.    For example, Burns describes “an on-board computer, designated the Train

 Control Computer (TCC),” which “enforce[d] movement and speed authority limits by applying

 train brakes when it predict[ed] the train would otherwise exceed its authorized limits.” (Id.).

         524.    The use of positioning systems in conjunction with train control systems was well

 known in the art before July 2, 2002.

         525.    At least as early as April 1989, connecting GPS receivers to train control

 computers was a known practice in the art. (Id.).




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        526.     For example, Burns describes “a Global Positioning System (GPS) receiver [that]

 permit[ed] the locomotive to determine its absolute position and velocity anywhere on earth” and

 whose signals were interpreted by the TCC. (Id.).

        527.     Train control systems that included receivers were well known in the art prior to

 July 2, 2002.

        528.     At least as early as April 1989, the use of data networks for communication

 between components of train control systems, as well as between train control systems and train

 dispatch centers, was known in the art. (Id. at 34-35).

        529.     For example, Burns describes a “Data Network [that] communicate[d] commands,

 status, and data between [the Rail Operations Control System (ROCS)] and the wayside and

 locomotive equipment,” such as the TCC. (Id. at 35).

        530.     Burns also discloses a “Data Management Unit (DMU) [that] handle[d] all data

 communications between the locomotive and other ATCS equipment, including other

 locomotives in a train.” (Id. at 34).

        531.     Train control systems that prevented a train from being moved until the train

 received a circulation authority were well known in the art more than a year before July 2, 2002.

        532.     At least as early as January 2001, preventing a train from moving prior to

 receiving a movement authority was a known practice in the art.

        533.     For example, Monfalcone states that “[t]rains [were] allowed to leave the yard

 only when the dispatcher grant[ed] authority.” (Ex. N, Monfalcone at 354).

        534.     Monfalcone also discloses that a train could not proceed to subsequent boundaries

 if the train had not received a movement authority from the dispatcher. (Id.).




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         535.   Allowing trains to move within the section of track not on the main line provided

 a circulation authority had been received was a well known practice in the art before July 2,

 2002.

         536.   At least as early as April 1989, train control systems that were applicable to yard

 operations were known in the art. (Ex. M, Burns at 33).

         537.   For example, Burns describes a system that “integrate[d] train planning, control,

 and monitoring in CTC and previously dark territories. It also collect[ed], processe[d], and

 distribute[d] information to other railroad functions, including yard operations . . .” (Id.).

         538.   A person of ordinary skill in the art would understand that Burns describes a

 system in which a train is permitted to move within a yard provided the train had received

 authority to do so.

         539.   Preventing a train from entering the main line until a movement authority to do so

 had been received was well known in the art before July 2, 2002.

         540.   At least as early as 1989, systems were known that enforced movement

 authorities covering specific areas of a track, and the movement authorities were applicable to

 main line track and sidings. (Id. at 34, 37).

         541.   For example, Burns states that movement authorities commanded movements

 over specific portions of track and into and out of sidings. (Id. at 37).

         542.   Burns also discloses a train control system in which a train control computer

 enforces movement authorities by applying the train brakes. (Id. at 34).

         543.   At least as early as January 2001, preventing movement of trains from a yard

 prior to authorization was received was a known practice in the art. (Ex. N, Monfalcone at 354).




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        544.    Systems that allowed a train to move from a section of track not on the main line

 to the section of main line track once a movement authority had been received were well known

 in the art before July 2, 2002.

        545.    For example, Burns discloses a system of movement authorities that dictated train

 movement into and out of sidings. (Ex. M, Burns at 37).

        546.    Burns states that a train control computer enforced movement authorities by

 applying the train brakes it the computer predicted the authorities were about to be exceeded.

        547.    To the extent that each and every element of independent claim 1 was known in

 the art more than a year before July 2, 2002, each and every element of independent claim 11

 was also known in the art more than a year before July 2, 2002.

        548.    The use of messages including a signal generated by devices located along the

 track wayside, the signal indicating that movement of the train into the main line is permitted,

 was well known in the art before July 2, 2002.

        549.    At least as early as April 1989, the use of wayside signal devices to generate

 movement authorities, including in yard operations, was known in the art. (Id. at 36).

        550.    For example, Burns describes Wayside Interface Units (WIUs) that gave the

 “ATCS the capability to monitor switch and signal status of interlockings and [] track occupancy

 indications.” (Id.).

        551.    Burns also states that the WIUs were connected to the data network and

 communicated signal status information to the train control computer. (Id.).

        552.    A person of ordinary skill in the art would understand that information related to

 track occupancy as reported by a WIU to the train control computer was directed to generating

 movement authorities for the train.




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        553.    Those of skill in the art would have been motivated to read Burns in combination

 with Monfalcone because both were directed to train operations involving movement authorities

 in yard operations.

        554.    Those of skill in the art would have had a reasonable expectation of success in

 combining Burns and Monfalcone.

        555.    When the art is combined as discussed above, claim 1 of the ‘471 Patent is invalid

 as obvious under 35 U.S.C. § 103.

        556.    When the art is combined as discussed above, claim 11 of the ‘471 Patent is

 invalid as obvious under 35 U.S.C. § 103.

        557.    Wabtec is entitled to a judicial declaration that the ‘471 Patent and each of its

 claims are invalid.

                                            COUNT XXI

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘953 PATENT

        558.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        559.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘953

 Patent and that Wabtec will continue to engage in these acts.

        560.    Wabtec has not directly infringed the ‘953 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘953 Patent.

        561.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘953 Patent.

        562.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘953 Patent.




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         563.   Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘953 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                            COUNT XXII

            DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘953 PATENT

         564.   Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

         565.   Wabtec maintains that the ‘953 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

         566.   There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘953 Patent.

         567.   Each and every element of representative independent claim 1 was known in the

 art more than a year before October 10, 2002 (the earliest claimed priority date of the ‘953

 Patent).

         568.   The ‘953 Patent is directed to a “[m]ethod and system for checking track

 integrity.”

         569.   A system for controlling a train was well known in the art over a year before

 October 10, 2002.       (Ex. O, Japanese Patent Publication No. JP9226583A to Tsukimata

 (“Tsukimata”) at Abstract). Tsukimata contains the Japanese publication (Ex. O at 5-8) along

 with a machine translation of the Abstract and specification (Ex. O at 1, 9-21).

         570.   At least as early as September 2, 1997, a train system was known in the art for

 automatically initiating a brake for stopping a train. (Id.)

         571.   For example, the Abstract of Tsukimata describes a train system that “judges

 when to brake for stopping the train...” and “….outputs a train stop control signal.” (Id.).




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          572.     The ‘953 Patent describes how the control module “calculates the braking force

 necessary to stop the train prior to reaching the section of track monitored by the track circuit…”

 and claims “the brake interface unit being operable to activate the train brake under control of the

 control unit.”

          573.     Train control systems that used control units were well known in the art over a

 year before October 10, 2002. (Id.).

          574.     At least as early as September 2, 1997, the use of control units was well known in

 the art. (Id.).

          575.     The Abstract of Tsukimata discloses an identical functionality as the control unit

 in the ‘953 Patent. The control unit (signal receiving part 9) in the Abstract of Tsukimata

 “judges when to brake for stopping the train, based on the braking distance and the travel

 distance, and reports to a trainman accordingly. I[f] the train approaches the railroad crossing

 and there is no time to be lost, the signal receiving part 9 outputs a train stop control signal.”

 (Id.).

          576.     A warning device in communication with a control unit was well known in the art

 over a year before October 10, 2002, as shown in U.S. Patent No. 5,092,544 to Petit (“Petit”).

 (See Petit at 4:49-51).

          577.     At least as early as March 3, 1992, the use of a warning device in communication

 with a control unit was known in the art.

          578.     For example, Petit discloses “[t]he CPU has an output port which is connected []

 to actuate the train’s [] alarm.” (Id.).




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         579.      A brake interface unit in communication with a control unit and a train brake, and

 being operable to activate the train brake under control of the control unit, was well known in the

 art over a year before October 10, 2002. (Id. at 4:49-55).

         580.      At least as early as March 3, 1992, a brake interface in communication with the

 control unit and a train brake, and the brake interface unit being operable to activate the train

 brake under control of the control unit, was well known in the art. (Id.).

         581.      For example, Petit discloses “[t]he CPU has an output port which is connected to

 drive the controller of a brake or to actuate the train’s brakes or an alarm. This brake is referred

 to as a penalty brake, since braking is the result of either a failure in the system, or a failure to

 establish a communication link or the failure to pre-acknowledge or communicate with the

 transponders after a pre-acknowledge, if the optional pre-acknowledgement is included in the

 system.” (Id.).

         582.      A transceiver being located on the train and being in communication with the

 control unit was well known in the art over a year before October 10, 2002. (Id. at 4:3-6).

         583.      As early as March 3, 1992, a transceiver being located on the train and being in

 communication with the control unit was well known in the art. (Id.).

         584.      For example, Petit discloses “[r]eferring to Fig. 2, there is shown one of the

 transponders 38. It is shown in radio communication with an interrogator 54 which activates and

 powers the transponder and receives messages therefrom.” (Id.). As Fig. 2 reflects, “[t]he CPU

 program causes it to establish the communications link by transmitting a message, when the

 beacon transponder 38 communicates with the locomotive equipment via the interrogator 54.”

 (Id. at 4:58-61).




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        585.    The control unit being configured to perform the steps of transmitting an

 interrogation message to a track circuit transceiver associated with a track circuit was known in

 the art over a year before October 10, 2002. (Id. at 4:3-13).

        586.    At least as early as March 3, 1992, control units were configured to perform

 transmission of interrogation messages to track circuits in the prior art. (Id.).

        587.    For example, Petit discloses a “transponders 38… shown in radio communication

 with an interrogator 54 which activates and powers the transponder and receives messages

 therefrom. These messages are digitally coded bits containing fields. Fields of data which are

 provided included representations of the identity of the upcoming crossing (crossing I.D.); the

 direction of approach of the train which will be from the west or the east, the track…and the

 distance to the crossing.” (Id.).

        588.    The step of listening for a response from the track circuit transceiver, the response

 to include an indication as to the condition of a section of track monitored by the track circuit,

 was well known in the art over a year before October 10, 2002, as described in U.S. Patent No.

 4,932,614 to Birkin (“Birkin”). (See Birkin at Abstract).

        589.    As early as June 12, 1990, the step of listening for a response from the track

 circuit transceiver, the response to include an indication as to the condition of a section of track

 monitored by the track circuit, was well known in the art. (Id.).

        590.    For example, Birkin discloses “[t]he response of the transponder to an interrogator

 on the train is dependent upon the condition of the rail circuit.” (Id.). Further, Birkin discloses

 “FIG. 5 indicates that the rail circuit is open-circuited by either a broken rail or a track feature

 such as a switch or relay contact not being made. The transponder could then be internally

 controlled either to give no response to the interrogator or be so arranged as to give a message




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 indicating high impendence. For example, the messages for high and low impedance could be

 different frequencies. If the detected impedance is within the accepted level for the track

 configuration then a message is returned by the transponder indicating that the track is safe to

 traverse.” (Id. at 3:8-16).

        591.    The step of allowing the train to continue if a response with an indication that it is

 safe for the train to proceed is received, was known in the art over a year before October 10,

 2002. (Birkin 6:34-37).

        592.    As early as March 3, 1992, the step of allowing the train to continue if a response

 with an indication that it is safe for the train to proceed is received, was well known in the art.

        593.    For example, Birkin discloses “[i]f a transponder read 102 occurs, the time out . . .

 will be disregarded and the brake or alarm operation 104 will not be carried out.” (Id.).

        594.    The step of activating the warning device if the response indicates that it is not

 safe for the train to proceed, was known in the art over a year before October 10, 2002. (Id. at

 4:29-31).

        595.    As early as March 3, 1992, the step of activating the warning device if the

 response indicates that it is not safe for the train to proceed, was known in the art. (Id.).

        596.    For example, Birkin discloses “a decision 100 is made to activate the alarm or the

 brake if the time has timed out.” (Id.).

        597.    When the art is combined as discussed above, claim 1 of the ‘953 Patent is invalid

 as obvious under 35 U.S.C. § 103.

        598.    Wabtec is entitled to a judicial declaration that the ‘953 Patent and each of its

 claims are invalid.




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                                           COUNT XXIII

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘774 PATENT

        599.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        600.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘774

 Patent and that Wabtec will continue to engage in these acts.

        601.    Wabtec has not directly infringed the ‘774 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘774 Patent.

        602.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘774 Patent.

        603.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘774 Patent.

        604.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘774 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.

                                           COUNT XXIV

         DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘774 PATENT

        605.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        606.    Wabtec maintains that the ‘774 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

        607.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘774 Patent.

        608.    The ‘774 Patent claims priority to the ‘953 Patent.




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         609.     Each and every element of representative independent claim 1 was known in the

 art more than a year before October 10, 2002 (the earliest claimed priority date of the ‘774

 Patent).

         610.     The ‘774 Patent is directed to a “[m]ethod and system for checking track

 integrity.”

         611.     A system for controlling a train was well known in the art over a year before

 October 10, 2002. (Ex. O, Tsukimata at Abstract).

         612.     At least as early as September 2, 1997, a train system was known in the art for

 automatically initiating a brake for stopping a train. (Id.)

         613.     For example, Tsukimata describes a train system that “judges when to brake for

 stopping the train...” and “….outputs a train stop control signal.” (Id.).

         614.     Train control systems that used control units were well known in the art over a

 year before October 10, 2002. (Id.).

         615.     At least as early as September 2, 1997, the use of control units were well known

 in the art. (Id.).

         616.     For example, Tsukimata discloses an identical functionality as the control unit in

 the ‘953 Patent. The control unit of Tsukimata (the alarm signal receiving part 9) “judges when

 to brake for stopping the train, based on the braking distance and the travel distance, and reports

 to a trainman accordingly. I[f] the train approaches the railroad crossing and there is no time to

 be lost, the signal receiving part 9 outputs a train stop control signal.” (Id.).

         617.     A warning device in communication with the control unit was well known in the

 art over a year before October 10, 2002. (Petit at 4:49-51).




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        618.       At least as early as March 3, 1992, the use of a warning device in communication

 with a control unit was known in the art.

        619.       For example, Petit discloses “[t]he CPU has an output port which is connected

 …to actuate the train’s… alarm.” (Id.).

        620.       A brake interface unit in communication with a control unit and a train brake, and

 being operable to activate the train brake under control of the control unit, was well known in the

 art over a year before October 10, 2002. (Id. at 4:49-55).

        621.       At least as early as March 3, 1992, a brake interface in communication with the

 control unit and a train brake, and the brake interface unit being operable to activate the train

 brake under control of the control unit, was well known in the art. (Id.).

        622.       For example, Petit discloses “[t]he CPU has an output port which is connected to

 drive the controller of a brake or to actuate the train’s brakes or an alarm. This brake is referred

 to as a penalty brake, since braking is the result of either a failure in the system, or a failure to

 establish a communication link or the failure to pre-acknowledge or communicate with the

 transponders after a pre-acknowledge, if the optional pre-acknowledgement is included in the

 system.” (Id.).

        623.       A transceiver being located on the train and being in communication with the

 control unit was well known in the art over a year before October 10, 2002. (Id. at 4:3-6).

        624.       As early as March 3, 1992, a transceiver, the transceiver being located on the train

 and being in communication with the control unit was well known in the art. (Id.).

        625.       For example, Petit discloses “[r]eferring to Fig. 2, there is shown one of the

 transponders 38. It is shown in radio communication with an interrogator 54 which activates and

 powers the transponder and receives messages therefrom.” (Id.). As Fig. 2 reflects, “[t]he CPU




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 program causes it to establish the communications link by transmitting a message, when the

 beacon transponder 38 communicates with the locomotive equipment via the interrogator 54.”

 (Id. at 4:58-61).

         626.    The control unit being configured to perform the steps of transmitting an

 interrogation message to a track circuit transceiver associated with a track circuit was known in

 the art over a year before October 10, 2002. (Id. at 4:3-13).

         627.    At least as early as March 3, 1992, control units were configured to perform

 transmission of interrogation messages to track circuits in the prior art. (Id.).

         628.    For example, Petit discloses a “transponders 38… in radio communication with an

 interrogator 54 which activates and powers the transponder and receives messages therefrom.

 These messages are digitally coded bits containing fields. Fields of data which are provided

 included representations of the identity of the upcoming crossing (crossing I.D.); the direction of

 approach of the train which will be from the west or the east, the track…and the distance to the

 crossing.” (Id.).

         629.    The step of listening for a response from the track circuit transceiver, the response

 to include an indication as to the condition of a section of track monitored by the track circuit

 was well known in the art over a year before October 10, 2002. (Birkin at Abstract).

         630.    As early as June 12, 1990, the step of listening for a response from the track

 circuit transceiver, the response to include an indication as to the condition of a section of track

 monitored by the track circuit, was well known in the art. (Id.).

         631.    For example, Birkin discloses “[t]he response of the transponder to an interrogator

 on the train is dependent upon the condition of the rail circuit.” (Id.). Further, Birkin discloses

 “FIG. 5 indicates that the rail circuit is open-circuited by either a broken rail or a track feature




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 such as a switch or relay contact not being made. The transponder could then be internally

 controlled either to give no response to the interrogator or be so arranged as to give a message

 indicating high impendence. For example, the messages for high and low impedance could be

 different frequencies.   If the detected impedance is within the accepted level for the track

 configuration then a message is returned by the transponder indicating that the track is safe to

 traverse.” (Id. at 3:8-16).

        632.    The step of activating the warning device to provide a warning to the operator if a

 response indicates that it is not safe for the train to proceed, was well known in the art over a

 year before October 10, 2002. (Ex. O, Tsukimata at Abstract).

        633.    As early as September 2, 1997, the step of activating the warning device to

 provide a warning to the operator if a response indicates that it is not safe for the train to proceed

 was known in the art. (Id.).

        634.    For example, Tsukimata discloses “the alarm signal receiving part 9 judges when

 to brake for stopping the train … and reports to a trainman accordingly.” (Id.).

        635.    The step of activating the train's brake via the brake interface unit if an operator of

 the train fails to acknowledge the warning or fails to reduce the speed of the train to a safe speed

 within a period of time after the warning, was well known in the art over a year before October

 10, 2002. (Petit at 4:49-55).

        636.    As early as March 3, 1992, activating the train's brake via the brake interface unit

 if an operator of the train fails to acknowledge the warning or fails to reduce the speed of the

 train to a safe speed within a period of time after the warning was known in the art. (Id.).

        637.    For example, Petit discloses “[t]he CPU has an output port which is connected to

 drive the controller of a brake or to actuate the train’s brakes or an alarm. This brake is referred




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 to as a penalty brake, since braking is the result of either a failure in the system, or a failure to

 establish a communication link or the failure to pre-acknowledge or communicate with the

 transponders after a pre-acknowledge, if the optional pre-acknowledgement is included in the

 system.” (Id.). Further, “a decision 100 is made to activate the alarm or the brake if the timer

 has timed out.” (Id. at 6:29-32).

        638.    When the art is combined as discussed above, claim 1 of the ‘774 Patent is invalid

 as obvious under 35 U.S.C. § 103.

        639.    Wabtec is entitled to a judicial declaration that the ‘774 Patent and each of its

 claims are invalid.

                                           COUNT XXV

    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ‘110 PATENT

        640.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        641.    Siemens has alleged in its Complaint that Wabtec has directly infringed the ‘110

 Patent and that Wabtec will continue to engage in these acts.

        642.    Wabtec has not directly infringed the ‘110 Patent, and Wabtec thus is not

 continuing to directly infringe the ‘110 Patent.

        643.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged infringement of the ‘110 Patent.

        644.    Wabtec is entitled to a judicial declaration that it does not directly infringe any

 valid and enforceable claim of the ‘110 Patent.

        645.    Siemens knows or should know that Wabtec has not and is not in any way

 infringing the ‘110 Patent. This is thus an exceptional case entitling Wabtec to an award of its

 attorneys’ fees pursuant to 35 U.S.C. § 285.




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                                            COUNT XXVI

          DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘110 PATENT

        646.    Wabtec repeats and incorporates herein Paragraphs 1 through 140 above.

        647.    Wabtec maintains that the ‘110 Patent and each of its claims are invalid under one

 or more of the conditions for patentability specified in 35 U.S.C. §§ 101, 102, 103, and/or 112.

        648.    There is an actual, substantial, and continuing justiciable controversy between

 Siemens and Wabtec regarding the alleged invalidity of the ‘110 Patent.

        649.    The ‘110 Patent is generally directed to a method and system for activating a

 warning device on a train at a certain location.

        650.    Each and every element of independent claim 1 was known in the art more than a

 year before July 1, 2002 (the earliest claimed priority date of the ‘110 Patent).

        651.    Systems that relied on on-board computers for controlling trains were known

 before the earliest priority date of the ‘110 Patent.

        652.    For example, the ARES system was a known system for controlling trains using

 an on-board computer prior to the earliest priority date of the ‘110 Patent.

        653.    Among other features, ARES allowed for communications between onboard

 computers and wayside devices via WIUs. (See Ex. H, ARES Operators Manual).

        654.    Long before the earliest priority date of the ‘110 Patent it was desired to automate

 train control schemes in order to make the overall system safer. As discussed in the FRA

 Railroad Communications and Train Control Report to Congress, dated July 1994, PTC systems

 were already being tested as of July 8, 1994. (See Ex. I, FRA Report at 3).

        655.    The use of a warning device was known before the earliest priority date of the

 ‘110 Patent.




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        656.    For example, the FRA Federal Register describes the use locomotive horns at

 highway-rail crossings. (See Ex. P, 49 CFR §222, Use of Locomotive Horns at Highway-Rail

 Grade Crossings, January 13, 2000 (“49 CFR §222”) at 15).

        657.    49 CFR §222 requires a horn to be sounded when a locomotive is approaching

 and passing a high-way rail crossing. (Ex. P, 49 CFR §222 at 15).

        658.    A person of skill in the art would have found it obvious to combine the desire to

 automate train control systems with the known requirements of using a horn when approaching a

 high-way rail crossing.

        659.    Those of skill in the art would have had a reasonable expectation of success in

 combining the ARES system with 49 CFR §222.

        660.    When the art is combined as discussed above, claim 1 of the ‘110 Patent is invalid

 as obvious under 35 U.S.C. § 103.

        661.    When the art is combined as discussed above, claim 11 of the ‘110 Patent is

 invalid as obvious under 35 U.S.C. § 103.

        662.    Wabtec is entitled to a judicial declaration that the ‘110 Patent and each of its

 claims are invalid.

                                         COUNT XXVII

                           INFRINGEMENT OF THE ‘140 PATENT

        663.    Wabtec Corp. incorporates by reference the allegations in Paragraphs 1 through

 140 above.

        664.    The ‘140 Patent is generally directed to an “an operator warning system for use in

 connection with a locomotive having a horn system with a horn activation actuator and a horn

 device for producing a noise.” (Ex. Q, ‘140 Patent at Abstract). The onboard system includes a

 database that contains grade crossing data and is in communication with the horn system. (Id.).


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 “The operator warning system also includes a warning device for providing an audio, visual

 and/or tactile indicator to an operator of the locomotive based upon the grade crossing data,

 locomotive data and/or actuation condition of the horn activation actuator.” (Id.).

        665.    On information and belief, Siemens directly infringes, induces others to infringe,

 and/or contributorily infringes one or more claims of the ‘140 Patent, either literally or under the

 doctrine of equivalents, by making, using, offering to sell, selling (directly or through

 intermediaries), and/or importing, in this District and elsewhere in the United States, the

 Trainguard PTC OBU. Non-limiting examples of such infringement are provided below, based

 on the limited information currently available to Wabtec Corp.

        666.    For example, Siemens infringes claim 1 of the ‘140 Patent, which recites as

 follows:

               1.     An operator warning system for use in connection with a locomotive
        having a horn system with a horn activation actuator and a horn device configured to
        produce a noise, the operator warning system comprising:

               an onboard computer system including a database including grade crossing data
        and locomotive data, the onboard computer system in communication with the horn
        system; and

               an onboard warning device configured to provide at least one of an audio, visual
        and tactile indicator to an operator of the locomotive based upon at least one of grade
        crossing data, locomotive data and actuation condition of the horn activation actuator.

        667.    On information and belief, Trainguard PTC, which is manufactured and sold by

 Siemens, satisfies each and every limitation of claim 1. The Trainguard PTC OBU supervises

 the train location, and communicates to the train crew when the train horn is required to be

 sounded. (See, e.g., SIEMENS-DEL-000002245 at 2389-92; SIEMENS-DEL-000080993 at

 81101-02). The Trainguard PTC OBU is “configured to provide at least one of an audio, visual

 and tactile indicator to an operator of the locomotive based upon at least one of grade crossing

 data, locomotive data and actuation condition of the horn activation actuator.” (SIEMENS-DEL-



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 000080993 at 81101). The Trainguard PTC OBU monitors whether the horn has been manually

 activated, and stops requesting automatic sequencing of the horn once the operator has sounded

 the manual horn.       (SIEMENS-DEL-000002245 at 2391). A human-machine interface will

 provide a notification to the train crew in the event a grade crossing has suffered an activation

 failure or a false or partial activation. (SIEMENS-DEL-000002245 at 2437).

           668.   In view of the foregoing, Siemens’ manufacture, use, sale, offer to sell, and/or

 importation of Trainguard PTC directly infringes the ‘140 Patent in violation of 35 U.S.C. §

 271(a).

           669.   Claim 23 of the ‘140 Patent recites as follows:

                  23.    A method of improving locomotive operator vigilance for use in
           connection with a locomotive having a horn system with a horn activation actuator and a
           horn device configured to produce a noise, the method comprising the steps of:

                  determining grade crossing data including at least one of grade crossing location,
           grade crossing identity, grade crossing regulation and grade crossing condition;

                  determining horn activation requirement data for the grade crossing;

                   determining locomotive data including at least one of locomotive position on a
           track, locomotive position within a consist, locomotive speed, locomotive direction of
           travel and locomotive operation parameter; and

                   providing at least one of an onboard audio, onboard visual and onboard tactile
           indicator to an operator of the locomotive based upon at least one of grade crossing data,
           locomotive data, horn activation requirement data and actuation condition of the horn
           activation actuator.

           670.   On information and belief, the use of Trainguard PTC by Siemens’ customers

 satisfies each and every limitation of claim 23. As discussed with reference to claim 1 above,

 Trainguard PTC, under the control of the OBU, is configured to store information relating to

 train grade crossings, determine when the train is approaching a grade crossing and what

 regulations apply to such a crossing, determine the horn requirement for such a crossing, and




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 alert the operators when the grade crossing has failed. (See, e.g., SIEMENS-DEL-000002245 at

 2389-92, 2437; SIEMENS-DEL-000080993 at 81101-02).

        671.    Trainguard PTC sold by Siemens constitutes a material part of the method recited

 in claim 23 of the ‘140 Patent, being programmed to cause each of the method steps to be

 performed, and it is not a staple article or commodity of commerce suitable for substantial

 noninfringing use.    Moreover, Siemens knows that Trainguard PTC is especially made or

 especially adapted for use in a manner that infringes the ‘140 Patent. Accordingly, Siemens’ sale

 of Trainguard PTC contributes to infringement of the ‘140 Patent by its customers in violation of

 35 U.S.C. § 271(c).

        672.    On information and belief, both by configuring Trainguard PTC to operate in a

 manner that Siemens knows infringes the ‘140 Patent, and by encouraging customers to use

 Trainguard PTC in a manner that Siemens knows infringes the ‘140 Patent, Siemens is inducing

 infringement of the ‘140 Patent by its customers in violation of 35 U.S.C. § 271(b).

        673.    Siemens’ infringement of the ‘140 Patent has caused Wabtec Corp. to suffer

 substantial monetary harm, including lost profits relating to Wabtec Corp.’s sale of competing

 products relating to PTC.

                                         COUNT XXVIII

                             INFRINGEMENT OF THE ‘764 PATENT

        674.    Wabtec Corp. incorporates by reference the allegations in Paragraphs 1 through

 140 above.

        675.    The ‘764 Patent is generally directed to a system that, in accordance with

 particular embodiments, identifies a condition of an upcoming feature in a track network. (Ex.

 R, ‘764 Patent at Abstract). The system includes a positioning system, a track database, and a

 computer. (Id.). The computer obtains the estimated train position from the positioning system


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 and identifies a condition for an upcoming feature based on track data and feature data contained

 in the track database. (Id.). While the train traverses its route, the feature data in the track

 database is dynamically updated. (Id.).

        676.    On information and belief, Siemens directly infringes, induces others to infringe,

 and/or contributorily infringes one or more claims of the ‘764 Patent, either literally or under the

 doctrine of equivalents, by making, using, offering to sell, selling (directly or through

 intermediaries), and/or importing, in this District and elsewhere in the United States, Trainguard

 PTC. Non-limiting examples of such infringement are provided below, based on the limited

 information currently available to Wabtec Corp.

        677.    For example, Siemens infringes claim 1 of the ‘764 Patent, which recites as

 follows:

                1.      A system for identifying at least one condition of at least one upcoming
        feature of at least one track in a track network, the system comprising:

               a positioning system configured to determine an estimated train position on a
        track within a track network;

                at least one database comprising track data and feature data, which comprises at
        least one of the following: status data, condition data, fault data, activity data, equipment
        state data, primary safety device data, secondary safety device data, primary safety
        arrangement data, secondary safety arrangement data, primary implemented safety action
        data, secondary implemented safety action data; and

                a computer configured to:

                       (i) obtain the determined estimated train position on at least one track from
                the positioning system; and

                         (ii) for the at least one track, identify at least one condition for at least one
                upcoming feature based at least in part upon the track data and the feature data in
                the at least one database,

                wherein the at least one database is located in the train and the feature data in the
        at least one database located in the train is dynamically updated while the train is
        traversing the track in the track network.




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           678.   On information and belief, Trainguard PTC, which is manufactured and sold by

 Siemens, satisfies each and every limitation of claim 1. The “positioning system” limitation is

 satisfied by the Dual GPS Receivers that are used for location determination.              (See, e.g.,

 SIEMENS-DEL-000080993 at 81013; SIEMENS-DEL-000002245 at 2314; Ex. T, Trainguard

 PTC Flyer at 2). The “database” limitation is satisfied by a Track Database, which is stored in

 the Trainguard PTC OBU and provides data associated with the railroad tracks and includes all

 railroad specific track layout information.       (See, e.g., SIEMENS-DEL-000002245 at 2312;

 SIEMENS-DEL-000080993 at 81045-46).                The database is updated along the route as

 approaching locomotives receive status information from WIUs.               (Id.).   The “computer”

 limitation is satisfied by the Trainguard PTC OBU itself, which performs location determination

 by communicating with the GPS receivers, and receives status information from WIUs to

 determine the state (i.e., condition) of Field Elements. (See, e.g., SIEMENS-DEL-000080993 at

 81063; SIEMENS-DEL-000002245 at 2320).

           679.   In view of the foregoing, Siemens’ manufacture, use, sale, offer to sell, and/or

 importation of Trainguard PTC directly infringes the ‘764 Patent in violation of 35 U.S.C. §

 271(a).

           680.   Claim 21 of the ‘764 Patent recites as follows:

                   21.    A computer-implemented method for identifying at least one condition of
           at least one upcoming feature of at least one track in a track network on at least one
           computer having a storage medium with instruction stored thereon, which, when
           executed by a processor at the at least one computer, implement the method comprising:

                  (a) determining train position on at least one track;

                   (b) dynamically updating at least one of track data and feature data in at least one
           database of the at least one computer while the train is traversing the track in the track
           network, wherein the at least one database is dynamically updated and located in the train
           and the feature data comprises at least one of the following: status data, condition data,
           fault data, activity data, equipment state data, primary safety device data, secondary
           safety device data, primary safety arrangement data, secondary safety arrangement data,


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        primary implemented safety action data and/or secondary implemented safety action data;
        and

                 (c) identifying at least one condition of at least one upcoming feature based at
        least in part upon the track data and the feature data.

        681.    On information and belief, the use of Trainguard PTC by Siemens’ customers

 satisfies each and every limitation of claim 21. As discussed with reference to claim 1 above,

 Trainguard PTC, under the control of the OBU, is configured to perform, or to control the

 performance of, the various steps involved in determining train position, dynamically updating

 the track database, and identifying the condition of Field Elements via status messages received

 from WIUs. (See, e.g., SIEMENS-DEL-000002245 at 81013, 81045-46, 81063; SIEMENS-

 DEL-000080993 at 2312, 2314, 2320; Ex. T, Trainguard PTC Flyer at 2).

        682.    Trainguard PTC sold by Siemens constitutes a material part of the method recited

 in claim 21 of the ‘764 Patent, being programmed to cause each of the method steps to be

 performed, and it is not a staple article or commodity of commerce suitable for substantial

 noninfringing use.    Moreover, Siemens knows that Trainguard PTC is especially made or

 especially adapted for use in a manner that infringes the ‘764 Patent. Accordingly, Siemens’ sale

 of Trainguard PTC contributes to infringement of the ‘764 Patent by its customers in violation of

 35 U.S.C. § 271(c).

        683.    On information and belief, both by configuring Trainguard PTC to operate in a

 manner that Siemens knows infringes the ‘764 Patent, and by encouraging customers to use

 Trainguard PTC in a manner that Siemens knows infringes the ‘764 Patent, Siemens is inducing

 infringement of the ‘764 Patent by its customers in violation of 35 U.S.C. § 271(b).

        684.    Siemens’ infringement of the ‘764 Patent has caused Wabtec Corp. to suffer

 substantial monetary harm, including lost profits relating to Wabtec Corp.’s sale of competing

 products relating to PTC.


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                                           COUNT XXIX

                           INFRINGEMENT OF THE ‘463 PATENT

        685.    Wabtec Corp. incorporates by reference the allegations in Paragraphs 1 through

 140 above.

        686.    The ‘463 Patent is generally directed to a train control system that, in accordance

 with particular embodiments, includes an on-board track database, a positioning system, and a

 control system that receives position data and automatically brakes the train prior to

 encountering an upcoming signal based on specified data points.              (Ex. S, ‘463 Patent at

 Abstract). The control system does not brake the train if certain conditions are satisfied. (Id.).

        687.    On information and belief, Siemens directly infringes, induces others to infringe,

 and/or contributorily infringes one or more claims of the ‘463 Patent, either literally or under the

 doctrine of equivalents, by making, using, offering to sell, selling (directly or through

 intermediaries), and/or importing, in this District and elsewhere in the United States, Trainguard

 PTC. Non-limiting examples of such infringement are provided below, based on the limited

 information currently available to Wabtec Corp.

        688.    For example, Siemens infringes claim 1 of the ‘463 Patent, which recites as

 follows:

                1.       A train control system for controlling at least one train travelling in a track
        network comprising at least one track having at least one signal associated with a portion
        of the at least one track, the system comprising:

                an onboard track database comprising at least one of the following: train data,
        track network data, track data, signal data;

                a positioning system configured to determine position data directed to a position
        of the at least one train within the track network; and

                an onboard control system configured to:




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                          (i) receive position data from the positioning system and signal data from
                  the track database; and

                           (ii) based upon at least one of the following: train data, track network data,
                  track data, position data, signal data, train control data, authorization data signal
                  aspect data, or any combination thereof, predictively enforce the next, upcoming
                  signal by automatically braking the at least one train prior to encountering the
                  next, upcoming signal, unless: (a) based at least partially on current signal aspect
                  data, determination is made that it is safe to proceed towards the next, upcoming
                  signal; (b) specified authorization data is received; or (c) specified train control
                  data is received.

           689.   On information and belief, Trainguard PTC, which is manufactured and sold by

 Siemens, satisfies each and every limitation of claim 1. The “onboard track database” limitation

 is satisfied by the Track Database contained in the Trainguard PTC OBU, which includes all

 railroad specific track layout information.       (See, e.g., SIEMENS-DEL-000002245 at 2312;

 SIEMENS-DEL-000080993 at 81045-46). The “positioning system” limitation is satisfied by

 the Dual GPS Receivers, which determine train location in the track database. (See, e.g.,

 SIEMENS-DEL-000080993 at 81013; SIEMENS-DEL-000002245 at 2314; Ex. T, Trainguard

 PTC Flyer at 2). The “onboard control unit” limitation is satisfied by the Trainguard PTC OBU

 itself, which derives and enforces movement authorities based on status messages received from

 WIUs. (See, e.g., SIEMENS-DEL-000002245 at 2326; SIEMENS-DEL-000080993 at 81007).

 Train operators can override signal indications, and can receive track bulletin cancellations from

 the back office server, preempting enforcement of movement authorities by the OBU. (See, e.g.,

 SIEMENS-DEL-000080993 at 81075; SIEMENS-DEL-000002245 at 2328).

           690.   In view of the foregoing, Siemens’ manufacture, use, sale, offer to sell, and/or

 importation of Trainguard PTC directly infringes the ‘463 Patent in violation of 35 U.S.C. §

 271(a).

           691.   Claim 23 of the ‘463 Patent recites as follows:




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                23.     A method for controlling at least one train travelling in a track network
        comprising at least one track having at least one signal associated with a portion of the at
        least one track, the method comprising:

                determining at least one of the following: train data, track network data, track
        data, signal data;

                determining position data directed to a position of the at least one train within the
        track network; and

                based upon at least one of the following: train data, track network data, track data,
        position data, signal data, train control data, authorization data signal aspect data, or any
        combination thereof, predictively enforcing the next, upcoming signal with a train control
        system by automatically braking the at least one train prior to encountering the next,
        upcoming signal, unless (a) based at least partially on current signal aspect data, a
        determination is made that it is safe to proceed towards the next, upcoming signal; (b)
        specified authorization data is received; or (c) specified train control data is received.

        692.   On information and belief, use of Trainguard PTC by Siemens’ customers

 satisfies each and every limitation of claim 23. As discussed with reference to claim 1 above,

 Trainguard PTC, under control of the OBU, is configured to perform, or to control the

 performance of, the various steps involved in generating and enforcing movement authorities

 based on signal data and train position in a track database.         (See, e.g., SIEMENS-DEL-

 000002245 at 2312, 2314, 2326, 2328; SIEMENS-DEL-000080993 at 81007, 81013, 80145-46,

 81075; Ex. T, Trainguard PTC Flyer at 2).

        693.   Trainguard PTC sold by Siemens constitutes a material part of the method recited

 in claim 23 of the ‘463 Patent, being programmed to cause each of the method steps to be

 performed, and it is not a staple article or commodity of commerce suitable for substantial

 noninfringing use.    Moreover, Siemens knows that Trainguard PTC is especially made or

 especially adapted for use in a manner that infringes the ‘463 Patent. Accordingly, Siemens’ sale

 of Trainguard PTC contributes to infringement of the ‘463 Patent by its customers in violation of

 35 U.S.C. § 271(c).




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        694.    On information and belief, both by configuring Trainguard PTC to operate in a

 manner that Siemens knows infringes the ‘463 Patent and by encouraging customers to use

 Trainguard PTC in a manner that Siemens knows infringes the ‘463 Patent, Siemens is inducing

 infringement of the ‘463 Patent by its customers in violation of 35 U.S.C. § 271(b).

        695.    Siemens’ infringement of the ‘463 Patent has caused Wabtec Corp. to suffer

 substantial monetary harm, including lost profits relating to Wabtec Corp.’s sale of competing

 products relating to PTC.

                                    DEMAND FOR JURY TRIAL

        Wabtec hereby demands a jury trial on all issues which can be heard by a jury.

                           CONCLUSION AND PRAYER FOR RELIEF

        WHEREFORE, Wabtec respectfully requests that:

        A.      The Court enter judgment in favor of Wabtec in this action and deny Siemens all

                requested relief;

        B.      The Court find that the ‘461 Patent, the ‘801 Patent, the ‘860 Patent, the ‘032

                Patent, the ‘850 Patent, the ‘494 Patent, the ‘698 Patent, the ‘195 Patent, the ‘926

                Patent, the ‘471 Patent, the ‘953 Patent, the ‘774 Patent, and the ‘110 Patent are

                not infringed by Wabtec;

        C.      The Court find that the ‘461 Patent, the ‘801 Patent, the ‘860 Patent, the ‘032

                Patent, the ‘850 Patent, the ‘494 Patent, the ‘698 Patent, the ‘195 Patent, the ‘926

                Patent, the ‘471 Patent, the ‘953 Patent, the ‘774 Patent, and the ‘110 Patent are

                invalid;

        D.      The Court find that Siemens is entitled to no damages;

        E.      The Court declare that this is an exceptional case entitling Wabtec to its

                reasonable attorneys’ fees under 35 U.S.C. § 285;


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       F.      The Court award Wabtec its costs and reasonable attorneys’ fees;

       G.      The Court find that Siemens has directly infringed, induced others to infringe,

               and/or contributorily infringed the ‘140 Patent, the ‘764 Patent, and the ‘463

               Patent, holding Siemens jointly and severally liable for such infringement;

       H.      An award of damages pursuant to 35 U.S.C. § 284 adequate to compensate

               Wabtec Corp. for Siemens’ infringement of the ‘140 Patent, the ‘764 Patent, and

               the ‘463 Patent, including both pre- and post-judgment interest and costs as fixed

               by the Court;

       I.      An order establishing an ongoing royalty, in an amount to be determined by the

               Court, for any future infringement of the ‘140 Patent, the ‘764 Patent, and the

               ‘463 Patent by Siemens, including as a result of continuing sales of the products

               found to infringe and/or sales of any materially similar products; and

       J.      The Court grant Wabtec all other and further relief to which it may be entitled.



   Dated: February 14, 2017                          K&L GATES LLP

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on February 14, 2017, to all counsel of record via CM/ECF.



                                                           /s/ Steven L. Caponi
                                                           Steven L. Caponi (No. 3484)
